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15
                         UNITED STATES DISTRICT COURT
16
                       SOUTHERN DISTRICT OF CALIFORNIA
17
18   IN RE QUALCOMM/BROADCOM                   Case No. 3:18-cv-01208-AJB-MSB
19   MERGER SECURITIES LITIGATION
                                               CONSOLIDATED AMENDED
20                                             CLASS ACTION COMPLAINT FOR
21                                             VIOLATION OF THE FEDERAL
                                               SECURITIES LAWS
22
23                                             DEMAND FOR JURY TRIAL

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     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT
     CASE NO. 3:18-CV-01208-AJB-MSB
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 1         This is a class action for violations of the federal securities laws brought by Lead
 2   Plaintiff Gatubhai Mistry (“Lead Plaintiff”) and Plaintiff Gerald L. Koenig
 3   (collectively, “Plaintiffs”) individually and on behalf of all persons who purchased or
 4   otherwise acquired Qualcomm Incorporated (“Qualcomm” or the “Company”)
 5   common stock between January 29, 2018 and March 12, 2018, inclusive (the “Class
 6   Period”). Plaintiffs allege violations of Sections 10(b) and 20(a) of the Securities
 7   Exchange Act of 1934 (“Exchange Act”) and Rule 10b-5 promulgated by the Securities
 8   and Exchange Commission (“SEC”) thereunder (17 C.F.R. § 240.10b-5), against:
 9   (i) Qualcomm; (ii) Qualcomm’s Chief Executive Officer (“CEO”) Steven M.
10   Mollenkopf (“Mollenkopf”); (iii) Qualcomm’s former Executive Chairman and
11   Chairman of Qualcomm’s Board of Directors (the “Board”) Dr. Paul E. Jacobs
12   (“Jacobs”); (iv) Qualcomm’s General Counsel Donald J. Rosenberg (“Rosenberg”);
13   and (v) Qualcomm’s Presiding Director of the Board Thomas W. Horton (“Horton”)
14   (collectively, “Defendants”).
15         Plaintiffs allege the following based upon personal knowledge with respect to
16   Plaintiffs’ own acts and upon information and belief as to all other matters based on
17   the investigation undertaken by Court-appointed Co-Lead Counsel, Kessler Topaz
18   Meltzer & Check, LLP and Robbins Geller Rudman & Dowd LLP, and their agents.
19   Co-Lead Counsel’s investigation includes, among other things, a review and analysis
20   of: (i) public filings by Qualcomm and Broadcom Limited (“Broadcom”) with the
21   SEC; (ii) public reports and news articles; (iii) research reports by securities and
22   financial analysts; (iv) economic analysis of securities movement and pricing data;
23   (v) transcripts of investor calls with Qualcomm and Broadcom senior management;
24   (vi) consultations with consultants; and (vii) other publicly available material and data
25   identified herein.   Co-Lead Counsel’s investigation into the factual allegations
26   contained herein is continuing and many of the facts supporting Plaintiffs’ allegations
27   are known only to Defendants or are exclusively within their custody or control.
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                             1
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 1   Plaintiffs believe that further substantial evidentiary support will exist for the
 2   allegations contained herein after a reasonable opportunity for discovery.
 3         NATURE OF THE ACTION AND OVERVIEW
 4         1.     This action involves Defendants’ materially false and misleading Class
 5   Period statements and omissions, undertaken to frustrate Broadcom’s attempt to
 6   acquire Qualcomm, entrench themselves in their director and executive positions, and
 7   ultimately to thwart the will of the Company’s shareholders.
 8         2.     By the fall of 2017, Qualcomm—a semiconductor company based in San
 9   Diego—was under intense scrutiny after years of poor performance. The Company
10   was engaged in contentious litigation with one of its biggest customers, Apple
11   Incorporated (“Apple”), over Qualcomm’s alleged “illegal business practices,” and
12   Apple was threatening to discontinue use of Qualcomm’s chips in its iPhones. The
13   Company was also facing multiple suits and investigations by the Federal Trade
14   Commission (“FTC”) and numerous antitrust agencies around the world for its alleged
15   anti-competitive practices—which had already resulted in billions of dollars in fines.
16         3.     Qualcomm’s net income plunged 57% in fiscal year 2017, and while its
17   competitors rode the bull market, with the PHLX Semiconductor Sector Index rising
18   58% over the previous year, the Company’s stock price had floundered, plummeting
19   18% over the same period. By November 2017, Qualcomm’s common stock was
20   trading around $54 per share, down from a high of $81.32 in April 2014. As a
21   Bernstein analyst summed it up: “Qualcomm’s stock has been hideous to own over the
22   last few years.”
23         4.     On November 3, 2017, news leaked that Broadcom was planning a bid to
24   acquire Qualcomm at around $70 per share, almost 30% over its current market price.
25   Unlike Qualcomm, Broadcom—a semiconductor company domiciled in Singapore—
26   had experienced remarkable success in recent years. In fact, between April 2014 and
27   October 2017, Broadcom’s stock price had increased approximately 350%—from
28   $58.53 to $263.91. The market’s response to news of Broadcom’s bid was immediate
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                    2
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 1   and positive—Qualcomm’s common stock spiked 13% in a single trading day, closing
 2   on November 3 at $61.81.
 3         5.    On November 6, 2017, Broadcom made its formal offer to acquire
 4   Qualcomm for $70 per share. A week later, Qualcomm announced that it had rejected
 5   Broadcom’s offer, arguing that it “dramatically undervalue[d] Qualcomm.”
 6   Qualcomm also cited to unexplained “significant regulatory uncertainty.” Undeterred,
 7   Broadcom made clear that it “remain[ed] fully committed” to acquiring Qualcomm and
 8   was “encouraged by [shareholder] reaction.”
 9         6.    The market also remained bullish on the deal, with one analyst reporting:
10   “the probability remains [Broadcom] will up the offer and acquire the asset either via
11   constructive discussions or a proxy battle” to replace Qualcomm’s Board.           An
12   Oppenheimer analyst report similarly reported that, “we believe QCOM shareholders
13   would be eager to accept a ~27% premium[.]”
14         7.    As a result, the Company’s share price continued to rise throughout
15   November, closing out the month at $66.34—a 30.5% total increase. As the Motley
16   Fool explained: “Qualcomm’s share price . . . continued to climb throughout
17   November.     That could be an indicator that shareholders are eager to replace
18   Qualcomm’s board and allow this acquisition to go through.” A commentator summed
19   up investor sentiment on CNBC’s Squawk Box as follows: “[t]here are many
20   shareholders, including me, who think Qualcomm is very poorly managed. I would
21   like adult supervision to come in from Broadcom[.]”
22         8.    Broadcom officially kicked off a proxy fight on December 4, 2017,
23   announcing a slate of 11 director nominees to replace Qualcomm’s beleaguered
24   Board—with the vote to take place at Qualcomm’s annual meeting on March 6, 2018
25   (the “Annual Meeting”). Broadcom made clear that its “strong preference” was still to
26   negotiate a deal with the Company and that Qualcomm’s shareholders were also
27   “express[ing] their desire for Qualcomm to engage with us.” The proxy fight would
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                         3
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 1   therefore “give Qualcomm stockholders an opportunity to voice their disappointment
 2   with Qualcomm’s directors and their refusal to engage in discussions with us.”
 3         9.     On December 22, 2017, Qualcomm officially announced that it would
 4   oppose Broadcom’s proxy fight and a few weeks later, on January 5, 2018, the two
 5   companies filed competing proxy statements soliciting shareholder votes for their
 6   respective slates. The main thrust of Qualcomm’s opposition was that Broadcom’s
 7   offer “substantially undervalued” the Company and that its current Board “will deliver
 8   far more value than the Broadcom proposal.” Qualcomm also asserted that the deal
 9   involved “significant regulatory uncertainty,” including from antitrust regulators and
10   the Committee on Foreign Investment in the United States (“CFIUS” or “the
11   Committee”)—an interagency committee that reviews transactions between foreign
12   and domestic entities for potential national security concerns.
13         10.    While market commentators recognized some potential antitrust risk
14   associated with Broadcom’s offer, many ultimately concluded that such risks were
15   minimal. For example, a Canaccord Genuity analyst report concluded that “[w]hile we
16   believe the overlapping WiFi businesses would create some regulatory concerns that
17   could be solved, we do not believe there are material product overlaps in other areas of
18   the businesses.” Analyst Oppenheimer Equity Research echoed that “[w]e believe
19   regulatory/HSR hurdles should be low[.]”        As the New York Times explained,
20   although antitrust approval could raise some concern, “[t]he biggest issue may simply
21   be that Qualcomm believes the current offer, worth about $70 a share, is too low.”
22         11.    Nor did the market perceive there to be serious risk that a review by
23   CFIUS would stymie a deal. Indeed, just days before it debuted its bid for Qualcomm,
24   Broadcom announced that it would redomicile to the U.S.—a move that the market
25   understood as removing CFIUS risk, since Broadcom would no longer be a foreign
26   entity. As the New York Times reported, “[a]t least one deal hurdle—Washington’s
27   examination of foreign acquirers—has been pre-empted.”              Likewise, analyst
28   Morningstar Equity Research reported that “[w]e foresee U.S. approval, thanks to
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 1   Broadcom’s shrewd move to redomicile in the U.S.”             These predictions were
 2   seemingly affirmed in mid-November 2017, when CFIUS approved Broadcom’s
 3   acquisition of another U.S. company, Brocade Communications Systems, Inc.
 4   (“Brocade”), as a result of Broadcom’s decision to redomicile.
 5         12.    Thus, in an effort to manufacture doubt about CFIUS review, in December
 6   and January proxy solicitations Qualcomm seized on what it characterized as
 7   “uncertainty surrounding [Broadcom’s] transition from Singapore to the United
 8   States,” noting that “they have not made any further progress on their commitment to
 9   become an American company[.]” On January 22, 2018, however, Broadcom put
10   Qualcomm’s speculations to rest, announcing that it had filed preliminary proxy
11   materials with the SEC to approve its redomiciliation to the U.S., and expected to
12   complete the process by May 6, 2018.
13         13.    With Qualcomm’s disenchanted shareholder base fleeing to Broadcom’s
14   camp, and Broadcom’s redomiciliation imminent, by the end of January, Defendants
15   saw the writing on the wall. As a result, in a desperate and blatant attempt to thwart
16   the will of the Company’s shareholders and entrench themselves, Defendants secretly
17   filed a notice with CFIUS on January 29, 2018, arguing that the deal raised serious
18   national security concerns and asking the regulator to kill Broadcom’s bid before it had
19   the opportunity to redomicile. Over the next month, Defendants continued to covertly
20   submit additional information to CFIUS in furtherance of their plan to kill the deal.
21         14.    During the Class Period, Defendants withheld all of this highly material
22   information from their shareholders. Indeed, while behind the scenes Defendants were
23   doing everything in their power to kill Broadcom’s bid, publicly they were repeatedly
24   misrepresenting to investors that they were negotiating with Broadcom in good faith
25   to reach a deal. For example, on February 5, 2018, Broadcom upped its bid to $82 per
26   share—a whopping 50% premium over Qualcomm’s pre-bid stock price—and made
27   significant concessions to address Qualcomm’s purported concerns about regulatory
28   risk. Three days later, Qualcomm rejected Broadcom’s improved offer, but
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 1   misrepresented to shareholders that it was willing to constructively engage with
 2   Broadcom: “Qualcomm has offered to meet with Broadcom to see if it can address
 3   the serious deficiencies in value and certainty in its proposal.” 1
 4         15.    Throughout the Class Period, Defendants made vague statements about
 5   potential regulatory delay, and highlighted the antitrust risks associated with the deal
 6   while concealing the steps the Company had taken to scuttle the transaction. For
 7   example, the very same day they filed their secret CFIUS notice, Qualcomm
 8   highlighted antitrust risks associated with the deal, telling investors that Broadcom’s
 9   bid involved “some questions about deal certainty and regulatory approval” and “[w]e
10   believe that [regulatory approval] is probably going to take something in the range of
11   18 months or more even[.]” While speaking directly to potential regulatory delay
12   associated with the deal, however, Defendants purposefully withheld the fact that they
13   had taken affirmative steps to ensure that the deal would never receive regulatory
14   approval.
15         16.    In a February 8, 2018 letter to Broadcom filed with the SEC, Defendants
16   laid out the topics for discussion at their proposed meeting with Broadcom, which
17   included, “Is Broadcom willing to commit to take whatever actions are necessary to
18   ensure the proposed transaction closes?” (Some emphasis in original.) Defendants’
19   letter explained that Broadcom’s firm commitment to ensure regulatory approval “is
20   extremely important to value preservation for our shareholders” and “[i]f you are not
21   willing to agree to do whatever is necessary to ensure a transaction closes, we will
22   need you to be extremely clear and specific about exactly what actions you would
23   refuse to take, so that we can properly evaluate the risk to Qualcomm’s
24   shareholders.” While focusing attention on Broadcom’s commitment to ensure deal
25   closure, however, Defendants failed to disclose that they had already argued to
26   regulators that the transaction inherently posed a threat to national security and
27
28   1
           All emphasis herein is added unless otherwise notated.
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                           6
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 1   therefore should never close, regardless of any steps Broadcom agreed to take. By
 2   withholding this information from investors, Defendants deprived them of the
 3   opportunity to “properly evaluate the risk[s] to Qualcomm shareholders.”
 4         17.    Because they were in the dark about Qualcomm’s secret defensive
 5   measures, analysts reacted positively to Qualcomm’s stated willingness to engage,
 6   writing, “we are encouraged to see a potential meeting between AVGO and QCOM
 7   and looking forward to incremental updates” and reaffirming a price target of $80 per
 8   share—just below Broadcom’s bid.
 9         18.    On February 14, 2018, Qualcomm met with Broadcom to discuss the
10   improved proposal. After the meeting, Defendants again misrepresented to the market
11   that the parties were making progress toward a negotiated deal, telling shareholders
12   that “our Board found the meeting to be constructive,” that “[w]hile the current
13   Broadcom proposal is unacceptable, our Board is intensely focused on maximizing
14   value for Qualcomm stockholders, whether through executing on its growth strategy
15   or by selling the Company,” and “[o]ur Board is open to further discussions with
16   Broadcom to see if a proposal that appropriately reflects the true value of Qualcomm
17   shares, and ensures an appropriate level of deal certainty, can be obtained.”
18   Meanwhile, Qualcomm’s shareholders had no idea that rather than trying to negotiate
19   a deal, Defendants were instead actively working to ensure that a Broadcom deal could
20   never happen.
21         19.    Over the next week, shareholder support for Broadcom’s bid was further
22   cemented when two of the top proxy advisory services recommended that Qualcomm’s
23   shareholders vote to oust the Company’s Directors. First, on February 16, Institutional
24   Shareholder Services (“ISS”) recommended that the Company’s Board “should
25   negotiate with [Broadcom] in good faith,” noting that “[r]egulatory concerns from [a
26   Broadcom/Qualcomm] merger appear manageable[.]” If Qualcomm’s Board failed to
27   engage, however, ISS recommended that shareholders vote to oust them, explaining
28   that “[t]he election of four Broadcom nominees to the 11-member board seems to offer
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                        7
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 1   a reasonable path to a negotiated deal, which is likely to be the most beneficial path for
 2   shareholders.”     Four days later, Glass, Lewis & Co. (“Glass Lewis”) issued a
 3   recommendation that shareholders vote “AGAINST” Qualcomm’s directors and
 4   “FOR” all of Broadcom’s nominees at the Annual Meeting.
 5         20.    In response, Defendants continued to mislead investors that they were
 6   seeking a negotiated deal with Broadcom. For instance, on February 20, the Company
 7   issued another statement about the February 14 meeting, misrepresenting that “[w]e
 8   entered the meeting with Broadcom in a constructive manner, seeking a price
 9   increase and engagement on issues related to transaction certainty. However,
10   Broadcom did not engage on the topic of price . . . [and] should Broadcom present a
11   proposal that delivers superior value and sufficiently protects downside risk to you,
12   we will pursue a sale.”
13         21.    To further perpetuate the myth that they were pursuing a negotiated deal,
14   on February 23, Defendants again met with Broadcom regarding its proposal. In a slew
15   of statements issued on February 26, Defendants misrepresented to investors that the
16   companies had made substantial progress addressing Qualcomm’s regulatory concerns,
17   and that the only sticking point was price: “[t]he Qualcomm Board believes the
18   meeting led to further progress toward a possible negotiated transaction on key
19   issues other than price.” Defendants also represented that they would be providing
20   Broadcom with edits to its proposed merger agreement and a non-disclosure
21   agreement, stating that “the Board encourages Broadcom to enter into mutual due
22   diligence and price negotiations” “with the goal of determining whether there is a
23   mutually beneficial transaction to be done between our two companies.”
24         22.    Market reaction was positive, with commentators noting that Qualcomm
25   “[said] the two sides had made progress on regulatory issues but were yet to agree on
26   the deal value.”
27         23.    Defendants’ misleading statements continued unabated on March 1, 2018,
28   when they touted their “repeated[] and genuine[] attempt[s] to engage with Broadcom
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                       8
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 1   on issues including price, regulatory and other closing certainties . . . [and their]
 2   attempts to find a path to a deal[.]” As suggested by Broadcom, it appeared that
 3   “Qualcomm’s sudden request to enter into an NDA is a result of Qualcomm finally
 4   beginning to recognize the will of its stockholders.” The reality, of course, was that
 5   Qualcomm was actively working to thwart the will of its shareholders and scuttle any
 6   chance of a Broadcom bid.
 7         24.    Then, on March 5 and 6, 2018, Qualcomm revealed that it had secretly
 8   submitted a voluntary notice to CFIUS on January 29, 2018, requesting that it review
 9   Broadcom’s bid. Qualcomm’s notice included arguments as to why the deal would
10   jeopardize national security. As a result, CFIUS ordered Qualcomm to postpone its
11   Annual Meeting—including the vote on Broadcom’s slate of nominees. As Broadcom
12   noted in a March 5 press release, “[t]his was a blatant, desperate act by Qualcomm to
13   entrench its incumbent board of directors and prevent its own stockholders from voting
14   for Broadcom’s independent director nominees.” Moreover, Qualcomm’s actions “can
15   only be seen as an intentional lack of disclosure—both to Broadcom and to its own
16   stockholders.”
17         25.    On March 6, 2018, Qualcomm published a letter from the U.S.
18   Department of Treasury that provided further details concerning Qualcomm’s secret
19   Class Period communications with CFIUS and made clear that its decision was the
20   direct result of the unilateral notice and follow-up information submitted by
21   Qualcomm. For example, the letter disclosed that “CFIUS’s assessment thus far
22   includes its review of the information submitted by Qualcomm in its unilateral
23   voluntary notice on January 29, 2018, the parties’ responses to questions posed about
24   the potential transaction during the interim period, and the information provided in our
25   multiple phone calls, emails, and meetings with representatives of both Qualcomm and
26   Broadcom.”       As a result of these disclosures, the market also understood that
27   Defendants had never been willing to negotiate with Broadcom in good faith to sell the
28   Company, as they had repeatedly represented. In response to these disclosures, the
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 1   Company’s stock fell 4.02%, from a closing price of $64.74 on March 2, 2018, to a
 2   closing price of $62.14 on March 6, 2018.
 3         26.    The following day, rumors began circulating that, in an attempt to salvage
 4   its bid, Broadcom was accelerating its efforts to redomicile to the U.S. Then, after the
 5   close of business on March 12, 2018, President Donald J. Trump (“President Trump”)
 6   issued an executive order blocking Broadcom from acquiring Qualcomm. Market
 7   commentators again noted that the decision seemed to stem directly from the
 8   information provided by Qualcomm: “some of the objections publicly voiced by the
 9   committee sound like Qualcomm talking points.” In response, the Company’s stock
10   price declined 4.95%, to close at $59.70 per share on March 13, 2018.
11         27.    On March 14, 2018, Broadcom announced that it had terminated its offer
12   to acquire Qualcomm. Analysts expressed outrage that Qualcomm’s actions had
13   thwarted the will of its shareholders, with a Bernstein analyst reporting that “[b]y
14   invalidating Broadcom’s board slate, the US government has effectively revoked the
15   rights of Qualcomm’s long-suffering shareholders to vote for change (indeed, it almost
16   feels like Qualcomm shareholders have been asked to effectively subsidize U.S.
17   government policy).” Indeed, numerous news sources reported that, before CFIUS’s
18   intervention at Qualcomm’s behest, the proxy vote count indicated that Broadcom was
19   on track to win a majority of Qualcomm’s Board seats, with defendants Mollenkopf
20   and Jacobs as the lowest votegetters.
21         JURISDICTION AND VENUE
22         28.    The claims asserted herein arise under Sections 10(b) and 20(a) of the
23   Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)), and Rule 10b-5 promulgated
24   thereunder (17 C.F.R. § 240.10b-5).
25         29.    This Court has jurisdiction over the subject matter of this action pursuant
26   to Section 27 of the Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331.
27         30.    Venue is proper in this District pursuant to Section 27 of the Exchange
28   Act, 15 U.S.C. § 78aa and 28 U.S.C. § 1391(b). Many of the acts and transactions
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                   10
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 1   alleged herein, including the preparation and dissemination of materially false and
 2   misleading information, occurred in substantial part in this District. Additionally,
 3   Qualcomm’s principal executive offices are located within this District.
 4         31.    In connection with the acts, transactions, and conduct alleged in this
 5   Complaint, Defendants directly and indirectly used the means and instrumentalities of
 6   interstate commerce, including the United States mail, interstate telephone
 7   communications, and the facilities of a national securities exchange.
 8         PARTIES AND RELEVANT NON-PARTY
 9         32.    Lead Plaintiff Gatubhai Mistry is an individual investor who purchased
10   Qualcomm common stock, as set forth in the certification attached hereto as Exhibit A,
11   at artificially inflated prices during the Class Period, and suffered damages as a result
12   of the misconduct alleged herein.
13         33.    Plaintiff Gerald L. Koenig is an individual investor who purchased
14   Qualcomm common stock, as set forth in the certification attached hereto as Exhibit B,
15   at artificially inflated prices during the Class Period, and suffered damages as a result
16   of the misconduct alleged herein.
17         34.    Defendant Qualcomm is a Delaware corporation with its principal
18   executive offices located at 5775 Morehouse Drive, San Diego, California 92121.
19   Qualcomm develops and commercializes “foundational technologies and products”
20   used in mobile devices and other wireless products. According to the Company’s
21   Annual Report Form 10-K, filed with the SEC on November 1, 2017, Qualcomm is “a
22   pioneer in 3G (third generation) and 4G (fourth generation) wireless technologies . . .
23   to empower a new era of intelligent, connected devices.”
24         35.    Defendant Steven M. Mollenkopf was, at all relevant times, the
25   Company’s CEO and a member of the Board. Mollenkopf joined Qualcomm in 1994
26   as an engineer. From November 2011 to December 2013, Mollenkopf served as
27   President and Chief Operating Officer of the Company, and from December 2013 to
28   March 2014, he served as CEO-elect and President. Mollenkopf became CEO of
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 1   Qualcomm in March 2014 and has been a member of the Board since December 2013.
 2   During the Class Period, Mollenkopf made materially false and misleading statements
 3   in proxy solicitations published to investors on January 29, 2018, February 8, 2018,
 4   February 16, 2018, February 22, 2018, February 26, 2018, and March 1, 2018.
 5         36.   Until his ouster in March 2018, Defendant Dr. Paul E. Jacobs was, at all
 6   relevant times, the Company’s Executive Chairman and Chairman of the Board. From
 7   July 2005 until March 2014, Jacobs served as Qualcomm’s CEO. Jacobs’ father, Irwin
 8   M. Jacobs, co-founded the Company in 1985 and, up until Jacobs’ dismissal from the
 9   Board in March 2018, a member of the Jacobs family had always served in a top
10   executive role in the Company. During the Class Period, Jacobs made materially false
11   and misleading statements in proxy solicitations published to investors on February 8,
12   2018, February 16, 2018, February 22, 2018, February 26, 2018, and March 1, 2018.
13         37.   Defendant Donald J. Rosenberg was, at all relevant times, the Company’s
14   Executive Vice President, General Counsel, and Corporate Secretary. Rosenberg
15   reported directly to Mollenkopf and was a member of the Company’s Executive
16   Committee. In his role as General Counsel, Rosenberg was responsible for overseeing
17   Qualcomm’s worldwide legal affairs including litigation, intellectual property, and
18   corporate matters. Qualcomm’s Government Affairs, Internal Audit and Compliance
19   organizations also reported to him. Rosenberg has extensive experience in corporate
20   governance, compliance, law department management, litigation, securities regulation,
21   intellectual property, and competition issues. During the Class Period, Rosenberg
22   made materially false and misleading statements in a proxy solicitation published to
23   investors on January 29, 2018.
24         38.   Defendant Thomas W. Horton was, at all relevant times, a member of the
25   Company’s Board. Horton became a Qualcomm Director in December 2008. During
26   the relevant period, Horton also served as the Board’s Presiding Director (lead
27   independent director) and, in that role, led Qualcomm’s negotiations with Broadcom.
28
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 1   During the Class Period, Horton made materially false and misleading statements in
 2   proxy solicitations published to investors on February 22, 2018 and March 1, 2018.
 3         39.     Defendants Mollenkopf, Jacobs, Rosenberg, and Horton are collectively
 4   referred to herein as the “Individual Defendants.” The Individual Defendants, because
 5   of their positions with the Company, possessed the power and authority to control the
 6   contents of Qualcomm’s reports to the SEC, press releases, and presentations made to
 7   securities analysts, money and portfolio managers, and institutional investors, i.e., the
 8   market. Each Individual Defendant was provided with copies of the Company’s
 9   reports and statements alleged herein to be misleading prior to, or shortly after, their
10   issuance and had the ability and opportunity to prevent their issuance or cause them to
11   be corrected. Because of their positions and access to material non-public information
12   available to them, each of the Individual Defendants knew that the adverse facts
13   specified herein had not been disclosed to and were being concealed from the public,
14   and that the representations which were being made were then materially false and
15   misleading.
16         40.     Broadcom was, during the Class Period, a Singapore corporation with its
17   headquarters located at 1 Yishun Avenue 7 in Singapore and at 1320 Ridder Park Drive
18   in San Jose, California. Broadcom is a designer, developer, and global supplier of a
19   broad range of semiconductor devices with a focus on complex digital and mixed signal
20   complementary metal oxide semiconductor (“CMOS”) based devices and analog III-V
21   based products.
22         DEFENDANTS’ FRAUDULENT SCHEME
23         A.      Qualcomm—A Beleaguered Technology Business Battered by Legal
                   and Regulatory Woes
24
25         41.     Qualcomm, which is headquartered in San Diego, California, sells
26   technologies and products used in mobile devices and other wireless products,
27   including network equipment, broadband gateway equipment, and consumer electronic
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                           13
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 1   devices. Qualcomm derives the majority of its revenues from its semiconductor and
 2   patent licensing business.
 3            42.   In the years leading up to Broadcom’s offer for Qualcomm, Qualcomm’s
 4   stock price had floundered, collapsing almost 50% between April 2014 (high of
 5   $81.32 per share) and February 2016 (low of $42.96 per share).
 6            43.   By 2017, the Company was under siege on multiple fronts.            In
 7   January 2017, one of Qualcomm’s largest customers—Apple—sued the Company
 8   alleging that Defendants were operating an “illegal business model.”
 9            44.   Meanwhile, the Company was under fire from multiple antitrust agencies
10   around the world. In the United States, the FTC brought suit against Qualcomm in
11   January 2017, alleging that, among other things, it used its monopoly power over
12   cellphone chip supply and its substantial portfolio of patents to extract inflated
13   royalties, including by threatening to withhold chips from smartphone makers who
14   refused to agree to its unfair licensing terms.
15            45.   In China, Qualcomm was forced to pay $975 million to end a probe into
16   its anti-competitive practices.       In late December 2016, the Korea Fair Trade
17   Commission fined the Company a record-setting $854 million for antitrust violations.
18   In 2017, Taiwan’s Fair Trade Commission imposed a fine of $778 million on
19   Qualcomm for refusing to sell chips to companies that would not agree to its licensing
20   terms.
21            46.   By the fall of 2017, Qualcomm’s anti-competitive practices had taken a
22   massive toll on both its bottom line and its stock price. As the Los Angeles Times
23   explained, Qualcomm was fighting “a fierce legal battle with Apple over patent
24   royalties, and it faces hefty fines and lawsuits from antimonopoly regulators in the
25   U.S., South Korea and Taiwan. Those troubles weighed heavily on Qualcomm’s
26   [2017] full fiscal year results[.]”
27            47.   Likewise, The Wall Street Journal reported:
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                        14
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 1         [A] string of hits by regulators, competitors and customers including
           Apple has left the industry titan in a vulnerable position. Qualcomm’s
 2         profit in the fiscal year that ended Sept. 24 [2017] plummeted 57%, and
 3         its share price declined 18% in the 12 months through Thursday’s close
           compared with a 58% rise in the PHLX Semiconductor Sector Index.
 4
 5   The New York Times echoed that “Qualcomm, the longtime leader in cellphone chip

 6   technology, has been grappling with a sagging stock price and investor wariness that

 7   the Apple fight will continue for some time.”

 8         B.     Broadcom—A Growing Business, Redomiciling in the United States

 9         48.    Broadcom’s semiconductor business began in 1961 as a division of

10   Hewlett-Packard. In 1991, Hewlett-Packard spun off its semiconductor and scientific

11   testing and measuring business into Agilent Technologies, then the largest ever Silicon

12   Valley IPO. In 2005, two American private equity firms—KKR and Silver Lake

13   Partners (“Silver Lake”)—acquired the semiconductor business from Agilent for

14   $2.6 billion and formed Avago Technologies (“Avago”). Avago went public in 2009,

15   trading on the NASDAQ under the ticker symbol “AVGO.” As of then, Avago was a

16   Singapore domiciled company for tax purposes, although it maintained significant

17   operations in Silicon Valley.

18         49.    In the years that followed, Avago’s CEO, Hock Tan (“Tan”), spearheaded

19   a series of ever-bigger deals, expanding the company exponentially. In May 2015,

20   Avago announced that it was buying Broadcom Corporation, a competing chipmaker

21   based in Irvine, California, for $37 billion. After the deal closed in February 2016, the

22   combined company—with a market value of $77 billion—was renamed Broadcom

23   Limited but retained the ticker symbol AVGO.

24         50.    In the years leading up to its offer to acquire Qualcomm, Broadcom

25   maintained its remarkable streak of mid-double digit growth by successfully

26   integrating new businesses but also growing organically. As Broadcom flourished, so

27   did its stock price; between April 2014 and October 2017, Broadcom’s stock price

28   increased nearly five-fold, from a low of $58.53 to a high of $263.91.
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                           15
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 1          51.   During the relevant time period, although Broadcom was organized under
 2   the laws of Singapore, its nerve center remained in the United States. Broadcom is
 3   managed from San Jose, California, its U.S. headquarters, and Broadcom’s board of
 4   directors and senior management team, including Broadcom CEO Tan, are nearly all
 5   American citizens. Broadcom’s stock is also mostly American-owned; ninety percent
 6   of its shareholders are in the U.S. As MarketWatch reported in a March 14, 2018 article
 7   entitled, If Broadcom-Qualcomm deal can’t pass Trump’s test, what can?, “Broadcom
 8   is largely an American company that placed its legal headquarters in Singapore, . . .
 9   largely for tax purposes.”
10          52.   On November 2, 2017, Broadcom’s CEO Tan announced in a White
11   House press conference alongside President Trump that Broadcom would re-domicile
12   as an American corporation. President Trump hailed the announcement as a sign that
13   the U.S. business climate was improving, explaining that changing Broadcom’s parent
14   from a Singapore company to a U.S. corporation would bring $20 billion in revenue
15   back to the U.S. President Trump also exalted Broadcom as “one of the really great,
16   great companies,” noting that Broadcom employs more than 7,500 workers across the
17   U.S.
18          C.    The Press Reports on Broadcom’s Interest in Acquiring Qualcomm
                  and Qualcomm’s Stock Price Jumps
19
20          53.   On November 3, 2017, numerous national media sources, including
21   Bloomberg, the New York Times, and Reuters reported that Broadcom was planning
22   a bid for Qualcomm.          For example, Reuters reported that “[c]ommunications
23   chipmaker [Broadcom] is planning to unveil a bid for smartphone chip supplier
24   [Qualcomm] by Monday, three sources familiar with the matter said on Friday, an
25   attempt to create a roughly $200-billion company through the biggest technology
26   acquisition ever.” The article noted that “Broadcom is considering a cash and stock
27   offer of about $70 a share” and that “[s]hares of Broadcom have rallied this year while
28   Qualcomm has fallen, making the target more vulnerable.”
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                         16
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 1         54.      In a same-day article Bloomberg reported, “Qualcomm finds itself in a
 2   weakened state. A legal battle with Apple is costing revenue and jeopardizing a
 3   business model that for years made Qualcomm one of the most successful chipmakers.”
 4   Quoting Sanford C. Bernstein & Co. analyst Stacy Rasgon, the article noted, “[a]
 5   change of management at Qualcomm might help resolve the dispute with Apple more
 6   quickly, and thereby make Qualcomm’s licensing and chip businesses more
 7   valuable[.]”
 8         55.      In response to the news of Broadcom’s bid, Qualcomm’s stock price
 9   jumped nearly 13% from a closing price of $54.84 on November 2, 2017, to a closing
10   price of $61.81 on November 3, 2017. On November 5, 2017, a Wells Fargo Securities
11   analyst report noted the market excitement at the prospect of a Qualcomm/Broadcom
12   merger, explaining “we think that the news articles suggesting this possibility have
13   created substantial excitement in the investment community which we think was
14   probably a main reason why Qualcomm’s stock price moved up several dollars on the
15   afternoon of Friday 11/3.” Similarly, on November 7, 2017, The Wall Street Journal
16   reported that “news of Broadcom’s interest sent Qualcomm shares up nearly 13% on
17   [November 3].”
18         56.      As the increase in Qualcomm’s stock price made clear, investors were
19   bidding up the price of Qualcomm stock based on the prospect of a deal with Broadcom
20   at $70 per share.
21         D.       Broadcom Makes a Formal Proposal to Acquire Qualcomm
22         57.      On the evening of November 5, 2017, Broadcom’s CEO Tan called
23   Qualcomm’s CEO Mollenkopf to officially inform him that Broadcom would be
24   making an offer to acquire Qualcomm.
25         58.      The following day, November 6, 2017, Broadcom made a formal proposal
26   to acquire all outstanding shares of Qualcomm for $70 per share ($60 in cash; $10 in
27   Broadcom shares).      Broadcom’s proposal represented a 28% premium over the
28   unaffected price of Qualcomm stock on November 2, 2017, the day before news of the
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                     17
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 1   offer leaked, and a 33% premium to the unaffected 30-day volume-weighted average
 2   price (“VWAP”) calculated as of November 2.
 3         59.    The main regulatory concern with Broadcom’s bid, according to multiple
 4   news sources, involved its potential antitrust implications. The Chicago Tribune
 5   reported on November 7, 2017, that “a transaction between [Broadcom and
 6   Qualcomm] would likely raise antitrust concerns[.]” Reuters similarly wrote the same
 7   day, “[t]he merger [between Qualcomm and Broadcom] would face a lengthy review
 8   from the anti-monopoly unit of China’s commerce ministry, due to strategic concerns,
 9   the huge size of the deal and because Qualcomm has come under fire before in the
10   country over competition concerns.”
11         60.    Ultimately, however, while noting that antitrust approval could be a
12   concern, many news sources concluded that “[t]he biggest issue may simply be that
13   Qualcomm believes the current offer, worth about $70 a share, is too low.”2
14         61.    Analysts, while offering mixed opinions on whether the premium offered
15   by Broadcom was too low, consistently concluded that the regulatory risks associated
16   with a combination were minimal. For example, a November 6, 2017 Canaccord
17   Genuity analyst report stated, “[w]hile we believe Qualcomm’s Board of Directors
18   would likely reject this initial bid as too low a valuation, we do believe the combination
19   of the two companies could generate strong synergies and create a dominant wireless
20   business and overall powerful global semiconductor leader.” The report further
21   explained that “[w]hile we believe the overlapping WiFi businesses would create some
22   regulatory concerns that could be solved, we do not believe there are material product
23   overlaps in other areas of the businesses.”
24         62.    Similarly, while an Oppenheimer Equity Research report from
25   November 6, 2017, took a different view on the adequacy of Broadcom’s offer—
26
27
     2
            See also Michael J. de la Merced, Broadcom targets fellow chipmaker in largest-
     ever tech deal, Boston Herald (Nov. 7, 2017) (noting that while the deal is “expected
28   to face tough antitrust scrutiny,” for “Qualcomm and its advisers, the biggest issue is
     likely to be a simple matter of price”).
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                         18
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 1   stating, “we believe QCOM shareholders would be eager to accept a ~27% premium
 2   to pre-offer reports as myriad overhangs (Apple, FTC, Korea, etc.) could take years to
 3   abate,” it too noted that “[w]e believe regulatory/HSR hurdles should be low given
 4   limited product overlap.” A same-day Credit Suisse analyst report explained that
 5   “[b]ased on their extensive review of portfolios, [Broadcom] expects regulatory
 6   approval in a timely manner and the transaction to be completed within 12 months.”
 7         E.     Qualcomm Rejects Broadcom’s Offer
 8         63.    On November 12, 2017, Qualcomm’s Board met and unanimously voted
 9   to reject Broadcom’s proposal. This was announced the following day in a press
10   release which stated, “[t]he Board and Management are singularly focused on driving
11   value for Qualcomm’s shareholders. After a comprehensive review, conducted in
12   consultation with our financial and legal advisors, the Board has concluded that
13   Broadcom’s proposal dramatically undervalues Qualcomm and comes with significant
14   regulatory uncertainty.”
15         64.    Qualcomm’s announcement did not provide any further detail on the
16   “significant regulatory uncertainty,” and news coverage of Qualcomm’s rejection
17   continued to focus on potential antitrust risk as the source of the regulatory uncertainty.
18   For instance, the New York Times reported on November 13, 2017:
19         Qualcomm has rebuffed a $105 billion buyout bid from Broadcom,
           setting up two of the world’s biggest chip makers for a potentially
20         nasty takeover battle.
21         The proposal “significantly undervalues” the company, overlooking its
22         reputation in mobile technology and potential for growth, Paul Jacobs,
           Qualcomm’s board chairman, said in a statement on Monday.
23
           Broadcom’s offer, which would amount to the largest deal in the history
24         of the tech industry and have significant implications for smartphone
           production, could also run afoul of antitrust regulators, Qualcomm said.
25
26   (Emphasis in original.)
27
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                             19
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 1         65.    Later that day, Broadcom issued a press release announcing that it
 2   “remains fully committed to pursuing its acquisition of Qualcomm[.]” In the release,
 3   Broadcom’s CEO Tan stated:
 4         We continue to believe our proposal represents the most attractive, value-
           enhancing alternative available to Qualcomm stockholders and we are
 5         encouraged by their reaction. Many have expressed to us their desire that
 6         Qualcomm meet with us to discuss our proposal. It remains our strong
           preference to engage cooperatively with Qualcomm’s Board of Directors
 7         and management team.
 8         66.    That evening, Broadcom’s CEO Tan reiterated to Qualcomm’s CEO
 9   Mollenkopf—through a voicemail and text message—that Broadcom wanted to engage
10   with Qualcomm regarding its offer.
11         67.    Notwithstanding Qualcomm’s initial rejection, analysts expressed
12   optimism that Broadcom would ultimately acquire Qualcomm—either via a negotiated
13   deal or by replacing its directors in a proxy fight. For example, a November 13, 2017
14   RBC Capital Markets analyst report stated, “we believe that while the next 3-6 months
15   will be volatile, the probability remains [Broadcom] will up the offer and acquire the
16   asset either via constructive discussions or a proxy battle.”
17         68.    On November 16, 2017, Qualcomm filed a Form 8-K with the SEC
18   scheduling its Annual Meeting. Qualcomm reelects its Directors every year at its
19   annual meeting. The deadline to nominate Qualcomm directors for the March 6, 2018
20   Annual Meeting was set for December 8, 2017.
21         F.     Broadcom Launches a Proxy Fight
22         69.    On November 17, 2017, Broadcom’s CEO Tan wrote a public letter to
23   Qualcomm CEO Mollenkopf again asking him to discuss Broadcom’s proposal: “In
24   our recent conversations, many of your stockholders have expressed a clear and strong
25   desire for us to meet in an effort to negotiate a mutually beneficial transaction. I suspect
26   you have heard the same, so I remain hopeful that we can begin productive
27   discussions.” Qualcomm did not respond.
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                              20
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 1         70.      On November 22, 2017, Reuters quoted sources as disclosing that
 2   “following consultation with several of Qualcomm’s top shareholders,” Broadcom was
 3   considering raising its offer to acquire Qualcomm by offering more Broadcom stock
 4   and that Broadcom had made “several requests for a meeting with Qualcomm since it
 5   unveiled its offer on Nov. 6,” but that “Qualcomm has so far rejected these meeting
 6   requests[.]”
 7         71.      On December 4, 2017, Broadcom issued a press release announcing that
 8   it had notified Qualcomm of its intention to nominate a slate of 11 directors to replace
 9   the current Qualcomm directors. Broadcom also provided notice of its intention to
10   nominate four alternate nominees in the event that (i) Qualcomm increased the size of
11   the Board, (ii) Qualcomm took action to disqualify Broadcom’s original designees, or
12   (iii) any of Broadcom’s original nominees were unable or unwilling to serve as a
13   director of Qualcomm. In the press release, Broadcom also noted that “[t]o ensure
14   continuity, Broadcom would support a decision by the 11 new directors, upon their
15   election, to increase the size of the Board and reappoint [current Qualcomm directors]
16   Mark D. McLaughlin, Anthony J. ‘Tony’ Vinciquerra and Jeffrey W. Henderson as
17   directors.”
18         72.      In the press release, Broadcom’s CEO Tan stated:
19         We have heard from many Qualcomm stockholders who have expressed
           their desire for Qualcomm to engage with us. We also continue to receive
20         positive feedback from customers and, having had initial meetings with
21         certain relevant antitrust authorities, remain confident that any regulatory
           requirements necessary to complete a combination will be met in a timely
22         manner. Although we are taking this step, it remains our strong
           preference to engage in a constructive dialogue with Qualcomm. We
23         have repeatedly attempted to engage with Qualcomm, and despite
24         stockholder and customer support for the transaction, Qualcomm has
           ignored those opportunities. The nominations give Qualcomm
25         stockholders an opportunity to voice their disappointment with
           Qualcomm’s directors and their refusal to engage in discussions with us.
26         In light of the significant value our proposal provides for Qualcomm
           stockholders, we believe Qualcomm stockholders would be better served
27         by new independent, highly qualified nominees who are committed to
28         maximizing value and acting in the best interests of Qualcomm
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                          21
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 1         stockholders.
 2
           73.    Later that day, Qualcomm issued a press release in response to
 3
     Broadcom’s announcement. Qualcomm again referenced nonspecific “regulatory
 4
     issues” and “significant regulatory uncertainty,” and without further detail argued that
 5
     a Broadcom takeover “could not be completed for well over a year, if ever, given the
 6
     regulatory issues, [and] the absence of commitments by Broadcom to resolve those
 7
     issues[.]” The press release also cited to “uncertainty surrounding [Broadcom’s]
 8
     transition from Singapore to the United States” as a reason for shareholders to oppose
 9
     the deal.
10
           74.    Analysts, however, remained bullish on the deal.          For example, a
11
     December 4, 2017 Oppenheimer Equity Research analyst report stated, “We see
12
     obvious financial/strategic merit in combining QCOM and AVGO’s leading back-end
13
     and front-end handset portfolios.” Qualcomm’s stock continued to trade at a premium.
14
           75.    On December 6, 2017, Broadcom held a conference call regarding its
15
     fourth quarter and fiscal year 2017 earnings. During the call, Broadcom addressed
16
     Qualcomm’s statement that there was “uncertainty” regarding its transition to the U.S.,
17
     confirming its commitment to redomicile to the U.S.:
18
           On November 2, I think as everybody knows, we announced our intent
19         to initiate a redomiciliation process to change the parent company of the
           Broadcom corporate group from a Singapore company to a U.S.
20         corporation. The redomiciliation will occur whether or not there is
21         corporate tax reform in the United States. The redomiciliation is subject
           to a shareholder vote and is expected to be effected in a manner intended
22         to be tax-free to shareholders. We are confident that our shareholders will
           support this move.
23
24         76.    During the same call, Broadcom reiterated its “strong preference to
25   engage in a constructive dialogue with Qualcomm,” and expressed Broadcom’s
26   “confiden[ce] that any regulatory requirements necessary to complete a combination
27   will be met in a timely manner.”
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                          22
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 1         77.    Analysts reacted positively to Broadcom’s reassurances. A December 7,
 2   2017 Credit Suisse analyst report noted that “[w]hile AVGO did not address questions
 3   on the call, management stated it remains confident that any regulatory requirements
 4   necessary to complete the combination will be met in a timely manner.” On the same
 5   day, RBC Capital Market analyst report echoed that “AVGO and its advisors have
 6   conducted extensive analysis of the regulatory environment, and they are confident
 7   about obtaining all necessary approvals in a timely manner.”
 8         78.    Broadcom also took immediate steps to rebut Qualcomm’s statements that
 9   it was not committed to resolving any regulatory uncertainty. On December 11, 2017,
10   Broadcom issued a press release announcing that it filed a premerger notification under
11   the Hart-Scott-Rodino Antitrust Improvements Act of 1976 with the U.S. Department
12   of Justice Antitrust Division and the FTC in connection with its proposed acquisition
13   of Qualcomm. In the press release, Broadcom’s CEO Han reiterated that:
14         Our Board and management team are committed to consummating this
           transaction as soon as possible. We continue to receive positive feedback
15         from stockholders and customers, and we have made clear to Qualcomm
16         that it remains our strong preference to engage in constructive dialogue
           regarding the value-enhancing proposal we put forward more than a
17         month ago.
18         79.    That same day, Broadcom filed a preliminary proxy statement with the
19   SEC on Schedule 14A, again emphasizing that it did not foresee material regulatory
20   issues with its proposed transaction:
21         We and our advisors have conducted extensive analysis of the regulatory
22         approvals that will be required in connection with the proposed
           transaction, and we are confident that the transaction will receive all
23         necessary approvals in a timely manner. We would not make this offer if
           we were not confident that our common global customers would embrace
24         the proposed combination, and we do not anticipate any material antitrust
           or other regulatory issues that would extend the normal timetable for
25         closing a transaction of this nature.
26
27
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                         23
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 1         G.    Qualcomm’s Board Rejects Broadcom’s Independent Nominees and
                 Urges Shareholders to Do the Same
 2
 3         80.   On December 20, 2017, Qualcomm’s Board, on the same-day
 4   recommendation of its Governance Committee, unanimously voted not to nominate
 5   any of Broadcom’s director nominees.
 6         81.   On December 22, 2017, Qualcomm issued a press release announcing the
 7   Board’s decision. That same day, Qualcomm filed its annual meeting proxy statement
 8   with the SEC on Schedule 14A.
 9         82.   A few weeks later, on January 5, 2018, Qualcomm issued its definitive
10   proxy statement for the Annual Meeting, confirming the Annual Meeting for March 6,
11   2018. That same day, Broadcom mailed a competing definitive proxy statement to
12   Qualcomm’s shareholders, a “Blue Card,” soliciting them to elect Broadcom’s
13   11 independent director nominees.      Broadcom’s proxy also urged Qualcomm’s
14   shareholders to vote for its proposed amendments to Qualcomm’s bylaws, which
15   would undo any bylaw amendments adopted by Qualcomm’s incumbent Board without
16   shareholder approval up to the date of the March 6, 2018 Annual Meeting.
17         83.   Although Broadcom pursued its hostile proxy strategy, it continued to
18   make clear that its preference was to negotiate a transaction with Qualcomm’s Board.
19   According to the Blue Card:
20         On November 13, 2017, Qualcomm’s Board rejected our proposal. Since
           that time, we have spoken with many Qualcomm stockholders and
21         customers, and we have heard their desire for Qualcomm to engage with
           us regarding our compelling proposal. It remains our strong preference
22         to engage cooperatively with Qualcomm’s Board and management team,
           and we are prepared to meet immediately to work toward a mutually
23         acceptable definitive agreement.
24         84.   Qualcomm issued a slew of proxy solicitation materials on January 16,
25   2018—including a press release, letter, video, investor presentation, and website
26   postings—all urging its shareholders to oppose Broadcom’s slate of directors and its
27   attempt to acquire the Company. Qualcomm chiefly argued that shareholders should
28   oppose Broadcom’s proposal because it substantially undervalued the Company and
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                      24
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 1   sought to take advantage of its recent legal troubles. For example, in a video posted to
 2   its dedicated deal website—www.qcomvalue.com—Qualcomm’s CEO Mollenkopf
 3   stated:
 4         In short, we will deliver far more value than the Broadcom proposal. We
           recognize the impact of the Apple litigation on our business, but we
 5         would encourage you not to make a choice based on that short-term stock
 6         price reaction. We believe that we can deliver substantially more value
           than the Broadcom bid.
 7
 8         85.    As a secondary concern, Qualcomm noted Broadcom’s proposal involved
 9   “significant regulatory uncertainty.” Qualcomm repeatedly highlighted the potential
10   antitrust risk associated with the transaction, warning investors that it would require
11   “clearance from at least a dozen antitrust regulators throughout the world[.]” In a video
12   posted to Qualcomm’s deal website, Rosenberg cautioned that “Broadcom has
13   apparently made no effort to address what we expect will be substantial and potentially
14   conflicting requirements imposed by antitrust regulators around the world, posing
15   immense risk to Qualcomm stockholders.”
16         86.    Lastly, Qualcomm mentioned, for the first time, regulatory risk associated
17   with review by CFIUS, if Broadcom did not move forward with its redomiciliation. In
18   a video posted to Qualcomm’s deal website, Mollenkopf stated, “Broadcom is still a
19   Singapore company—CFIUS may be an issue again for them. It seems strange to us
20   that they have not made any further progress on their commitment to become an
21   American company—an announcement that was carefully timed—just days before
22   they announced their hostile bid for Qualcomm.” CFIUS and its process for review is
23   discussed in more detail in Section IV.H.1, infra.
24         87.    Later that day, Broadcom issued a statement directly responding to
25   Qualcomm’s statements about regulatory risk:
26         Based on the highly complementary nature of the businesses of the two
27         companies, Broadcom’s extensive experience in completing complex,
           cross-border acquisitions and initial meetings with several relevant
28         antitrust authorities, Broadcom remains very confident that the regulatory
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                           25
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 1         requirements necessary to complete a combination will be met in a timely
           manner and expects that the proposed transaction would be completed
 2         within approximately 12 months following the signing of a definitive
 3         agreement. It is important that Qualcomm engage with us so that
           Qualcomm stockholders can realize the significant value that Broadcom
 4         is offering.
 5         88.    Then, on January 19, 2018, Broadcom issued a press release, also filed
 6   with the SEC on Form 425, indicating that the regulatory approval process was
 7   proceeding smoothly. In particular, Broadcom announced that it received a “second
 8   request” for additional information and documentary material from the FTC in
 9   connection with its proposed acquisition of Qualcomm, but explained that this “was
10   expected as a normal part of the regulatory approval process. Second Requests are
11   common in similar transactions, and this signifies that Broadcom is moving into the
12   next stage of the U.S. antitrust review process.”
13         89.    On January 22, 2018—this time responding to Qualcomm’s January 16,
14   2018 statement concerning CFIUS review—Broadcom announced in a press release
15   that it had filed preliminary proxy materials with the SEC to approve its redomiciliation
16   to the U.S., and expected to complete the process by May 6, 2018. The preliminary
17   proxy materials explained that redomiciling to the U.S. would allow Broadcom to
18   “continu[e] to execute [its] acquisition strategy”:
19         After considering various factors, the Board unanimously determined that
20         restructuring our corporate group to cause the parent company of our
           group to be an entity incorporated in Delaware is in the best interests of
21         the Company and its shareholders and will best help us accomplish our
           strategic objectives. Through our existing subsidiaries, we already have a
22         substantial presence in the United States and it is important to note that a
           majority of Broadcom’s employees and a significant portion of operating
23         assets are in the United States. We believe that the shareholder returns we
24         can drive by continuing to execute our acquisition strategy far outweigh
           the additional income taxes we would expect to pay as a result of this
25         restructuring, and the incremental tax cost of being based in the U.S. has
           decreased materially as a result of corporate tax reform in the United
26         States.
27   As discussed in Section IV.H.2, infra, Broadcom’s redomiciliation to the United States
28   had already proven a successful strategy by which to gain CFIUS approval.
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                           26
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 1         90.       On January 23, 2018, Qualcomm sent another letter to shareholders, again
 2   making its case that Broadcom’s offer significantly undervalued the Company and that
 3   antitrust risk remained. The letter also provided Qualcomm’s most detailed statement
 4   regarding CFIUS:
 5         Broadcom says there will be no issue in obtaining national security
           clearance from the Committee on Foreign Investment in the United
 6         States (CFIUS).
 7               o THE FACTS: Broadcom is a Singapore-domiciled company
 8                 seeking to effect a hostile takeover of Qualcomm, one of the U.S.’s
                   most critical technology companies.
 9
                 o Even if Broadcom re-domiciles in the future, the national security
10                 issues raised by Broadcom’s attempt to acquire Qualcomm remain.
11               o Broadcom encountered resistance from the U.S. government
                   national security regulator when it sought to acquire another U.S.
12                 technology company that was far less critical to the national
13                 infrastructure than Qualcomm.

14               o We believe the transaction proposed by Broadcom and any
                   divestitures that may be required by regulatory authorities will be
15                 closely scrutinized and may well result in significant national
                   security concerns that could potentially block the transaction.
16                 Therefore, we believe approval by CFIUS is far from assured.
17   Qualcomm did not disclose any intention to initiate a CFIUS review and hasten its
18   intervention.
19         91.       Later that day, Broadcom issued a press release reiterating that “[w]e
20   continue to move forward with redomiciling to the U.S.—just yesterday Broadcom
21   filed preliminary proxy materials in connection with a shareholder meeting to approve
22   the redomiciliation. We expect to receive approvals by the end of our fiscal second
23   quarter ending May 6, 2018.” Broadcom also addressed, at length, Qualcomm’s
24   arguments regarding antitrust risk. Broadcom concluded, “[w]e remain confident in
25   our ability to complete a transaction within approximately 12 months following the
26   signing of a definitive agreement.”
27
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                          27
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 1         H.       Unbeknownst to Shareholders, Qualcomm Petitions CFIUS to Kill
                    Broadcom’s Takeover Attempt
 2
 3         92.      On January 29, 2018, a week after Broadcom announced that it would
 4   complete its redomiciliation by May 6, 2018, Defendants secretly filed a unilateral
 5   voluntary notice requesting that CFIUS review Broadcom’s takeover attempt. Also
 6   unbeknownst to investors (and Broadcom), Defendants submitted information with its
 7   unilateral voluntary request to CFIUS designed to convince CFIUS that Broadcom’s
 8   hostile takeover attempt constituted a national security risk and should not be allowed
 9   to continue.
10         93.      Over the next month, while publicly telling investors that they remained
11   hopeful that a satisfactory deal would be negotiated, Defendants continued to covertly
12   submit additional information and argument to CFIUS in an attempt to kill the deal,
13   including in emails, phone calls, and meetings. Defendants’ actions—which they
14   concealed from investors—constituted a brazen effort to kill Broadcom’s takeover
15   attempt, to entrench themselves in their leadership roles, and to surreptitiously
16   disenfranchise the Company’s shareholders.
17         94.      Defendants’ defensive measures were unprecedented. As a former CFIUS
18   member later explained, “[t]his is Halley’s comet unusual.” Zack’s Investment
19   Research also later reported that “This was quite an unprecedented move wherein
20   Qualcomm management approached the CFIUS to block the deal. . . . It shows that
21   all is far from well at Qualcomm where shareholders were in favor of the deal that
22   management and the board opposed.”
23         95.      This is because, as discussed in Section IV.H.1, infra, CFIUS typically
24   only reviews deals once the parties have entered into an agreement and jointly
25   submitted a voluntary notice requesting CFIUS review. Typically, moreover, CFIUS
26   applications are led by the buyer, not the acquisition target. As The Wall Street Journal
27   later explained in a March 14, 2018 article entitled Qualcomm Pursued Unusual
28   Strategy, Defendants’ secret and unilateral request for CFIUS to review Broadcom’s
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                           28
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 1   takeover attempt constituted “an unusual strategy. Normally both parties in a deal seek
 2   approval by making a joint filing before CFIUS, the secretive federal panel that vets
 3   foreign purchases of U.S. companies on national-security grounds. And they don’t
 4   usually file until there is an actual deal on hand.” Marketwatch, in a March 5, 2018
 5   article entitled Qualcomm was losing in takeover battle with Broadcom, then the
 6   government stepped in, reported that CFIUS “rarely reviews mergers before companies
 7   have entered into binding agreements[.]” A DealBook article dated March 5, 2018
 8   stated, “[CFIUS] typically works behind closed doors and reviews deals only after they
 9   are announced.”
10         96.    In other words, typically once a deal is signed, the two parties to the
11   deal—led by the acquirer—cooperate in obtaining CFIUS clearance for their signed
12   agreement. Here, had Qualcomm and Broadcom jointly submitted voluntary notice to
13   CFIUS after agreeing to a negotiated transaction, CFIUS review likely would have
14   occurred (if ever) only after Broadcom had redomiciled in the United States—which it
15   did on April 4, 2018. Instead, by secretly and unilaterally submitting a request for
16   CFIUS to intervene in the middle of Broadcom’s takeover attempt, Qualcomm
17   accelerated the timetable, initiating CFIUS review before Broadcom was able to
18   redomicile in the United States, and making the case for CFIUS to reject the deal.
19         97.    Defendants’ concealment of Qualcomm’s unilateral CFIUS request also
20   provided the Company with a valuable tactical advantage—the deception allowed
21   Defendants to keep Broadcom in the dark about the existence of the review and the
22   content of Qualcomm’s submissions and prevented Broadcom from responding to
23   Qualcomm’s arguments for intervention for more than a month while CFIUS reviewed
24   the application.   Indeed, Broadcom stated in its March 5 press release entitled
25   Broadcom Disappointed Will of Qualcomm Stockholders to be Deferred, CFIUS’s
26   March 4 Interim Order postponing Qualcomm’s Annual Meeting—including the vote
27   on Broadcom’s slate of nominees—was issued on the same day Broadcom was
28   informed of Qualcomm’s unilateral request for CFIUS to initiate the investigation. In
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                        29
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 1   a press release published the next day entitled Broadcom Reiterates Qualcomm Did
 2   Not Inform Its Own Stockholders or Broadcom of Its Secret, Voluntary Unilateral
 3   Request Filed on January 29, 2018, Broadcom reiterated that it was unaware that
 4   Qualcomm had unilaterally initiated CFIUS review, and stated that its communications
 5   with CFIUS were limited to Broadcom’s nomination of directors to the Qualcomm
 6   Board:
 7         Broadcom reiterates that Qualcomm failed to disclose to its own
           stockholders and to Broadcom that it secretly filed a voluntary unilateral
 8         request for CFIUS review on January 29, 2018. Broadcom’s only
 9         correspondence with CFIUS was in response to CFIUS inquiries about
           Broadcom’s nomination of directors to the Qualcomm board of directors,
10         and such requests did not reveal that Qualcomm filed to initiate the CFIUS
           review on January 29, 2018.
11
12         98.    Thus, unbeknownst to shareholders and contrary to their public
13   representations, Defendants were not in fact willing to negotiate with Broadcom at a
14   price that would deliver value to shareholders, but rather they were secretly working to
15   kill Broadcom’s bid outright. Because Defendants concealed Qualcomm’s defensive
16   move, and its potential repercussions, investors were denied critical information that
17   was necessary to properly assess the risk that the deal would be completed.
18                1.    The Committee on Foreign Investment in the United States
19         99.    CFIUS is a federal, interagency committee with authority to review
20   certain foreign investments in U.S. businesses to determine whether such transactions
21   threaten to impair U.S. national security.            The Committee then makes
22   recommendations regarding such transactions for the President’s ultimate
23   determination.3
24
     3
           CFIUS was established by the Foreign Investment and National Security Act of
25   2007 (Pub. L. No. 110-49, 121 Stat. 246 (2007)), which amended section 721 of the
     Defense Production Act of 1950 (50 U.S.C. App. 2170). On August 13, 2018,
26   President Trump signed into law the Foreign Investment Risk Review Modernization
     Act of 2018 (“FIRRMA”), which expanded the scope of transactions reviewable by
27   CFIUS. See Guidance Concerning the National Security Review Conducted by
     CFIUS, 73 Fed. Reg. 74567 (Dec. 8, 2008), https://www.treasury.gov/resource-
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                          30
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 1         100. CFIUS is chaired by the Secretary of the Treasury.            Other CFIUS
 2   members include representatives from the “[Departments of] State, Defense, Justice,
 3   Commerce, Energy, and Homeland Security; the Office of the United States Trade
 4   Representative; and the White House Office of Science and Technology Policy. The
 5   Office of the Director of National Intelligence is an ex-officio member, and five White
 6   House offices are observers.” Additional agencies may also participate, as appropriate.4
 7         101. Typically, a CFIUS review of a transaction begins when the parties to a
 8   transaction jointly file a “voluntary notice” notifying CFIUS of the transaction, and
 9   usually after the parties have come to an agreement on the terms. See U.S. Dept. of
10   the Treasury, Process Overview- Voluntary Notice, https://www.treasury.gov/
11   resource-center/international/foreign-investment/Pages/cfius-overview.aspx. CFIUS
12   is also authorized to commence reviews on its own.
13         102. Preparing a voluntary notice is a significant undertaking that requires the
14   filing parties to provide substantial amounts of information. See 31 C.F.R. § 800.402.
15   And, once CFIUS formally accepts a filing, it has 30 days to “review” the transaction
16   and determine whether to commence an investigation. See id. § 800.502.5 As a result,
17   to provide CFIUS with adequate time to review the filing and identify additional
18   information it may need, parties are explicitly encouraged “to consult with the
19   Committee in advance of filing a notice and, in appropriate cases, to file with the
20   Committee a draft notice or other appropriate documents to aid the Committee’s
21   understanding of the transaction and to provide an opportunity for the Committee to
22   request additional information.” Id. § 800.401. CFIUS suggests that “pre-notice
23
24
25   center/international/foreign-investment/Documents/CFIUSGuidance.pdf; 31 C.F.R.
     §§ 800.207 & 800.216.
26   4
           See CFIUS Annual Report to Congress, at iii (CY 2015), https://www.treasury.
     gov/resource-center/international/foreign-investment/Documents/Unclassified%20
27   CFIUS%20Annual%20Report%20-%20(report%20period%20CY%202015).pdf.
28   5
           Beginning on October 11, 2018, the “review” period was expanded to 45 days.
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                          31
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 1   consultation . . . should be provided, at least five business days before the filing of a
 2   voluntary notice.” Id.
 3             103. CFIUS does not publicly disclose information or documentary material
 4   filed in connection with a voluntary request. On the other hand, the rules governing a
 5   CFIUS review explicitly state that filing parties are free to disclose such information
 6   or material, as well as the fact that they filed a voluntary notice, to the public. See
 7   31 C.F.R. § 800.702.
 8             104. If after review CFIUS decides to commence an “investigation” of the
 9   transaction, it has 45 days to complete that investigation. 31 C.F.R. § 800.506. During
10   a review or investigation, the chairperson may invite the parties to attend a meeting
11   with the Committee to “discuss and clarify issues pertaining to the transaction.”
12   Id. § 800.501.
13             105. The Committee’s review and investigation center on whether the
14   transaction could result in foreign control of a U.S. business, whether that foreign
15   control could impair national security, and whether any law provides adequate and
16   appropriate authority to protect national security. See 31 C.F.R. § 800.501. “CFIUS
17   will clear the transaction to proceed if it determines that the transaction does not pose
18   any national security concerns, that any national security concerns are adequately
19   addressed by other laws, or that mitigation measures agreed or imposed by CFIUS
20   resolve any national security concerns.” See CFIUS Annual Report to Congress, supra
21   at iii.
22             106. After the end of its investigation, CFIUS may make a formal
23   recommendation to the President to block the transaction. Or, CFIUS may clear the
24   transaction outright or clear it with certain conditions. See 31 C.F.R. § 800.506. The
25   President has 15 days to make a determination based on CFIUS’s recommendation.
26             107. Based on the Committee’s most recent Report to Congress, 770 notices of
27   “covered transactions” were filed with CFIUS from 2009 to 2015. Over half of the
28   notices were resolved prior to an investigation, and approximately 3% were withdrawn
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                       32
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 1   during the review stage (e.g., notices may be withdrawn to resolve national security
 2   concerns or because of material changes to the transaction).            Only about 40%
 3   proceeded to an investigation.       Approximately 7% were withdrawn during the
 4   investigation stage.
 5         108. Even when CFIUS determines that a transaction could threaten or impair
 6   national security, it is still very rare for CFIUS to reject a transaction outright. In many
 7   cases, CFIUS will instead negotiate with the parties to adopt mitigation measures to
 8   address the perceived risks. From 2013 to 2015, CFIUS concluded about 10% of the
 9   transactions it reviewed by adopting mitigation measures. Such measures, which are
10   aimed at constraining the foreign control from a transaction, include:
11              Ensuring that only authorized persons have access to certain
                 technology.
12
                Exclusion of certain sensitive assets from the transaction.
13
                Providing the [U.S. Government] with the right to review certain
14               business decisions and object if they raise national security
15               concerns.

16   CFIUS Annual Report to Congress, supra at 21-22.
17         109. From 2009 to 2015, only one voluntary notice to CFIUS resulted in a
18   Presidential decision, and Presidential action based on CFIUS’s review remains
19   extremely rare. CFIUS Annual Report to Congress, supra at 3. Including the proposed
20   Qualcomm acquisition, a U.S. President has only blocked five transactions based on
21   CFIUS objections. See James K. Jackson, The Committee on Foreign Investment in
22   the United States (CFIUS), Congressional Research Service (July 3, 2018),
23   https://fas.org/sgp/crs/natsec/RL33388.pdf.
24                2.     The Market Did Not View CFIUS as a Serious Obstacle to the
                         Transaction
25
26         110. At the time that Qualcomm was secretly lobbying CFIUS to kill
27   Broadcom’s bid, the market did not perceive CFIUS’s review of the transaction to be
28   a serious risk to Broadcom’s bid for Qualcomm. As discussed above, it is exceedingly
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                       33
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 1   rare for a merger to be blocked based on CFIUS objections. Moreover, Broadcom—
 2   which operated out of California, was run by a largely American board and senior
 3   management team, and was 90% owned by American shareholders—was seeking to
 4   redomicile in the United States and CFIUS had already approved Broadcom’s
 5   acquisition of a significant U.S. company—Brocade—based on Broadcom’s
 6   announced intent to redomicile.
 7         111. More specifically, on December 20, 2016, after Broadcom and Brocade
 8   finalized their negotiated deal, they disclosed that they had filed a joint voluntary notice
 9   with CFIUS. On July 18, 2017, Broadcom and Brocade disclosed that, following
10   discussions with CFIUS, on July 17, 2017, they had agreed to withdraw and re-file
11   their joint notice to CFIUS, to allow more time for review and discussion. After
12   additional discussions with CFIUS, Broadcom and Brocade disclosed on October 3,
13   2017, that they had again re-filed their joint voluntary notice to allow more time for
14   review and discussion.
15         112. As noted in Section IV.B, supra, less than a month later, on November 2,
16   2017, Broadcom announced that it would re-domicile as an American corporation, an
17   announcement that was made at the White House and celebrated by President Trump
18   as a success of his administration’s business policies.
19         113. The market perceived Broadcom’s re-domiciliation in the United States
20   as eliminating the risk that CFIUS might fail to ultimately approve the Brocade deal.
21   For example, on November 4, 2017, the Boston Herald reported that “Broadcom’s plan
22   to move its home address to the U.S. from Singapore would free its $5.5 billion deal
23   for U.S. network provider Brocade Communications Systems from a review by the
24   Committee on Foreign Investment in the United States.”
25         114. Similarly, with respect to Broadcom’s proposed acquisition of
26   Qualcomm, commentators consistently concluded that Broadcom’s move to
27   redomicile to the United States would likely allow it to avoid problems with a CFIUS
28   review. For example, on November 3, 2017, Reuters reported that the “bid comes as
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                   34
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 1   Broadcom plans to move its headquarters to the United States from Singapore” and
 2   that Broadcom planned to complete re-domiciliation “before completing any
 3   Qualcomm deal, avoiding scrutiny by the Committee on Foreign Investment in the
 4   United States[.]”
 5         115. On November 4, 2017, a New York Times article likewise explained that
 6   Broadcom’s “prime motivation” for its redomiciliation was acquiring Qualcomm:
 7   “‘This [redomiciliation] is all about freeing up Broadcom to make acquisitions,’ said
 8   Romit Shah, an analyst for Nomura Instinet. ‘And Qualcomm has been at the top of
 9   Broadcom’s wish list for a long time.’”
10         116. The same day that it made its formal proposal to acquire Qualcomm,
11   Broadcom confirmed the intent behind its redomiciliation. In a same-day Investor
12   Presentation regarding the proposed acquisition of Qualcomm, Broadcom stated that it
13   “[p]reviously announced redomiciliation plan further increases deal certainty” and
14   “[r]egulatory approvals expected in timely manner.”
15         117. And following Broadcom’s formal offer, market commentators again
16   highlighted that Broadcom’s redomiciliation should allow any deal with Qualcomm to
17   avoid issues related to CFIUS review. For instance on November 7, 2017, the New
18   York Times reported that “[a]t least one deal hurdle—Washington’s examination of
19   foreign acquirers—has been pre-empted. The Singapore-domiciled Broadcom will
20   move to the United States, Mr. Tan said last week in a news conference with President
21   Trump.”
22         118. In addition, the New York Times, in a November 6, 2017 article reported
23   that neither Qualcomm nor Broadcom expected CFIUS to be an obstacle to a takeover:
24         But while a deal could face such a [CFIUS] review, neither company
           believes that it would be the main obstacle to a transaction getting done,
25         according to several people briefed on the bid. Broadcom’s operations
26         are largely in the United States, and its legal base is in Singapore
           primarily because of that country’s low tax rate.
27
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                        35
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 1         119. On November 17, 2017, Broadcom formally announced that CFIUS had
 2   approved the Brocade acquisition, affirming the market’s perception that its proposed
 3   acquisition of Qualcomm was not subject to serious CFIUS risk. Accordingly, a
 4   November 21, 2017 Morningstar Equity Research analyst report predicted that:
 5         Qualcomm remains skeptical about regulatory approval, but we think
           there’s a good chance Broadcom can get the blessing of various
 6         government agencies (especially if NXP is not a part of the mix).[6] We
 7         foresee U.S. approval, thanks to Broadcom’s shrewd move to redomicile
           in the U.S. and enter into the good graces of the U.S. Presidential
 8         administration.
 9         I.      Qualcomm Misleads the Market into Believing Its Board Is Willing
                   to Negotiate around a Fair Price at the Same Time It Was
10                 Affirmatively Seeking to Derail Broadcom’s Bid
11         120. Rather than disclose that they were actively petitioning CFIUS to kill the
12   Broadcom bid on a national security basis, Defendants instead made a series of
13   misrepresentations    and   omissions   that   materially   misled   investors   about:
14   (i) Defendants’ willingness to negotiate with Broadcom on price and cooperate in
15   obtaining regulatory clearance, and (ii) the increased risk Defendants’ strategy had
16   created of the deal being blocked. Because this critical information was withheld from
17   the public, Qualcomm’s stock price did not reflect the true risk that the deal would not
18   go through.
19                 1.     Qualcomm Begins Misleading Shareholders on January 29,
20                        2018, Regarding the Affirmative Steps It Took to Lobby for
                          CFIUS Intervention
21         121. On the same day that they filed their unilateral voluntary notice with
22   CFIUS, Defendants issued a vague statement to shareholders about regulatory risk that
23   could delay the transaction while failing to disclose that they were taking active
24   measures to accelerate CFIUS intervention and stop the deal. For example, in a video
25
26   6
           On September 29, 2016, Qualcomm announced that it would be pursuing an
27   acquisition of NXP Semiconductor N.V., a Dutch chipmaker (“NXP”). On October 27,
     2016, Qualcomm announced that it had entered into an agreement to acquire NXP via
28   a tender offer for $110 per NXP share.
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                          36
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 1   released on January 29, 2018, CEO Mollenkopf told investors that “there are some
 2   questions about deal certainty and regulatory approval.” In the same video, General
 3   Counsel Rosenberg stated:
 4         The Broadcom-proposed acquisition will be subjected to very, very close
           scrutiny by well over a dozen potential agencies. We believe that this is
 5         probably going to take something in the range of 18 months or more even,
 6         because of the complexity of the two companies’ businesses, because of
           the enormous overlap in the two companies’ technologies and
 7         businesses, and because of the global nature of our businesses.
 8   Having spoken about potential regulatory impediments to the merger, Defendants were
 9   obligated to disclose to investors the full and complete truth. Instead, Defendants
10   misled investors about the true risks associated with the deal by concealing that they
11   had taken affirmative steps to prevent regulatory approval by filing a unilateral
12   voluntary notice with CFIUS before Broadcom could redomicile to the U.S.
13         122. Absorbing the information disclosed by Qualcomm, analysts continued to
14   view the deal positively, with a January 31, 2018 Oppenheimer analyst report
15   reiterating that “[w]e hold a favorable view of the potential AVGO/QCOM
16   combination.” This sentiment was also reflected in Qualcomm’s common stock price
17   which continued to trade at an inflated premium that did not reflect the true risk that
18   the merger would not go through. On February 1, 2018, analyst BMO wrote that:
19   “QCOM reported strong December quarter results, but weaker guidance, particularly
20   on the chip side. Regardless, we believe investor sentiment is largely being driven by
21   the pending takeover attempt by Broadcom . . . with the March 6 shareholder vote
22   quickly approaching and that the ‘buyout offer from [Broadcom]’ was a ‘key catalyst’
23   that ‘will overshadow most other catalysts.’”
24                2.    Broadcom Ups Its Offer and Qualcomm Claims to Consider It
25                      Even Though It was Secretly Advocating to End the Bid

26         123. On February 2, 2018, Broadcom’s representatives contacted Qualcomm’s
27   representatives to offer the terms of an improved acquisition proposal.           More
28   specifically, a representative of Broadcom reached out to a representative of Goldman,
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                        37
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 1   Sachs & Co. (“Goldman Sachs”), financial advisor to Qualcomm. Also that day, a
 2   representative of Wachtell, Lipton, Rosen & Katz (“Wachtell Lipton”), legal counsel
 3   to Broadcom, reached out to a representative of Paul, Weiss, Rifkind, Wharton &
 4   Garrison LLP (“Paul Weiss”), legal counsel to Qualcomm, to provide details and terms
 5   of an improved proposal, including a substantial increase in the offer consideration and
 6   significant regulatory commitments. Finally, a representative of Moelis & Company
 7   LLC (“Moelis”), financial advisor to Broadcom, also attempted to contact a
 8   representative of Goldman Sachs to provide the details and terms of the improved
 9   proposal. The Goldman Sachs representative responded to the Moelis representative
10   that he had received the request and would speak to Qualcomm about it. Qualcomm,
11   Goldman Sachs, and Paul Weiss did not otherwise respond.
12         124. Having heard nothing from Qualcomm about its improved proposal, on
13   February 5, 2018, Broadcom sent a letter to the Qualcomm Board outlining the details
14   and terms of its improved proposal.          The improved proposal increased the
15   consideration Broadcom was offering to $82 per Qualcomm share ($60 in cash; $22 in
16   Broadcom stock). Broadcom also issued a same-day press release announcing its
17   improved offer.
18         125. The improved proposal represented a 56% premium to Qualcomm’s 30-
19   day VWAP, and a 50% premium to Qualcomm’s unaffected trading price of $54.84 on
20   November 2, 2017 (the day before media speculation on the transaction began).
21   According to proxy advisor Glass Lewis, Broadcom’s increased bid ranked among the
22   top decile of premiums paid in announced transactions greater than $25 billion since
23   2001 (excluding financially distressed targets). Indeed, Qualcomm’s stock has only
24   traded above $82 per share on three days during over 25 years as a public company.
25         126. Broadcom’s improved proposal also directly addressed Qualcomm’s
26   statements about regulatory risk. First, in response to Qualcomm’s statements that
27   regulatory approval could take 18 months or more, Broadcom included a “ticking fee”
28   that provided for an increase in the cash consideration paid to Qualcomm if the
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                  38
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 1   transaction was not consummated one year after executing a definitive agreement.
 2   Second, Broadcom’s increased proposal included a “reverse termination fee”—a
 3   sizable fee that would be paid to Qualcomm stockholders if the transaction was not
 4   consummated because of Broadcom’s inability to obtain required regulatory approvals.
 5   Broadcom also expressed its willingness to agree to a provision whereby both
 6   Qualcomm and Broadcom agreed to use their collective best efforts to obtain regulatory
 7   approval.
 8         127. Finally, Broadcom stated that it was open to inviting Qualcomm
 9   Chairman Jacobs and a second Qualcomm director to join the board of the post-
10   transaction entity. Broadcom conditioned its proposal on (i) Qualcomm acquiring
11   NXP on the currently disclosed terms of $110 per NXP share; and (ii) Qualcomm not
12   delaying or adjourning its Annual Meeting past March 6, 2018. In its letter, Broadcom
13   wrote, “we believe any responsible board would engage with us, without further delay,
14   to turn this proposal into an executed definitive agreement.” That same day, Broadcom
15   issued a public letter to its employees stating: “It is clear from our discussions with
16   investors and customers of both Broadcom and Qualcomm that there is overwhelming
17   support for Qualcomm to engage with us immediately regarding this transaction.”
18         128. Analysts expressed optimism about Broadcom’s improved proposal. For
19   example, in a February 5, 2018 analyst report, Credit Suisse wrote:
20         Importantly, AVGO re-affirmed its confidence around (1) regulatory
           approval providing a significant “reverse termination fee” and (2) deal
21         timing thru a “ticking fee” which would increase the cash component
22         after 12 months. Even with the increased offer, the transaction would be
           >20% accretive (ex-NXPI). Most importantly, today’s announcement
23         places pressure firmly on QCOM board/shareholders, and for AVGO
           shareholders provides a path to an end-point and clarity to what has been
24         a cloud of uncertainty[.]
25         129. A same-day Canaccord analyst report similarly reported that “the
26   increased bid certainly puts more pressure on Qualcomm shareholders to vote in favor
27   of this acquisition” and “we believe Qualcomm shareholders are considering this
28   $82 bid more seriously than the initial $70 bid, as might Qualcomm’s Board of
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                39
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 1   Directors given the longer-term risks in integrating NXP and uncertain outcome from
 2   the ongoing Apple disputes and potential declining QCT sales relationship.” Likewise,
 3   on CNBC’s Squawk Box, Kevin O’Leary stated, “There are many shareholders,
 4   including me, who think Qualcomm is very poorly managed. I would like adult
 5   supervision to come in from Broadcom.”
 6         130. That same day, Broadcom filed a Schedule 14A with the SEC, entitled
 7   Evaluating Qualcomm’s Claims About Closing Risk, A Conversation with Daniel M.
 8   Wall, Latham & Watkins LLP, Antitrust Counsel to Broadcom Limited, again
 9   addressing Qualcomm’s purported concerns about the Proposed Transaction’s antitrust
10   risks. Among other things, Broadcom stated that in Qualcomm’s January 16, 2018
11   investor presentation, Qualcomm identified:
12         only one [issue] that is a clear-cut antitrust hurdle, and that’s with respect
           to the Wi-Fi networking processors. But this is not a problem for the
13         transaction because Broadcom has always understood that it would need
14         to sell that part of Qualcomm, and that’s Broadcom’s plan. In fact,
           Broadcom has already begun advising the antitrust regulators that it
15         intends to divest that business. There shouldn’t be any problem selling it,
           because it’s a valuable business and Broadcom is quite experienced in
16         divesting businesses, so that overlap—the most serious antitrust issue in
17         this deal—won’t be a problem.

18         131. Later that day, Qualcomm issued a press release confirming that it had
19   received Broadcom’s revised proposal and stating: “Consistent with its fiduciary
20   duties, the Qualcomm Board of Directors, in consultation with its financial and legal
21   advisors, will review the revised proposal to determine the course of action it believes
22   is in the best interests of the Company and its stockholders.” Qualcomm also reiterated
23   that it had rejected Broadcom’s previous proposal because it “comes with significant
24   regulatory uncertainty.” While representing to shareholders that they would review
25   the proposal consistent with their fiduciary duties and act “in the best interests of the
26   Company and its stockholders,” however, Defendants did not disclose that they had
27   already taken defensive measures intended to kill the deal, regardless of price or terms.
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                            40
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 1                3.     Defendants Continue to Mislead Investors About Qualcomm’s
                         Willingness to Negotiate with Broadcom
 2
 3         132. On February 8, 2018, Qualcomm issued a press release announcing that it
 4   had rejected Broadcom’s improved proposal. The press release explained that “[t]he
 5   Qualcomm Board, assisted by its financial and legal advisors, determined that the
 6   Broadcom proposal materially undervalues Qualcomm and falls well short of the firm
 7   regulatory commitment the Board would demand given the significant downside risk
 8   of a failed transaction.” The release noted, however, that “Qualcomm has offered to
 9   meet with Broadcom to see if it can address the serious deficiencies in value and
10   certainty in its proposal.”
11         133. That same day, Qualcomm’s Chairman Jacobs sent a letter to Broadcom,
12   which it also filed with the SEC on Schedule 14A, stating:
13         The Board has unanimously determined that your amended offer
           materially undervalues Qualcomm and falls well short of the firm
14         regulatory commitment the Board would demand given the significant
15         downside risk of a failed transaction. However, the Board is committed
           to exploring all options for maximizing shareholder value, and so we
16         would be prepared to meet with you to allow you to explain how you
           would attempt to bridge these gaps in both value and deal certainty and
17         to better understand the significant issues that remain unaddressed in
           your proposal.
18
           In the meeting, we would expect that you will be prepared to provide
19         clear, specific and detailed answers to the questions below.
20             o What is the true highest price at which you would be prepared to
21               acquire Qualcomm? Is it $82 per share or is it higher? Your
                 current proposal is inadequate as it materially undervalues
22               Qualcomm. Your proposal ascribes no value to our accretive NXP
                 acquisition, no value for the expected resolution of our current
23               licensing disputes and no value for the significant opportunity in
24               5G. Your proposal is inferior relative to our prospects as an
                 independent company and is significantly below both trading and
25               transaction multiples in our sector.
26             o Is Broadcom willing to commit to take whatever actions are
                 necessary to ensure the proposed transaction closes? This is
27               extremely important to value preservation for our shareholders.
                 The differences in our business models expose the Company to
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                      41
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 1               significant customer and licensee risk between signing and closing
                 an agreement. It is indisputable that there are significant regulatory
 2               hurdles in your proposed transaction. It is also indisputable that if
 3               Qualcomm entered into a merger agreement and, after an extended
                 regulatory review period the transaction did not close, Qualcomm
 4               would be enormously and irreparably damaged. If you are not
                 willing to agree to do whatever is necessary to ensure a transaction
 5               closes, we will need you to be extremely clear and specific about
                 exactly what actions you would refuse to take, so that we can
 6               properly evaluate the risk to Qualcomm’s shareholders.
 7         We have a number of other important questions, which we can discuss at
 8         our meeting. We will reach out to you to schedule the meeting.

 9   (Some emphasis in original.) These statements were highly misleading. While telling
10   shareholders that Qualcomm was willing to meet with Broadcom to explore a
11   negotiated solution, Defendants were secretly undertaking defensive measures to
12   scuttle the deal. Moreover, while asking whether Broadcom was willing to commit to
13   whatever actions were necessary to obtain regulatory approval, Qualcomm failed to
14   disclose to its own shareholders that Defendants were taking actions meant to ensure
15   that the deal never obtained CFIUS approval. As a result, shareholders were misled
16   about the likelihood of a negotiated solution and the risks associated with a CFIUS
17   review.
18         134. Analysts reacted positively to Qualcomm’s stated willingness to engage.
19   For example, a February 9, 2018 RBC analyst report stated:
20         After the close today, QCOM announced that its Board unanimously
           rejected AVGO’s revised unsolicited proposal. QCOM’s Board believes
21         the $82 bid significantly undervalues the company and comes with
22         significant regulatory uncertainty. Positively, QCOM has offered to meet
           with AVGO to discuss two major issues: 1)Is $82 AVGO’s best and final
23         offer? QCOM believes $82/share is inadequate and assigns no value to
           the NXP acquisition, potential resolution of licensing disputes and
24         QCOM’s meaningful opportunity in 5G. 2)Is AVGO willing to do
25         whatever it takes to ensure the successful close of QCOM acquisition?
           as QCOM believes there are significant regulatory risks associated with
26         the proposed transaction. . . . Net/net: Despite the rejection from QCOM
           board, we are encouraged to see a potential meeting between AVGO
27         and QCOM and looking forward to incremental updates. We are
           maintaining our Outperform rating on QCOM and price target of $80.
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                          42
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 1   (Some emphasis in original.)
 2         135. On February 8, 2018, Broadcom sent a letter to Qualcomm regarding its
 3   attempts to schedule a meeting regarding its improved offer. The letter stated, in part:
 4         Broadcom has long sought a meeting to discuss Broadcom’s acquisition
           of Qualcomm. Following Qualcomm’s announcement today that it is
 5         willing to meet with us, we offered to meet with Qualcomm on Friday,
 6         Saturday or Sunday. I was astonished to hear that Qualcomm is not
           willing to meet until Tuesday – only after Qualcomm’s and Broadcom’s
 7         respective meetings with Glass Lewis and ISS. We hope that your
           willingness to meet with us reflects Qualcomm’s genuine intent to reach
 8         an agreement with respect to our February 5 proposal. After having met
 9         with most of your largest stockholders this past week, we have no doubt
           that this is their strong desire as well.
10
11   To further demonstrate its seriousness, Broadcom’s letter also attached its proposed
12   merger agreement, which provided for an $8 billion regulatory reverse termination fee
13   and a 6% per annum regulatory ticking fee on the cash portion of the merger
14   consideration (net of dividends). Broadcom also publicly filed a copy of the draft
15   merger agreement with the SEC and issued a press release regarding the same.
16         136. While Broadcom was making efforts to move negotiations with
17   Qualcomm forward, Defendants issued a series of misleading statements regarding the
18   regulatory risk associated with Broadcom’s proposal. First, on February 9, 2018,
19   Qualcomm filed an investor presentation with the SEC on Schedule 14A entitled
20   Qualcomm Sets the Record Straight on Regulatory Challenges Faced by Broadcom,
21   which discussed at length the regulatory risks associated with a potential transaction,
22   including “potentially serious national security concerns.”
23         137. In a second investor presentation filed with the SEC on Schedule 14A on
24   the same day, Qualcomm told shareholders that Broadcom’s offer “Poses Unacceptable
25   Regulatory Risks” and “significant regulatory uncertainty,” and that “Regulatory
26   approval [was] highly uncertain; at least 18 month process.” The presentation also
27   continued to mislead investors about Qualcomm’s willingness to constructively engage
28   with Broadcom, telling investors that while Broadcom’s initial proposal “so
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                              43
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 1   dramatically undervalued the business and carried such regulatory uncertainty that
 2   engagement was not warranted,” its improved February 5 proposal, “while not
 3   sufficient, . . . warranted engagement.”        Nowhere in either of these lengthy
 4   presentations, however, did Qualcomm disclose that it had unilaterally filed a voluntary
 5   notice with CFIUS in an attempt to stop any Broadcom transaction from occurring and
 6   to entrench the incumbent Board and management.
 7          138. On February 11, 2018, to address Qualcomm’s stated concerns about its
 8   lack of committed funding, Broadcom entered into a commitment letter with a group
 9   of 12 financial institutions for up to $100 billion in debt financing, including a
10   $5 billion revolving credit facility and bridge financing. Broadcom also secured
11   $6 billion of convertible note financing from investment funds affiliated with Silver
12   Lake, Kohlberg Kravis Roberts & Co. L.P., and CVC Capital Partners Advisory (U.S.)
13   Inc.
14          139. The following day, Broadcom issued a press release entitled Broadcom
15   and Financing Sources Sign Binding Financing Commitments to Fund Cash
16   Component of Qualcomm Acquisition, announcing that it had secured financing
17   commitments to fully fund the cash component of its $82 per share offer.
18          140. That same day, Broadcom filed a Schedule 14A with a Latham & Watkins
19   “Point of View” entitled Qualcomm’s ‘Fact Sheet’ About Closing Risk, A Conversation
20   with Daniel M. Wall, Latham & Watkins LLP, Antitrust Counsel to Broadcom Limited,
21   which responded in detail to Qualcomm’s February 9 “Fact Sheet” regarding
22   regulatory risk. The main message of Broadcom’s presentation was that “objectively,
23   there is no real risk that regulators refuse to approve the deal on any terms.” The
24   document stated:
25          Qualcomm’s management is trying to hide behind a smokescreen of
            unspecified “regulatory risk.” It consists mostly of general statements
26          about antitrust risks inherent in any deal between competitors, not about
27          this deal in these markets. . . . The most important point anyone needs to
            know about antitrust risk in this deal is that the vast majority of
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                          44
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 1         Broadcom’s and Qualcomm’s businesses do not raise any antitrust issues
           at all[.]
 2
 3   (Emphasis in original.)
 4         141. Broadcom also made another same-day filing intended to address
 5   Qualcomm’s statements regarding antitrust risk, lodging with the SEC, on
 6   Schedule 14A, an article published on Morning Consult authored by David Balto, a
 7   former policy director of the FTC. The article, entitled Broadcom’s Acquisition of
 8   Qualcomm: Redeeming the Unredeemable, explained that because of Qualcomm’s
 9   poor management and “record of antitrust mischief,” “Broadcom’s takeover bid for
10   Qualcomm should be welcomed by all.” The article concluded:
11         Given Qualcomm’s past bad behavior and current legal struggles,
12         Broadcom’s acquisition may be the rare deal that solves significant
           antitrust problems, by replacing its leadership and changing its corporate
13         culture. Broadcom already has indicated that it does not support
           Qualcomm’s patent licensing practices. Moreover, the operations of the
14         two companies are largely complementary, and any routine concerns that
           typically arise in mergers of large companies can be satisfactorily
15         resolved during the merger clearance process. Significantly, Broadcom
16         has a successful track record of completing antitrust merger reviews.

17         Bottom line: Competition advocates, global regulators and customers
           around the world should all be cheering for Broadcom. Consumers
18         deserve quality smartphones and tablets at fair prices. Broadcom’s
           takeover should be approved, especially when the combined company
19         would end Qualcomm’s excessive price squeezes and bullying tactics
20         that have driven consumer prices unsustainably higher.

21         142. The following day, February 13, 2018, after meeting with proxy advisory
22   firm ISS, Broadcom announced that it was scaling back its challenge to Qualcomm’s
23   Board by cutting the number of board seats it was trying to win from 11 to six.
24   Broadcom explained in a press release that day that it reduced the number of its
25   nominees in recognition of Qualcomm stockholders’ desire “for appropriate continuity
26   on the Qualcomm board[.]”
27
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                        45
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 1                4.     Following a Meeting with Broadcom, Qualcomm Falsely
                         Maintains Its Willingness to Negotiate
 2
 3         143. On February 14, 2018, Qualcomm and Broadcom held a meeting
 4   regarding Broadcom’s improved proposal. Two days later, on February 16, 2018,
 5   Qualcomm issued a press release providing an update on the meeting. In the press
 6   release, Qualcomm continued to mislead investors about its willingness to engage
 7   constructively with Broadcom, its commitment to resolve regulatory concerns, and the
 8   regulatory risks associated with the deal, stating:
 9         [O]ur Board found the meeting to be constructive in that the Broadcom
           representatives expressed a willingness to agree to certain potential
10         antitrust-related divestitures beyond those contained in your publicly filed
11         merger agreement. At the same time, Broadcom continued to resist
           agreeing to other commitments that could be expected to be required by
12         the FTC, the European Commission, MOFCOM and other government
           regulatory bodies. Broadcom also declined to respond to any questions
13         about its intentions for the future of Qualcomm’s licensing business,
           which makes it very difficult to predict the antitrust-related remedies that
14         might be required. In addition, Broadcom insists on controlling all
15         material decisions regarding our valuable licensing business during the
           extended period between signing and a potential closing, which would be
16         problematic and not permitted under antitrust laws.
17         Our Board is highly cognizant of the need to protect Qualcomm’s
           stockholders from the considerable risks of agreeing to a transaction that
18         does not close. A breakup fee in the range proposed by Broadcom does
19         not come close to compensating for those risks.

20         144. By focusing on the antitrust risks associated with the deal while again
21   failing to disclose that Qualcomm had initiated a CFIUS review before Broadcom
22   could redomicile to the U.S., Defendants misled investors about the regulatory risks
23   associated with the deal. Moreover, Qualcomm’s statements misrepresented that it was
24   willing to engage constructively with Broadcom’s offer—which included an agreement
25   to work cooperatively to obtain regulatory approval—when behind the scenes it was
26   operating to ensure that the deal with Broadcom would never happen.
27         145. That same day, ISS issued a report stating that Qualcomm “should
28   negotiate with [Broadcom] in good faith” and that “[r]egulatory concerns from a
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                  46
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 1   [Broadcom/Qualcomm] merger appear manageable[.]” On the regulatory front, ISS
 2   also agreed that Broadcom’s 12-month timeline seemed reasonable:
 3         Broadcom’s more extensive experience with regulatory proceedings
           would seem to provide a better reference point for timing than
 4         Qualcomm’s own lengthy process with NXP. Based on the frequency
 5         and complexity of Broadcom’s acquisitions, and the two companies’
           historical relationship with regulators, a timeline for regulatory approval
 6         of one year does not seem unreasonable.
 7   If Qualcomm’s Board did not negotiate a deal, ISS recommended that Qualcomm’s
 8   shareholders vote them out: “The election of four Broadcom nominees to the 11-
 9   member board seems to offer a reasonable path to a negotiated deal, which is likely to
10   be the most beneficial path for shareholders.”
11         146. In a February 16, 2018 analyst report discussing the ISS report, Credit
12   Suisse wrote: “We would highlight . . . Regulatory Approval Achievable. ISS noted
13   that it appeared more likely than not that AVGO and QCOM, with their collective
14   experience and resources, could find a reasonable path to regulatory approval.” In
15   other words, the market’s view of regulatory risk was informed by its understanding
16   that Qualcomm and Broadcom would work cooperatively to obtain regulatory
17   clearance once a deal was finalized.
18                5.    Broadcom Lowers Its Offer in Response to Qualcomm Action
                        but Continues to Try to Move the Deal Forward
19
20         147. On February 20, 2018, Qualcomm announced that it had entered into an
21   amendment to its purchase agreement with NXP to increase the consideration from
22   $110 per share to $127.50 per share and reduce the minimum number of NXP shares
23   required to tender in order to consummate the transaction to 70% of outstanding shares.
24         148. That same day, Broadcom issued a statement criticizing Qualcomm for
25   overpaying for NXP but confirming its commitment to the deal:
26        Broadcom believes that a responsible Qualcomm board could have
27        preserved value by following ISS’s clear recommendation to work with
          Broadcom on the NXP transaction and negotiate the sale of Qualcomm
28        to Broadcom. Instead Qualcomm’s board acted against the best interests
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                         47
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 1         of its stockholders by unilaterally transferring excessive value to NXP’s
           activist stockholders. Despite this direct value transfer, Broadcom
 2         remains committed to delivering a value-maximizing offer to Qualcomm
 3         stockholders.

 4         149. Also on February 20, another leading proxy advisory service, Glass
 5   Lewis, issued a recommendation that Qualcomm stockholders vote “AGAINST” the
 6   Qualcomm directors and “FOR” all of Broadcom’s Independent Nominees at the
 7   Annual Meeting. Glass Lewis explained that the Board’s behavior “should concern
 8   shareholders” and that “a change in the composition of the board is warranted.” Glass
 9   Lewis further reasoned: “Reconstituting the Qualcomm board would go a long way to
10   ensuring shareholders have a fully informed opinion regarding the prospects of the
11   Company as compared to the attractiveness and risks of a potential Broadcom deal, in
12   our view.”
13         150. The following day, February 21, 2018, Broadcom re-affirmed its
14   commitment to acquire Qualcomm but, in light of the new NXP terms, lowered its
15   acquisition proposal to $79 per Qualcomm share ($57 in cash; $22 in Broadcom stock).
16   The new proposal, however, called for an automatic increase of $3 in cash per
17   Qualcomm share, back to $82 per Qualcomm share, if the NXP deal was not
18   consummated. Broadcom’s other proposed terms remained the same.
19         151. Broadcom also continued to take steps to obtain regulatory clearance for
20   its proposed transaction, and on February 22, 2018, it filed a Schedule 14A with the
21   SEC reporting that, as of that date, Broadcom (i) had committed to divest two business
22   areas to address the potential antitrust concerns Qualcomm had raised—its WiFi
23   Networking Processors and RF Front End (RFFE) chip businesses; (ii) had agreed to
24   take any other actions required by regulatory agencies with respect to Qualcomm’s
25   other businesses and assets subject to the “Material Adverse Effect” standard; (iii) was
26   working on an anticipated second request from the U.S. Federal Trade Commission;
27   and (iv) had met with MOFCOM in China and started a pre-filing consultation process.
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                          48
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 1   Broadcom reiterated that it remained confident in its ability to complete the transaction
 2   within approximately twelve months following the signing of a definitive agreement.
 3         152. Meanwhile, Qualcomm continued to make misleading statements
 4   regarding the regulatory risk associated with the deal.        On February 22, 2018,
 5   Qualcomm shared with its stockholders its “takeaways” from an article published in
 6   the Competition Policy International on the antitrust risks posed by Broadcom’s
 7   proposed takeover of Qualcomm. For example, Qualcomm stated that “[b]ased on
 8   similar complex cross-border deals, the expected regulatory approval process is likely
 9   to take 18+ months and may require significant and material divestitures and/or
10   conduct remedies.” While discussing what it saw as “significant” regulatory risks
11   associated with a Broadcom transaction, however, Qualcomm did not disclose to its
12   shareholders that had taken affirmative steps to block regulatory approval of the deal.
13                6.    The Parties Meet Once Again and Qualcomm Continues to
                        Misrepresent Its Actual Level of Engagement
14
15         153. The following day, February 23, 2018, Qualcomm and Broadcom again
16   met to discuss Broadcom’s proposal. Following up on the parties’ meeting, on
17   February 26, 2018, Defendant Jacobs sent a letter to Broadcom’s CEO Tan. Jacobs’
18   letter represented that the parties had made progress toward a negotiated solution and
19   that the major sticking point was price. For example, Jacobs’ letter stated:
20         We appreciate the movement you have made from the draft merger
           agreement you publicly released on February 9. We have attached our
21         mark-up of that document, which is intended to provide a comprehensive
22         path forward on regulatory and deal certainty issues. The path forward
           does not require a “hell or high water” commitment on the regulatory
23         front, but still provides the appropriate level of protection to Qualcomm
           stockholders commensurate with the high degree of regulatory risk
24         associated with this potential transaction. If acceptable to Broadcom, this
25         would resolve all issues between the two companies other than price.

26         154. Jacobs also represented that “[t]he Qualcomm Board and management
27   team are committed to exploring fully with Broadcom whether a negotiated transaction
28   that is in the best interests of Qualcomm stockholders is achievable.” As a result,
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                     49
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 1   Jacobs proposed that the parties move forward with “the following next steps.” First,
 2   Jacobs proposed that the parties “[f]inalize non-price terms” stating, “[w]e welcome
 3   your review of the mark-up of the merger agreement we have provided you and propose
 4   that we or our representatives meet to address any remaining issues and finalize the
 5   language.” Qualcomm also proposed that the parties “[e]xecute NDA [non-disclosure
 6   agreement] and begin bilateral due diligence.” Qualcomm reasoned that “[m]utual due
 7   diligence will inform our discussions on price.” It concluded that “[w]e are delivering
 8   a proposed NDA to your counsel.”
 9         155. As a fourth and final step, Qualcomm proposed that the parties “[a]rrange
10   [a] meeting focused on price.” More specifically, Jacobs wrote that “[h]aving now
11   addressed the regulatory and certainty issues in principle, we propose arranging a
12   meeting—as soon as mutually convenient for both parties—focused on price, should
13   Broadcom be willing to engage on the topic.” The letter concluded: “Tom Horton, in
14   his capacity as Presiding Director (lead independent Director), will continue to lead
15   Qualcomm in negotiations with Broadcom, with the goal of determining whether there
16   is a mutually beneficial transaction to be done between our two companies. We look
17   forward to your reply.”
18         156. In response, later that day, Broadcom issued a statement that criticized
19   Qualcomm’s “comprehensive proposal” as an effort to delay the March 6, 2018 Annual
20   Meeting, stating that its offer:
21         [H]as never been conditioned on due diligence and Broadcom continues
           to be prepared to move forward immediately, without diligence. In short,
22         there is no cause to delay the Qualcomm annual meeting. Broadcom
23         would be happy to provide confirmatory reverse due diligence upon an
           agreement on all material terms, including price, as is customary.
24
25         157. That same day, Qualcomm issued a statement in response:
26         The latest statement issued by Broadcom is disingenuous and clearly
           intended to create a false impression about Qualcomm’s level of
27         engagement. In fact, Qualcomm has repeatedly attempted to engage with
28         Broadcom on issues including price, including at meetings on February
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                         50
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 1         14 and February 23. In each of those meetings, Broadcom has refused to
           engage on price.
 2
           Earlier today, Qualcomm made a comprehensive proposal that addresses
 3         regulatory and other merger agreement issues in order to clear the way for
 4         a price discussion with Broadcom. The ball is in Broadcom’s court to let
           us know whether it is willing to engage with us.
 5
 6         158. Qualcomm also accused Broadcom of lying about its attempts to postpone
 7   the Annual Meeting: “Broadcom’s statements about Qualcomm considering moving
 8   the date of its annual meeting are false. Qualcomm has no intention of delaying the
 9   annual meeting and made that clear to Broadcom during our February 23 meeting.”
10         159. Also on February 26, Qualcomm issued a statement regarding the
11   meeting, again confirming that progress had been made toward a negotiated transaction
12   with Broadcom: “The Qualcomm Board believes the meeting led to further progress
13   toward a possible negotiated transaction on key issues other than price.”
14         160. Defendants’ February 26, 2018 statements created the misleading
15   impression that Qualcomm was diligently working to resolve any regulatory concerns
16   to reach a negotiated deal with Broadcom.
17         161. News media reported positively on Qualcomm’s apparent engagement in
18   the proposed acquisition when, in reality, it was secretly feeding information to CFIUS
19   in an attempt to thwart the will of its shareholders and prevent any Broadcom deal from
20   ever occurring. In a February 26, 2018 article entitled Qualcomm Warms to Broadcom
21   Bid, but Price Is Sticking Point; The two companies have made progress on many
22   fronts, but are still split on a price, The Wall Street Journal reported that “Qualcomm
23   Inc. appeared to take a cooperative turn in its talks with Broadcom Ltd., saying the two
24   sides made progress toward a deal during a recent sit-down and that price could remain
25   one of the few sticking points.”
26         162. CNBC, in a same-day article entitled Qualcomm Proposes Further Price
27   Talks With Broadcom, reported that “Chipmaker Qualcomm on Monday urged
28   Broadcom to enter into price negotiations on its $117 billion offer for the company,
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                      51
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 1   saying the two sides had made progress on regulatory issues but were yet to agree on
 2   the deal value.”
 3         163. After the market closed on February 26, 2018, Reuters reported that:
 4         [CFIUS] has begun looking at Singapore-based chipmaker Broadcom
           Ltd’s plan to take over rival Qualcomm Inc. . . . Senator John Cornyn, the
 5         No. 2 Republican in the Senate, urged Treasury Secretary Steven Mnuchin
 6         on Monday to have the Committee on Foreign Investment in the United
           States, or CFIUS, officially review the proposed transaction before a key
 7         shareholder vote expected on March 6, according to a letter seen by
           Reuters. The pre-deal discussions by CFIUS—which are extremely rare
 8         —suggest Broadcom’s plans to move its headquarters to the United States
 9         before it completes its proposed purchase of Qualcomm may not be
           enough to sidestep a national security review that could threaten the deal.
10
11   Although the Reuters article raised the prospect that CFIUS might be informally
12   looking at the deal, it did not disclose that a formal review was underway or mention
13   Qualcomm’s efforts to persuade CFIUS to kill Broadcom’s hostile takeover attempt
14   before it could redomicile.
15         164. Moreover, soon thereafter, contradictory reports surfaced of an internal
16   dispute at CFIUS over whether the Committee had jurisdiction to review Broadcom’s
17   proposal. As reported by The Wall Street Journal on March 2, 2018:
18         In a meeting Tuesday [February 27, 2018], members of . . . CFIUS,
19         debated whether the panel has the right to weigh in on Singapore-based
           Broadcom Ltd.’s bid of $117 billion for Qualcomm before a deal is
20         struck, according to people briefed on the matter.
21         ....
22         Mr. Mnuchin [Treasury Secretary and Chair of CFIUS] . . . told his
           colleagues he wasn't sure the panel had jurisdiction to commence a
23         review yet because the deal hasn't happened.
24         165. Defendants’ misrepresentations continued unabated on March 1, 2018,
25   when Qualcomm sent a letter to shareholders (filed with the SEC on Schedule 14A),
26   representing that, “Qualcomm has repeatedly and genuinely attempted to engage with
27   Broadcom on issues including price, regulatory and other closing certainties, including
28   most recently at meetings on February 14 and February 23.” Defendants also touted
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                    52
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 1   their “attempts to find a path to a deal.” The letter concluded that “[t]he Qualcomm
 2   Board of Directors remains ready to engage with Broadcom on these issues both before
 3   and after the March 6 stockholder meeting.”
 4           166. The following day, March 2, 2018, Telecommunications Reports reported
 5   that:
 6           Qualcomm, Inc., has suggested to Broadcom Limited that the two
             companies engage in due diligence and price negotiation of Broadcom’s
 7           bid for Qualcomm. . . . In a statement, Broadcom replied that . . .
 8           “Qualcomm’s sudden request to enter into an NDA is a result of
             Qualcomm finally beginning to recognize the will of its stockholders.”
 9
10           167. In sum, based on Qualcomm’s Class Period statements, investors were
11   misled to believe that Defendants were engaged in good faith negotiations to secure
12   better terms in a deal with Broadcom, when, in fact, they had been engaged in a lengthy
13   campaign to have U.S. regulators scuttle any chances for the deal. Moreover, as a
14   result of Defendants’ misleading statements, Qualcomm’s shareholders were under the
15   impression that Qualcomm was working to address regulatory concerns, and willing to
16   cooperate with Broadcom to obtain regulatory clearances when, in reality, they were
17   affirmatively campaigning regulators to block the deal.
18           J.    The Relevant Truth Is Revealed in a Series of Disclosures
19           168. On March 5, 2018, the relevant truth began to leak to the market when
20   Broadcom accused Qualcomm of secretly filing a voluntary request with CFIUS to
21   initiate a review. In particular, in a press release published before the close of trading
22   entitled Broadcom Disappointed Will of Qualcomm Stockholders to be Deferred,
23   Broadcom stated:
24        Broadcom was informed on Sunday night that on January 29, 2018,
          Qualcomm secretly filed a voluntary request with CFIUS to initiate an
25        investigation, resulting in a delay of Qualcomm’s Annual Meeting 48
26        hours before it was to take place. This was a blatant, desperate act by
          Qualcomm to entrench its incumbent board of directors and prevent its
27        own stockholders from voting for Broadcom’s independent director
          nominees. It is critical that Qualcomm stockholders know that Qualcomm
28        did not once mention submitting a voluntary notice to CFIUS in any of its
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                            53
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 1         interactions with Broadcom to date, including in the two meetings on
           February 14, 2018 and on February 23, 2018. This can only be seen as an
 2         intentional lack of disclosure - both to Broadcom and to its own
 3         stockholders.

 4         169. That same day, also before the market closed, Qualcomm filed a Current
 5   Report on Form 8-K with the SEC disclosing that it had “received an Interim Order”
 6   from CFIUS (the “March 4 Interim Order”). The March 4 Interim Order, which
 7   Qualcomm attached as an exhibit to the Form 8-K, directed that: (i) Qualcomm’s
 8   Annual Meeting, scheduled for March 6, 2018, would be delayed by 30 days and, in
 9   the meantime, “Qualcomm shall hold in abeyance the acceptance or count of any votes
10   or proxies for directors, and shall take no action to complete the election of directors”;
11   and (ii) while the March 4 Interim Order was in effect, Qualcomm was prohibited from
12   “accepting, or taking any action in furtherance of accepting, Broadcom’s proposed
13   merger agreement or any other proposed merger, acquisition, or takeover agreement
14   with Broadcom.” The March 4 Interim Order also made clear that it could be modified
15   in writing by CFIUS, including upon written request from Qualcomm. In response to
16   the March 4 Interim Order, later that day, Qualcomm announced that it would delay its
17   Annual Meeting to April 5, 2018.
18         170. On March 6, 2018, Qualcomm filed a Current Report on Form 8-K with
19   the SEC disclosing that it had (i) “received a letter, addressed to both Broadcom
20   Limited and Qualcomm, from the U.S. Department of Treasury” (the “March 5
21   Letter”); and (ii) “received a Modification of Interim Order” from CFIUS (the
22   “Modification Order”). Copies of the March 5 Letter and the Modification Order were
23   attached to the Current Report on Form 8-K as exhibits.
24         171. The March 5 Letter made clear that CFIUS’s conclusions were driven by
25   the voluntary notice and additional information that Qualcomm had secretly submitted
26   during the Class Period:
27         During the time between Qualcomm’s unilateral filing and Treasury’s
28         agency filing, CFIUS has been communicating with both parties to obtain
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                            54
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 1         additional information to inform its decision on the appropriate path
           forward in regards to this matter. It was during this time, and as a result
 2         of these communications and additional information, that CFIUS has
 3         come to believe that Broadcom’s successful hostile takeover attempt of
           Qualcomm, including the related stock purchase, proxy contest for the
 4         election of six directors to Qualcomm’s Board as proposed and selected
           by Broadcom, Proposed Agreement and Plan of Merger, and any other
 5         potential merger between Broadcom and Qualcomm, could pose a risk to
           the national security of the United States.
 6
           ....
 7
           CFIUS’s assessment thus far includes its review of the information
 8         submitted by Qualcomm in its unilateral voluntary notice on January 29,
 9         2018, the parties’ responses to questions posed about the potential
           transaction during the interim period, and the information provided in our
10         multiple phone calls, emails, and meetings with representatives of both
           Qualcomm and Broadcom. In addition, our assessment includes the
11         review of letters to CFIUS submitted by Broadcom on February 21, 2018
12         and March 2, 2018.

13         172. News reports captured the market’s shock at Qualcomm’s behind the
14   scenes maneuvering in the face of its public statements. For example, The Wall Street
15   Journal, in a March 6, 2018 article entitled U.S. Government Intervenes in Broadcom’s
16   Bid for Qualcomm; Move represents a highly unusual intervention by Washington,
17   noted that “[l]ate last month, Qualcomm appeared to be coming around to the idea of
18   a deal. It said the two sides had been talking and making progress.”
19         173. In a March 6, 2018 article entitled Qualcomm’s Appeal to CFIUS Risks
20   Alienating Shareholders, Dow Jones Institutional News criticized Defendants for their
21   efforts to secretly disenfranchise Qualcomm’s shareholders, writing:
22         As things play out, this latest gambit in Broadcom’s hostile bid for
23         Qualcomm could end up creating more votes to change directors and
           undermining the credibility of Qualcomm management with any new
24         director who is ultimately elected. . . . By appearing to encourage the
           extraordinary order from [CFIUS], to postpone the shareholder vote on
25         directors, Qualcomm could be seen as attacking its own investors’ voting
           rights.
26
27         174. Market commentators also expressed surprise about the timing of
28   CFIUS’s review, noting that Qualcomm’s actions had resulted in an unprecedented
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                  55
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 1   early review of a deal before it was even agreed. For example, the New York Times,
 2   in a March 6, 2018 article reported that:
 3         In most cases, the panel operates in secret and weighs in after a deal is
           announced. In this instance, Cfius, which is made up of representatives
 4         from multiple federal agencies, is taking a proactive role and
 5         investigating before an acquisition agreement has even been signed. . . .
           But Qualcomm, which is based in San Diego, pushed the government to
 6         intervene.
 7         175. In a same-day article the New York Times reported that “[e]xperts said
 8   they couldn’t recall another instance of the committee’s intervening in a transaction
 9   that hadn’t been completed, much less one that is as fluid and bitterly contested as this
10   one.” The article further explained that:
11         Broadcom had sought to pave the way for its bid by changing its
12         headquarters to the United States, an announcement that the company’s
           chief executive, Hock Tan, made alongside Mr. Trump at the White
13         House last year. . . . Broadcom argued that its status as a soon-to-be-
           American company meant the Qualcomm deal should not be subject to
14         review by Cfius. Qualcomm nonetheless appealed to regulators to get
           involved.
15
16         176. In a March 7, 2018 article entitled Qualcomm’s Spending Buys the Right
17   Friends, The Wall Street Journal also noted that CFIUS’s rationale was nearly identical
18   to Qualcomm’s talking points: “In language that closely mimics Qualcomm’s talking
19   points against the deal, the committee describes the company as ‘well-known’ and
20   ‘trusted’ by the U.S. government. The letter also lauded the company’s ‘unmatched
21   expertise and R&D expenditure’—particularly as it relates to the coming wireless
22   technology standard known as 5G.”
23         177. In sum, these disclosures revealed to investors that Defendants’ repeated
24   claims that they were diligently working to negotiate a transaction in the best interest
25   of shareholders were materially misleading when made. In fact, as these disclosures
26   revealed, Defendants were furiously working to kill the deal outright.
27         178. As a result of the March 5 and March 6 disclosures, the price of the
28   Company’s common stock declined 4.02%, from a closing price of $64.74 on March 2,
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                   56
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 1   2018, to a closing price of $62.14 on March 6, 2018. By contrast, the S&P 500
 2   increased by 1.35% between March 2 and 6, 2018.
 3         179. On March 7, 2018, media outlets began reporting rumors that, in an
 4   attempt to salvage its bid, Broadcom was accelerating its plans to redomicile to the
 5   United States. For instance, a March 7, 2018 New York Post article disclosed that:
 6         Advisers for Singapore-based Broadcom told a Qualcomm shareholder
           that the company is accelerating its plans to re-domicile to the US, The
 7         Post has learned. . . . Broadcom, to get around a CFIUS review, had
 8         promised earlier to become a US company by mid-May. But in light of
           the heat this week from Washington, Broadcom is now aiming to
 9         complete the move to the US in April.
10         180. On March 9, 2018, Broadcom disclosed that it had moved up its
11   shareholder vote on redomiciliation to March 23. As The Wall Street Journal reported
12   in a March 10, 2018 article entitled Broadcom Vote Plan May Set Stage for Battle With
13   U.S. National Security Panel; If move to become U.S. firm is approved, Singapore
14   company could argue hostile bid for Qualcomm is outside of CFIUS’s jurisdiction:
15         Singapore-based Broadcom Ltd. said Friday it will ask shareholders to
16         vote on March 23 to approve its plan to redomicile to the U.S., potentially
           setting the stage for a showdown with the U.S. national security panel
17         reviewing its $117 billion hostile bid for Qualcomm Inc. The vote is now
           set to take place in the middle of a review of the proposed bid by [CFIUS].
18         If Broadcom were considered a U.S. company, it could argue that its deal
19         falls outside of the panel’s jurisdiction.

20         181. Then, after market close on March 12, 2018, Defendants’ secret campaign
21   to kill Broadcom’s bid by instigating government intervention culminated in
22   President Trump’s issuance of an executive order blocking Broadcom from acquiring
23   Qualcomm.
24         182. This action by CFIUS and President Trump effectively endorsed
25   Qualcomm’s position regarding the national security concerns of the proposed
26   acquisition and, in particular, the need to intervene prior to Broadcom’s
27   redomiciliation. And, news reports directly connected CFIUS’s recommendation to
28   Qualcomm’s secret campaign to stymie Broadcom’s bid. For instance, The Deal
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                             57
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 1   Pipeline, in a March 13, 2018 article entitled Qualcomm’s PR and Lobbying Savvy May
 2   Have Helped It Fight Off Broadcom, reported that “Qualcomm had requested a Cfius
 3   review of Broadcom’s bid on Jan. 29, and some of the objections publicly voiced by
 4   the committee sound like Qualcomm talking points.”
 5         183. In a March 12, 2018 article, Mondaq Business Briefing wrote, “Although
 6   traditional takeover defenses such as the Poison Pill and White Knight have long
 7   histories in the corporate M&A world, it is possible we are seeing now for the first time
 8   the (potentially successful) use of CFIUS as a takeover defense against a hostile offer.”
 9         184. In response to this news, the price of the Company’s common stock
10   declined an additional $3.11 per share, or 4.95%, to close at $59.70 per share on
11   March 13, 2018. By comparison, the S&P 500 dropped only 0.67%.
12         185. Even after Qualcomm managed to kill the deal, market commentators
13   continued to report that if Broadcom had been allowed to complete its redomiciliation,
14   it would have avoided CFIUS review altogether. For example, The Wall Street Journal,
15   in an article entitled Broadcom Affirms Plan to Assume U.S. Address, reported that
16   “Broadcom earlier this week said it expected to complete the process in April, about a
17   month earlier than originally planned. Redomiciling would have allowed Broadcom’s
18   bid for Qualcomm to skip a review by [CFIUS].”
19         186. On March 14, 2018, Broadcom announced that it had withdrawn and
20   terminated its offer to acquire Qualcomm.
21         187. Through their tactics and campaign of misleading shareholders regarding
22   their true intentions, Defendants were able to effectively thwart the will of Qualcomm’s
23   shareholders and entrench themselves in their management and board positions. In
24   fact, numerous news sources reported that, before CFIUS’s intervention at Defendants’
25   behest, Broadcom’s nominees were on track to oust Qualcomm’s incumbent directors.
26   For example, a March 5, 2018 Bloomberg article reported that Broadcom “is on course
27   to win all six of the seats it’s seeking on Qualcomm Inc.’s board, giving it a majority
28   to push forward with its hostile takeover even as a U.S. government panel forced a
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                     58
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 1   delay of the final tally amid concerns about the deal’s threats to national security.” The
 2   article further explained that:
 3         Based on a count of more than half of the votes already cast, Broadcom
           would win a majority of Qualcomm’s board seats, according to
 4         information obtained by Bloomberg. If that result holds up when the final
 5         vote takes place, Broadcom would have a mandate to overturn
           Qualcomm management’s opposition to the $117 billion deal.”
 6
 7         188. A March 7, 2018 MarketWatch article entitled Qualcomm was losing in
 8   takeover battle with Broadcom, then the government stepped in, similarly reported that
 9   “Early returns were reportedly in Broadcom’s favor after two of the big shareholder
10   advisory firms recommended investors vote for some or all of Broadcom’s slate to gain
11   a majority vote on the entrenched Qualcomm board.” On March 8, 2018, analyst
12   Oppenheimer confirmed that “Recent reports . . . indicate AVGO is on track to win a
13   majority of QCOM’s board seats in a shareholder vote delayed until 4/5/18, pending
14   CFIUS’ somewhat puzzling review.” As Bloomberg later reported, as of March 4,
15   defendants Mollenkopf and Jacobs were among the lowest votegetters and were on
16   course to lose their seats.
17         189. Although Defendants were able to avoid the embarrassment of being
18   ousted by their own shareholders, on March 9, 2018, Qualcomm announced that while
19   Defendant Jacobs would be allowed to retain his Board seat, he would step down as
20   Executive Chairman. The New York Times reported that “[t]he change was widely
21   seen as a move to placate shareholders who had been voicing their displeasure by
22   voting for a slate of six candidates proposed by Broadcom for the 11-seat board as part
23   of its bid to acquire the company.” A March 9, 2018 VentureBeat article entitled Battle
24   of Broadcom claims its first victim: Paul Jacobs out as Qualcomm’s executive chair,
25   explained that in announcing the move:
26         [t]he company hinted that the move was in part an effort [to] ensure that
27         its handling of Broadcom’s unwanted overtures is above reproach. . . .
           While it’s unclear how much Jacobs’ personal history with the company
28         may have affected Qualcomm’s stance toward Broadcom, the board
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                            59
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 1         clearly felt it needed to avoid any suggestion that it is putting emotions
           ahead of business.
 2
 3         190. Meanwhile, investors and market commentators continued to voice their
 4   displeasure with Qualcomm’s Board. On March 15, 2018, The Wall Street Journal, in
 5   an article entitled Qualcomm Investors Urged to Vote for Broadcom Board Picks in
 6   Protest, wrote that:
 7         Institutional Shareholder Services Inc., an influential proxy-advisory
           firm, recommended Qualcomm Inc. shareholders make a symbolic vote
 8         in protest against the chip giant’s moves to block Broadcom Ltd.’s
 9         $117 billion takeover bid. ISS, in a note to investors late Wednesday,
           stood by its original recommendation that shareholders vote for four of
10         Broadcom’s six nominees for Qualcomm’s 11-person board, even
           though the votes won’t count. . . . ISS’s decision underscores the
11         frustration of Qualcomm shareholders at how the company’s board
12         handled the bid and earlier perceived missteps that have weighed on the
           stock.”
13
14   On March 17, 2018, the Los Angeles Times reported that “Qualcomm’s board
15   nominees are on course to get only 16% of the votes cast at its forthcoming shareholder
16   meeting, even though they’re now unopposed.”
17         191. Ultimately, after all of the votes were counted, the majority of
18   Qualcomm’s unopposed incumbent directors failed to receive a majority of
19   shareholders’ votes. As The Wall Street Journal reported in a March 24, 2018 article
20   entitled Qualcomm Investors Register Protest—Six board members get tepid support
21   in holder vote following Broadcom ordeal, “[s]ix of Qualcomm Inc.’s directors,
22   including Chief Executive Steve Mollenkopf, failed to win support from a majority of
23   the company’s shares on Friday, a significant protest vote that signals investor
24   discontent after the chip-making giant successfully rebuffed a hostile takeover from
25   Broadcom Ltd.” Nevertheless, “[a]ll the directors will remain on the board since they
26   were running unopposed after the U.S. government blocked Broadcom’s bid, and by
27   extension its six-member slate of nominees.”
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                         60
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 1         192. Despite Defendants’ repeated arguments that Broadcom’s $82 offer
 2   substantially undervalued the Company, and that it would perform far better under their
 3   stewardship, Qualcomm’s stock has spent the majority of its time since then hovering
 4   in the $50s. Today, it trades at $56.83 per share, over $25 below Broadcom’s bid price.
 5         DEFENDANTS’ MATERIALLY FALSE AND MISLEADING
           STATEMENTS AND OMISSIONS OF MATERIAL FACT
 6
 7         193. The Class Period begins on January 29, 2018. On that date, unbeknownst
 8   to its shareholders, Qualcomm secretly and unilaterally filed a voluntary request for
 9   CFIUS to initiate a review prior to Broadcom’s redomiciliation, in a brazen attempt to
10   frustrate Broadcom’s attempt to acquire the Company and for the Individual
11   Defendants to simultaneously entrench themselves in their executive leadership
12   positions at Qualcomm.
13         194. On the same date, Qualcomm filed a Schedule 14A with the SEC that
14   included a transcript of a video entitled Creating Stockholder Value. The transcript
15   included the following statement by Defendant Mollenkopf:
16         We received an unsolicited bid from Broadcom that the Board evaluated
           carefully, concluded that it undervalues the company, there are some
17         questions about deal certainty and regulatory approval.7 We’ve had
18         some feedback from customers that have voiced some concerns. Quite
           frankly, the Board concluded this deal is not in the best interest of
19         shareholders.
20         195. The transcript included in the January 29, 2018 Schedule 14A also
21   included the following statement by Defendant Rosenberg:
22         The Broadcom-proposed acquisition will be subjected to very, very close
           scrutiny by well over a dozen potential agencies. We believe that this is
23         probably going to take something in the range of 18 months or more
24         even, because of the complexity of the two companies’ businesses,
           because of the enormous overlap in the two companies’ technologies
25         and businesses, and because of the global nature of our businesses.
26
27   7
           Each of Defendants’ statements in Section V that is alleged to be false and
28   misleading is highlighted in bold and italics.
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                         61
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 1         196. Also on January 29, 2018, Qualcomm filed with the SEC on
 2   Schedule 14A a copy of its White Proxy Card sent to shareholders. Qualcomm’s White
 3   Proxy Card stated, “Broadcom’s Low-Value, High Risk Proposal Would Steal Value
 4   From You” and listed as reasons “High-risk regulatory process” and “Cannot deliver
 5   anything to you for at least 18 months, if ever.”
 6         197. Each of Defendants’ statements set forth in ¶¶ 194-196 was materially
 7   false or misleading when made, or omitted material facts necessary to make the
 8   statements made not misleading, because: by generically referencing regulatory risks
 9   that could delay or impact the deal and alluding to antitrust concerns while withholding
10   the fact that Qualcomm had taken affirmative steps to prevent regulatory approval by
11   filing a unilateral voluntary notice with CFIUS before Broadcom could redomicile to
12   the U.S., Defendants misled investors about the true risks associated with the deal.
13         198. On February 5, 2018, Qualcomm issued a press release, which it filed with
14   the SEC on Schedule 14A, confirming that it had received Broadcom’s revised
15   proposal and stating: “Consistent with its fiduciary duties, the Qualcomm Board of
16   Directors, in consultation with its financial and legal advisors, will review the revised
17   proposal to determine the course of action it believes is in the best interests of the
18   Company and its stockholders.”        Qualcomm also reiterated that it had rejected
19   Broadcom’s previous proposal because it “comes with significant regulatory
20   uncertainty.”
21         199. On February 8, 2018, Qualcomm issued a press release entitled Proposal
22   Materially Undervalues Qualcomm and Falls Well Short of Firm Regulatory
23   Commitment Necessary Given Significant Downside Risk of a Failed Transaction
24   Qualcomm Offers to Meet to See If Broadcom Can Address Serious Deficiencies in
25   Value and Certainty, which it filed with the SEC on Schedule 14A, which stated:
26         The Qualcomm Board, assisted by its financial and legal advisors,
           determined that the Broadcom proposal materially undervalues
27         Qualcomm and falls well short of the firm regulatory commitment the
28         Board would demand given the significant downside risk of a failed
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                            62
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 1         transaction. However, Qualcomm has offered to meet with Broadcom to
           see if it can address the serious deficiencies in value and certainty in its
 2         proposal.
 3         200. Qualcomm attached to its February 8, 2018 press release a copy of a letter
 4   from Defendant Jacobs, addressed to Broadcom CEO Tan, which stated the following:
 5         The Board has unanimously determined that your amended offer
 6         materially undervalues Qualcomm and falls well short of the firm
           regulatory commitment the Board would demand given the significant
 7         downside risk of a failed transaction. However, the Board is committed
           to exploring all options for maximizing shareholder value, and so we
 8         would be prepared to meet with you to allow you to explain how you
           would attempt to bridge these gaps in both value and deal certainty and
 9         to better understand the significant issues that remain unaddressed in
10         your proposal.

11         In the meeting, we would expect that you will be prepared to provide
           clear, specific and detailed answers to the questions below.
12
              o What is the true highest price at which you would be prepared to
13              acquire Qualcomm? Is it $82 per share or is it higher? Your
                current proposal is inadequate as it materially undervalues
14              Qualcomm. Your proposal ascribes no value to our accretive
15              NXP acquisition, no value for the expected resolution of our
                current licensing disputes and no value for the significant
16              opportunity in 5G. Your proposal is inferior relative to our
                prospects as an independent company and is significantly below
17              both trading and transaction multiples in our sector.
18            o Is Broadcom willing to commit to take whatever actions are
                necessary to ensure the proposed transaction closes? This is
19              extremely important to value preservation for our shareholders.
20              The differences in our business models expose the Company to
                significant customer and licensee risk between signing and
21              closing an agreement. It is indisputable that there are significant
                regulatory hurdles in your proposed transaction. It is also
22              indisputable that if Qualcomm entered into a merger agreement
23              and, after an extended regulatory review period the transaction
                did not close, Qualcomm would be enormously and irreparably
24              damaged. If you are not willing to agree to do whatever is
                necessary to ensure a transaction closes, we will need you to be
25              extremely clear and specific about exactly what actions you
                would refuse to take, so that we can properly evaluate the risk to
26              Qualcomm’s shareholders.
27         We have a number of other important questions, which we can discuss
28         at our meeting. We will reach out to you to schedule the meeting.
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                          63
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 1         201. That same day, Qualcomm filed a Schedule 14A with the SEC, which
 2   included a copy of a letter from Mollenkopf to Qualcomm employees, discussing
 3   Qualcomm’s rejection of Broadcom’s February 5, 2018 improved $82 per share
 4   proposal:
 5         Today we issued a press release announcing that our Board of Directors
           unanimously rejected Broadcom’s revised proposal after determining
 6         that it materially undervalues Qualcomm. This proposal also falls well
 7         short of the regulatory commitment we would demand given the
           significant downside risk of a failed transaction.
 8
           The Board has offered to meet with Broadcom to see if it can address
 9         the serious deficiencies in value and certainty in its proposal. It’s
           important to note that this does not mean that a transaction will occur.
10         The Board has a commitment to exploring all options for maximizing
11         stockholder value—this is the purpose of offering to meet with
           Broadcom.
12
13         202. The following day, February 9, 2018, Qualcomm sent an email to its
14   shareholders, which it also filed with the SEC on Schedule 14A, which stated:
15         Today we announced that Qualcomm’s Board of Directors, after a
           thorough review process with its financial and legal advisors,
16         unanimously rejected Broadcom’s revised proposal to acquire
17         Qualcomm after determining that the proposal materially undervalues
           Qualcomm and falls well short of the firm regulatory commitment the
18         Board would demand given the significant downside risk of a failed
           transaction. . . . The Qualcomm Board is committed to exploring all
19         options for maximizing stockholder value and has offered to meet with
           Broadcom to see if it can address the serious deficiencies in value and
20         certainty in its proposal.
21
22         203. That same day, Qualcomm filed an Investor Presentation with the SEC on

23   Schedule 14A, wherein it represented to shareholders that Broadcom’s offer “Poses

24   Unacceptable Regulatory Risks” and “Significant regulatory uncertainty,” and that

25   “Regulatory approval [was] highly uncertain; at least 18 month process.” The

26   presentation also continued to mislead investors about Qualcomm’s willingness to

27   constructively engage with Broadcom, telling investors that while Broadcom’s initial

28   proposal “so dramatically undervalued the business and carried such regulatory
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                      64
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 1   uncertainty that engagement was not warranted,” its improved February 5 proposal,
 2   “while not sufficient, . . . warranted engagement.”
 3         204. Each of Defendants’ statements set forth in ¶¶ 198-203 was materially
 4   false or misleading when made, or omitted material facts necessary to make the
 5   statements made not misleading, because:
 6              Defendants’ statements misled investors to believe that Qualcomm was
 7         willing to engage constructively with Broadcom’s offer, and that Broadcom’s
 8         actions (or lack thereof) were the main reason a negotiated solution had not been
 9         reached, when behind the scenes it was working to ensure that the deal with
10         Broadcom would never happen.
11              Defendants’ statements that price was a major barrier to a negotiated
12         transaction misled investors to believe that the Company was willing to engage
13         at the right price when, in fact, it was actively attempting to kill the deal
14         regardless of price.
15              By generically referencing regulatory risks that could delay or impact the
16         deal and alluding to antitrust concerns while withholding the fact that Qualcomm
17         had taken affirmative steps to prevent regulatory approval by filing a unilateral
18         voluntary notice with CFIUS before Broadcom could redomicile to the U.S.,
19         Defendants misled investors about the true risks associated with the deal.
20              Qualcomm’s request that Broadcom “agree to do whatever is necessary to
21         ensure a transaction closes” or “be extremely clear and specific about exactly
22         what actions you would refuse to take, so that we can properly evaluate the risk
23         to Qualcomm’s shareholders” was misleading given that Qualcomm itself was
24         secretly taking action to ensure that the deal never closed. By failing to disclose
25         the Company’s actions to its shareholders, it deprived them of the opportunity
26         to “properly evaluate the risks.”
27         205. On February 9, 2018, Qualcomm filed an investor presentation with the
28   SEC on Schedule 14A entitled Qualcomm Sets the Record Straight on Regulatory
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                               65
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 1   Challenges Faced by Broadcom, which discussed at length the purported regulatory
 2   risks associated with the potential Broadcom transaction. While the majority of the
 3   presentation focused on antitrust concerns, the presentation noted “potentially serious
 4   national security concerns,” and, in the context of potential divestitures to address
 5   antitrust concerns, stated that:
 6         Adding to the uncertainty, Broadcom would have to identify a suitable
           buyer that could compete in the market with equal strength to
 7         Qualcomm—a challenging and potentially impossible task. In addition,
 8         any divestiture to a non-U.S. buyer must be approved by the Committee
           on Foreign Investment in the United States (CFIUS). The universe of
 9         companies that can satisfy the concerns of both antitrust regulators and
           CFIUS is small, if it exists at all. Broadcom’s list of potential buyers
10         excludes Chinese firms in an attempt to address CFIUS obstacles.
11         However, even with assets divested elsewhere, China may require
           licensing commitments that will raise CFIUS concerns.
12
13         206. That same day, Defendants posted material to Qualcomm’s dedicated deal
14   website,   www.qcomvalue.com,          stating:   “Broadcom’s   opportunistic   proposal
15   dramatically undervalues Qualcomm and there is significant doubt about whether it
16   can ever be completed.”
17         207. Each of Defendants’ statements set forth in ¶¶ 205-206 was materially
18   false or misleading when made, or omitted material facts necessary to make the
19   statements made not misleading, because: by generically referencing regulatory risks
20   that could delay or impact the deal, focusing on antitrust concerns, generally referring
21   to national security concerns, and addressing CFIUS risk in the context of antitrust
22   divestitures—all while withholding the fact that Qualcomm had taken affirmative steps
23   to prevent regulatory approval by filing a unilateral voluntary notice with CFIUS
24   before Broadcom could redomicile to the U.S.—Defendants misled investors about the
25   true risks associated with the deal.
26         208. On February 14, 2018, Qualcomm issued a press release entitled
27   Qualcomm Issues Statement on Meeting with Broadcom, which it also filed with the
28   SEC on Schedule 14A, which stated:
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                          66
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 1         Qualcomm Incorporated (NASDAQ: QCOM) issued the following
           statement after members of Qualcomm’s Board and its senior
 2         management team met today with Broadcom Limited (NASDAQ:
 3         AVGO) to discuss Broadcom’s proposal to acquire Qualcomm: “We met
           with representatives of Broadcom for two hours earlier today, and
 4         listened carefully to what they had to say. The Qualcomm Board will
           promptly meet to discuss the meeting and to determine next steps.”
 5
 6         209. On February 16, 2018, Qualcomm issued a press release entitled
 7   Qualcomm Provides Update on Meeting with Broadcom, which it filed with the SEC
 8   on Schedule 14A, including a February 16, 2018 letter that Defendant Jacobs sent to
 9   Broadcom’s CEO Tan following up on Qualcomm’s February 14, 2018 meeting with
10   Broadcom. In the letter, Jacobs stated:
11         The Board remains unanimously of the view that this proposal
           materially undervalues Qualcomm and has an unacceptably high level
12         of risk, and therefore is not in the best interests of Qualcomm
13         stockholders.

14         That said, our Board found the meeting to be constructive in that the
           Broadcom representatives expressed a willingness to agree to certain
15         potential antitrust-related divestitures beyond those contained in your
           publicly filed merger agreement. At the same time, Broadcom continued
16         to resist agreeing to other commitments that could be expected to be
17         required by the FTC, the European Commission, MOFCOM and other
           government regulatory bodies. Broadcom also declined to respond to
18         any questions about its intentions for the future of Qualcomm’s
           licensing business, which makes it very difficult to predict the antitrust-
19         related remedies that might be required. In addition, Broadcom insists
           on controlling all material decisions regarding our valuable licensing
20         business during the extended period between signing and a potential
21         closing, which would be problematic and not permitted under antitrust
           laws.
22
           Our Board is highly cognizant of the need to protect Qualcomm’s
23         stockholders from the considerable risks of agreeing to a transaction
           that does not close. A breakup fee in the range proposed by Broadcom
24         does not come close to compensating for those risks.
25        While the current Broadcom proposal is unacceptable, our Board is
26        intensely focused on maximizing value for Qualcomm stockholders,
          whether through executing on its growth strategy or by selling the
27        Company. Our Board is open to further discussions with Broadcom to
          see if a proposal that appropriately reflects the true value of Qualcomm
28        shares, and ensures an appropriate level of deal certainty, can be
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                         67
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 1         obtained. If such a proposal cannot be obtained from Broadcom, our
           Board is highly confident in Qualcomm’s ability to deliver superior
 2         near- and long-term value to its stockholders by continuing to execute
 3         its growth strategy.

 4         210. That same day, Qualcomm sent an email to its shareholders, which it filed
 5   with the SEC on Schedule 14A, which stated, “Consistent with its commitment to
 6   explore all options to maximize stockholder value, members of Qualcomm’s Board
 7   and senior management team met with Broadcom on February 14, 2018, to discuss
 8   whether Broadcom could address the serious deficiencies in its proposal to acquire
 9   Qualcomm.”
10         211. Also on February 16, Defendant Mollenkopf sent an email to Qualcomm
11   employees, which the Company filed with the SEC on Schedule 14A, stating:
12         As you know, last week our Board unanimously rejected Broadcom’s
           revised proposal, but agreed to meet with members of their senior
13         management team to see if they could address the proposal’s serious
14         deficiencies—both in terms of value and deal certainty. During the
           meeting, which took place on Wednesday, Broadcom addressed some of
15         our regulatory concerns, but would not agree to certain commitments
           that could be required to satisfy regulators around the world. Broadcom
16         also reiterated that $82.00 per share is its best and final proposal, which
           our Board continues to believe materially undervalues Qualcomm and
17         presents unacceptable risk for our stockholders. We sent a letter to
18         Broadcom earlier today articulating that position and that our Board is
           open to further discussions to address our ongoing and legitimate
19         concerns.
20         212. Each of Defendants’ statements set forth in ¶¶ 208-211 was materially
21   false or misleading when made, or omitted material facts necessary to make the
22   statements made not misleading, because:
23              Defendants’ statements misled investors to believe that Qualcomm was
24         willing to engage constructively with Broadcom’s offer, and that Broadcom’s
25         actions (or lack thereof) were the main reason a negotiated solution had not been
26         reached, when behind the scenes it was working to ensure that the deal with
27         Broadcom would never happen.
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                         68
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 1                Defendants’ statements that price was a major barrier to a negotiated
 2         transaction misled investors to believe that the Company was willing to engage
 3         at the right price when, in fact, it was actively attempting to kill the deal
 4         regardless of price.
 5                By generically referencing regulatory risks that could delay or impact the
 6         deal and focusing on antitrust concerns while withholding the fact that
 7         Qualcomm had taken affirmative steps to prevent regulatory approval by filing
 8         a unilateral voluntary notice with CFIUS before Broadcom could redomicile to
 9         the U.S., Defendants misled investors about the true risks associated with the
10         deal.
11         213. On February 21, 2018, Qualcomm issued a press release entitled
12   Qualcomm Issues Statement On Reduced Broadcom Proposal, which it filed with the
13   SEC on Schedule 14A, which stated:
14         Qualcomm Incorporated (NASDAQ: QCOM) today issued the following
           statement in response to today’s reduced proposal by Broadcom Limited
15         (NASDAQ: AVGO) to acquire all outstanding shares of Qualcomm for
16         $79.00 per share ($57.00 in cash and $22.00 in Broadcom stock):
           “Broadcom’s reduced proposal has made an inadequate offer even
17         worse despite the clear increase in value to Qualcomm stockholders
           from providing certainty around the NXP acquisition. Broadcom has
18         refused and continues to refuse to engage with Qualcomm on price. . . .
19         The Qualcomm Board is committed to maximizing value for Qualcomm
           stockholders, whether that be through executing its growth strategy or
20         selling the company. Broadcom’s revised $79.00 per share proposal
           materially undervalues Qualcomm, fails to take into account the
21         strategic and financial benefits of acquiring NXP, and continues to face
           a long and highly uncertain path to regulatory approvals.”
22
23         214. On February 22, 2018, Qualcomm issued a press release, filed with the
24   SEC on Schedule 14A, including a February 22, 2018 letter that the Board sent to its
25   shareholders. The letter stated:
26         The members of the Qualcomm Board of Directors are firmly
           committed to maximizing value for Qualcomm stockholders. We are
27         highly confident in Qualcomm’s strategic plan and its multiple value
28         drivers. At the same time, we have seriously evaluated Broadcom’s
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                          69
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 1        proposals and explained to Broadcom—including during our meeting
          with them on February 14—why their proposals are inadequate. We
 2        remain open to continued discussions if a suitable proposal is
 3        presented. To date, no such proposal has been made.

 4        ....

 5        By lowering its proposal to $79.00 per share, Broadcom has made an
          inadequate proposal even worse despite the indisputable increase in
 6        value and certainty that Qualcomm stockholders will receive from the
          compelling and highly accretive acquisition of NXP. Importantly,
 7        Broadcom has refused and continues to refuse to engage with
          Qualcomm on price.
 8
          The Board unanimously believes that Broadcom’s current $79.00 per
 9        share proposal undervalues Qualcomm, fails to take into account the
10        strategic and financial benefits of acquiring NXP, and continues to
          face a long and highly uncertain path to regulatory approvals.
11
          Members of this Board and management met with Broadcom earlier
12        this month to discuss a path to a transaction that both appropriately
          valued Qualcomm and provided a sufficient level of certainty around
13        the regulatory issues. We entered the meeting with Broadcom in a
14        constructive manner, seeking a price increase and engagement on
          issues related to transaction certainty. However, Broadcom did not
15        engage on the topic of price —repeatedly stating that $82 per share was
          “best-and-final.”
16
          Broadcom also insisted it had to control all material decisions
17        regarding our licensing business, one that has realized annual
          revenues exceeding $7 billion, during a lengthy regulatory process,
18        despite the fact that this is not permitted under antitrust laws.
19        Additionally, Broadcom was unwilling to agree to commitments that
          could be expected to be required by the FTC, European Commission,
20        MOFCOM and other government regulatory bodies. Their proposed $8
          billion reverse termination fee—which equates to only $5.40 per
21        share—does not come close to compensating our stockholders for the
22        substantial value destruction likely to result if the transaction were to
          fail to close due to regulatory issues.
23
          ....
24
          THE QUALCOMM BOARD IS SQUARELY FOCUSED ON
25        MAXIMIZING THE VALUE OF YOUR INVESTMENT
26        Qualcomm is well positioned to create value for stockholders over the
          near- and long-term, particularly with a clear path to completing the
27        NXP transaction. At the same time, should Broadcom present a
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                      70
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 1         proposal that delivers superior value and sufficiently protects downside
           risk to you, we will pursue a sale. Thus far, Broadcom has done neither.
 2
 3         215. Each of Defendants’ statements set forth in ¶¶ 213-214 was materially
 4   false or misleading when made, or omitted material facts necessary to make the
 5   statements made not misleading, because:
 6                Defendants’ statements misled investors to believe that Qualcomm was
 7         willing to engage constructively with Broadcom’s offer, and that Broadcom’s
 8         actions (or lack thereof) were the main reason a negotiated solution had not been
 9         reached, when behind the scenes it was working to ensure that the deal with
10         Broadcom would never happen.
11                Defendants’ statements that price was a major barrier to a negotiated
12         transaction and that “should Broadcom present a proposal that delivers superior
13         value and sufficiently protects downside risk to you, we will pursue a sale,”
14         misled investors to believe that the Company was willing to engage at the right
15         price when, in fact, it was actively attempting to kill the deal regardless of price.
16                By generically referencing regulatory risks that could delay or impact the
17         deal and focusing on antitrust concerns while withholding the fact that
18         Qualcomm had taken affirmative steps to prevent regulatory approval by filing
19         a unilateral voluntary notice with CFIUS before Broadcom could redomicile to
20         the U.S., Defendants misled investors about the true risks associated with the
21         deal.
22         216. On February 22, 2018, Qualcomm shared with its stockholders an article
23   published in the Competition Policy International by former senior antitrust enforcers
24   and leading antitrust experts from China, Korea, the European Union, and the United
25   States on the significant antitrust risks posed by Broadcom’s proposed takeover of
26   Qualcomm.
27         217. On February 22, 2018, Qualcomm issued a press release entitled,
28   FORMER SENIOR GOVERNMENT OFFICIALS AND LEADING ANTITRUST
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                             71
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 1   EXPERTS FROM AROUND THE WORLD DESCRIBE THE ‘MATERIAL
 2   RISKS’ ASSOCIATED WITH BROADCOM’S EFFORT TO ACQUIRE
 3   QUALCOMM, filed with the SEC on Schedule 14A, which stated,
 4         Qualcomm Incorporated (NASDAQ: QCOM) (“Qualcomm”) today
           shared with its stockholders an article published in the Competition
 5         Policy International by former senior antitrust enforcers and leading
 6         antitrust experts from China, Korea, the European Union, and the
           United States (“the experts”) on the significant antitrust risks posed by
 7         Broadcom’s proposed takeover of Qualcomm.
 8   The press release went on to highlight Qualcomm’s key “takeaways” from the article,
 9   including:
10         o Any combination between Broadcom and Qualcomm faces
11           significant antitrust risks due to their competitive positions in WiFi
             and RFFE products (among others), the potential complex and
12           difficult divestiture process with regards to separating the
             businesses and finding an acceptable buyer, and the potential for
13           anti-trust agencies demanding significant restrictions on
             Broadcom’s post-merger licensing and distribution practices.
14
           o There are countless examples of regulators imposing substantial
15           conduct remedies and the real risk posed by these conduct remedies
16           generally requires deal protection for the target and its
             shareholders—such as a “hell-or-high-water clause”—to ensure
17           that “a buyer cannot walk away from the deal at any point during
             or after a protracted regulatory review period, particularly given the
18           likely disruption caused to targets (here, Qualcomm) during such a
19           review period.”

20         o Based on similar complex cross-border deals, the expected
             regulatory approval process is likely to take 18+ months and may
21           require significant and material divestitures and/or conduct
             remedies.
22
           o The proposed limitations on Qualcomm by Broadcom on how
23           Qualcomm can operate its business during a potential regulatory
             review period likely violates antitrust “gun-jumping” rules, and
24           could be subject to an investigation by the U.S. FTC.
25
26         218. Each of Defendants’ statements set forth in ¶¶ 216-217 was materially
27   false or misleading when made, or omitted material facts necessary to make the
28   statements made not misleading, because: by generically referencing regulatory risks
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                       72
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 1   that could delay or impact the deal and focusing on antitrust concerns, all while
 2   withholding the fact that Qualcomm had taken affirmative steps to prevent regulatory
 3   approval by filing a unilateral voluntary notice with CFIUS before Broadcom could
 4   redomicile to the U.S., Defendants misled investors about the true risks associated with
 5   the deal.
 6         219. The following day, February 23, 2018, Qualcomm and Broadcom again
 7   met to discuss Broadcom’s proposal.
 8         220. On February 26, 2018, Qualcomm issued a press release entitled
 9   Qualcomm Proposes Further Engagement with Broadcom on Price and Terms of
10   Possible Transaction Delivers Revised Merger Agreement That Would Provide
11   Comprehensive Path Forward on Regulatory and Closing Certainty for Qualcomm
12   Stockholders Suggests Path for Continued Engagement and Calls on Broadcom to
13   Engage in Mutual Due Diligence and Price Negotiation, filed with the SEC on
14   Schedule 14A, which stated:
15         Qualcomm Incorporated (NASDAQ: QCOM) today announced that
           Chairman of the Board Dr. Paul E. Jacobs sent a letter on behalf of
16         the Qualcomm Board of Directors to Hock Tan, Chief Executive
17         Officer of Broadcom Limited (NASDAQ: AVGO), providing
           Qualcomm’s response to the second meeting between the two
18         companies, which was held on February 23.
19         The Qualcomm Board believes the meeting led to further progress
           toward a possible negotiated transaction on key issues other than price.
20         The Board authorized providing Broadcom with a mark-up of
21         Broadcom’s previously released draft merger agreement that, if agreed
           to by Broadcom, would resolve all issues between the two companies
22         other than price.
23         Broadcom reiterated in the February 23 meeting that its reduced
           $79.00 per share proposal is its best and final proposal. The Qualcomm
24         Board is unanimous in its view that each of Broadcom’s proposals,
           including its prior $82.00 per share proposal, materially undervalues
25         Qualcomm, and the Board encourages Broadcom to enter into mutual
26         due diligence and price negotiations.

27         221. The press release included a copy of Defendant Jacobs’ letter to
28   Broadcom CEO Tan. In the letter, Jacobs wrote:
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                          73
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 1        As we are all aware, a combination of Broadcom and Qualcomm would
          represent the largest technology transaction in history and one of the
 2        largest M&A transactions overall. This represents uncharted territory
 3        and our Board and management are taking great care to incorporate
          an appropriate level of protections for Qualcomm stockholders in a
 4        potential transaction with Broadcom.
 5        We have briefed the full Board on the meeting and the current state of
          our discussions. As they have done at previous Board meetings, our
 6        independent directors also met separately in an executive session,
          along with the Board’s financial and legal advisors.
 7
          We appreciate the movement you have made from the draft merger
 8        agreement you publicly released on February 9. We have attached our
 9        mark-up of that document, which is intended to provide a
          comprehensive path forward on regulatory and deal certainty issues.
10        The path forward does not require a “hell or high water” commitment
          on the regulatory front, but still provides the appropriate level of
11        protection to Qualcomm stockholders commensurate with the high
12        degree of regulatory risk associated with this potential transaction. If
          acceptable to Broadcom, this would resolve all issues between the two
13        companies other than price.
14        While we have made progress on regulatory and other deal certainty
          issues, you have continued to insist that your current $79.00 per share
15        proposal is your best and final proposal. For the reasons we have stated
          publicly to our stockholders, and privately to you in our meetings, the
16        Qualcomm Board continues to be of the unanimous belief that each of
17        your proposals, including your prior $82.00 per share proposal,
          materially undervalues Qualcomm. This conclusion is based on
18        substantial and thorough analysis.
19        ....
20        It is the Board’s responsibility to critically analyze all of the external
          and internal information available to us, challenge assumptions and
21        utilize our collective experience to arrive at thoughtful and independent
22        conclusions on the future value of Qualcomm. With the support of
          management and our external advisors, we have concluded
23        unanimously that an acquisition price materially higher than any of
          Broadcom’s proposals is warranted based upon our evaluation of
24        Qualcomm’s near-term prospects and the risk-adjusted present value
          of our long-term forecasts.
25
          ....
26
          In our previous meeting on February 14, you agreed to drop your prior
27        objection to divesting any Broadcom (as opposed to only Qualcomm)
28        businesses and assets as a way to facilitate regulatory approval.
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                       74
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 1        However, to reduce regulatory risk to an appropriate level, we made
          two additional proposals in our February 23 meeting:
 2
           We asked Broadcom to agree to any conduct remedies and other
 3          remedies that may be imposed by regulators that would not have a
 4          material adverse effect on the combined company (after
            divestitures).
 5
           We proposed a reverse termination fee of 9% of enterprise value,
 6          payable if a potential transaction is terminated other than due to a
            breach of the agreement by Qualcomm or our failure to obtain
 7          stockholder approval. . . .
 8        We believe these commitments and our other changes to the merger
          agreement would provide acceptable risk protection to Qualcomm
 9        stockholders, and we therefore would no longer ask Broadcom to make
10        a “hell or high water” commitment.”

11        ....

12        The Qualcomm Board and management team are committed to
          exploring fully with Broadcom whether a negotiated transaction that is
13        in the best interests of Qualcomm stockholders is achievable.
          Accordingly, we propose the following next steps:
14
          1.     Finalize non-price terms: We welcome your review of the mark-
15        up of the merger agreement we have provided you and propose that we
16        or our representatives meet to address any remaining issues and
          finalize the language.
17
          2.     Execute NDA and begin bilateral due diligence: Mutual due
18        diligence will inform our discussions on price. We appreciate that we
          have differences in our views on value and that ours is based upon
19        significantly more information than the public data you now have at
          your disposal. Therefore, we propose entering into a non-disclosure
20        agreement and beginning bilateral due diligence, given the large
21        amount of Broadcom stock included in your proposal and to provide
          more granular details on our views on value. We are delivering a
22        proposed NDA to your counsel.
23        3.     Agree on approach to provide information on licensing business:
          You have repeatedly declined to disclose your plan to change
24        Qualcomm’s licensing business because you think such disclosure
25        could pose issues under antitrust laws. Although we believe Broadcom
          is free to disclose this information, we are willing to jointly select a law
26        firm with antitrust expertise that you would fully brief on your licensing
          plans. This firm would then provide Qualcomm the information which
27        it considers permissible under antitrust law.
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                         75
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 1         4.     Arrange meeting focused on price: Having now addressed the
           regulatory and certainty issues in principle, we propose arranging a
 2         meeting—as soon as mutually convenient for both parties—focused on
 3         price, should Broadcom be willing to engage on the topic.

 4         Tom Horton, in his capacity as Presiding Director (lead independent
           Director), will continue to lead Qualcomm in negotiations with
 5         Broadcom, with the goal of determining whether there is a mutually
           beneficial transaction to be done between our two companies. We look
 6         forward to your reply.
 7   Qualcomm also attached to the press release its proposed markup of Broadcom’s
 8   proposed agreement and plan of merger.
 9         222. Qualcomm filed a same-day Schedule 14A with the SEC including an
10   email from Defendant Mollenkopf to Qualcomm’s employees.           In the email,
11   Mollenkopf stated:
12         Last Friday, members of Qualcomm’s Board and management team
           met again with representatives from Broadcom to discuss Broadcom’s
13         takeover proposal. After Friday’s meeting, Qualcomm’s Board,
14         consistent with its commitment and obligation to explore all
           opportunities to maximize value for stockholders, discussed the
15         meeting and the current state of our engagement with Broadcom.
16         223. Also on February 26, Qualcomm issued a press release entitled
17   Qualcomm Calls on Broadcom to Stop Misleading Stockholders and Negotiate in
18   Good Faith, filed with the SEC on Schedule 14A, which responded to a same-day
19   Broadcom press release as follows:
20         Qualcomm Incorporated (NASDAQ: QCOM) today responded to
           Broadcom Limited’s (NASDAQ: AVGO) misleading comments
21         regarding Qualcomm’s engagement with Broadcom in connection with
22         its proposal to acquire Qualcomm:

23         “The latest statement issued by Broadcom is disingenuous and clearly
           intended to create a false impression about Qualcomm’s level of
24         engagement. In fact, Qualcomm has repeatedly attempted to engage
           with Broadcom on issues including price, including at meetings on
25         February 14 and February 23. In each of those meetings, Broadcom
           has refused to engage on price.
26
           Earlier today, Qualcomm made a comprehensive proposal that
27         addresses regulatory and other merger agreement issues in order to
28         clear the way for a price discussion with Broadcom. The ball is in
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                  76
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 1         Broadcom’s court to let us know whether it is willing to engage with
           us. Qualcomm’s Board remains unanimous in its view that
 2         Broadcom’s current offer of $79.00 per share, as well as the previous
 3         offer of $82.00 per share, materially undervalues the company.

 4         Broadcom’s statements about Qualcomm considering moving the date
           of its annual meeting are false. Qualcomm has no intention of delaying
 5         the annual meeting and made that clear to Broadcom during our
           February 23 meeting.”
 6
 7         224. The following day, February 27, 2018, Qualcomm provided Broadcom a
 8   proposed non-disclosure agreement, which it filed with the SEC on Schedule 14A.
 9         225. That same day, Qualcomm filed with the SEC on Schedule 14A a White
10   Proxy Card vote reminder, which stated, “Qualcomm’s Board of Directors is
11   committed to evaluating ALL opportunities to maximize value for stockholders—
12   whether through continued execution of our growth strategy or by selling the
13   Company. To that end, we are open to constructively engaging with Broadcom and
14   will continue to act in your best interests.”
15         226. Each of Defendants’ statements set forth in ¶¶ 220-225 was materially
16   false or misleading when made, or omitted material facts necessary to make the
17   statements made not misleading, because:
18               Defendants’ statements misled investors to believe that Qualcomm was
19         willing to engage constructively with Broadcom’s offer, and that Broadcom’s
20         actions (or lack thereof) were the main reason a negotiated solution had not been
21         reached, when behind the scenes it was working to ensure that the deal with
22         Broadcom would never happen.
23               Defendants’ statements that price was a major barrier to a negotiated
24         transaction misled investors to believe that the Company was willing to engage
25         at the right price when, in fact, it was actively attempting to kill the deal
26         regardless of price.
27               By generically referencing regulatory risks that could delay or impact the
28         deal and focusing on antitrust concerns while withholding the fact that
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                         77
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 1         Qualcomm had taken affirmative steps to prevent regulatory approval by filing
 2         a unilateral voluntary notice with CFIUS before Broadcom could redomicile to
 3         the U.S., Defendants misled investors about the true risks associated with the
 4         deal.
 5                Qualcomm’s statement that it “has no intention of delaying the annual
 6         meeting” was misleading, given that it had asked CFIUS to stop the vote from
 7         occurring altogether.
 8         227. In a Schedule 14A filed with the SEC on March 1, 2018, Qualcomm
 9   included a same-day letter from the Board to the Company’s shareholders. The letter
10   included the following statements:
11         Qualcomm’s Board remains unanimous in its view that Broadcom’s
           current offer of $79.00 per share, as well as the previous offer of $82.00
12         per share, materially undervalues the company. Similarly, Broadcom’s
13         initial offer of $70.00 per share was so low that it did not merit
           engagement. We determined it was in the best interests of stockholders
14         to wait for a substantially improved offer—which after several months
           did eventually come on February 5. The Board undertook a thorough
15         and in-depth process in reviewing the offers and did so through the lens
16         of maximizing long-term stockholder value. . . . Since evaluating and
           subsequently rejecting the $82 per share offer on February 8,
17         Qualcomm has repeatedly and genuinely attempted to engage with
           Broadcom on issues including price, regulatory and other closing
18         certainties, including most recently at meetings on February 14 and
           February 23. In each of those meetings, Broadcom refused to engage
19         in good faith. It instead reiterated its “best and final” stance which it
20         established prior to our first meeting, despite our attempts to find a path
           to a deal that makes sense for Qualcomm stockholders. Broadcom’s
21         refusal to outline its proposal and the future direction of Qualcomm’s
           licensing business also raises significant issues from a value and
22         regulatory perspective.
23         All three items—price, closing certainty and the licensing business—
24         are critical to the Board’s evaluation of Broadcom’s proposal, and
           without a meaningful discussion or an agreement on these items, the
25         Qualcomm Board believes it is not in the best interest of Qualcomm’s
           stockholders to elect Broadcom’s nominees. The Qualcomm Board of
26         Directors remains ready to engage with Broadcom on these issues both
           before and after the March 6 stockholder meeting.
27
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                         78
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 1         228. Each of Defendants’ statements set forth in ¶ 227 was materially false or
 2   misleading when made, or omitted material facts necessary to make the statements
 3   made not misleading, because:
 4                Defendants’ statements misled investors to believe that Qualcomm was
 5         willing to engage constructively with Broadcom’s offer, and that Broadcom’s
 6         actions (or lack thereof) were the main reason a negotiated solution had not been
 7         reached, when behind the scenes it was working to ensure that the deal with
 8         Broadcom would never happen.
 9                Defendants’ statements that price was a major barrier to a negotiated
10         transaction misled investors to believe that the Company was willing to engage
11         at the right price when, in fact, it was actively attempting to kill the deal
12         regardless of price.
13                By generically referencing regulatory risks that could delay or impact the
14         deal and focusing on antitrust concerns while withholding the fact that
15         Qualcomm had taken affirmative steps to prevent regulatory approval by filing
16         a unilateral voluntary notice with CFIUS before Broadcom could redomicile to
17         the U.S., Defendants misled investors about the true risks associated with the
18         deal.
19         LOSS CAUSATION/ECONOMIC LOSS
20         229. Defendants’ alleged unlawful conduct caused the losses incurred by
21   Plaintiffs and the Class. The market for Qualcomm’s common stock was open, well-
22   developed, and efficient at all relevant times.        Throughout the Class Period,
23   Qualcomm’s common stock traded at artificially inflated prices as a direct result of
24   Defendants’ materially misleading statements and omissions of material fact, which
25   were widely disseminated to the securities market, investment analysts, and the
26   investing public. Plaintiffs and other members of the Class purchased or otherwise
27   acquired Qualcomm common stock relying upon the integrity of the market price for
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                          79
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 1   Qualcomm’s common stock and market information relating to Qualcomm, and have
 2   been damaged thereby.
 3         230. When the relevant truth became known and/or the materialization of the
 4   risk that had been concealed by Defendants occurred, the price of Qualcomm’s
 5   common stock declined immediately and precipitously as the artificial inflation was
 6   removed from the market price of the stock, causing substantial damage to Plaintiffs
 7   and the Class. The economic loss, i.e., damage, suffered by Plaintiffs and other
 8   members of the Class was a direct result of: (i) Defendants’ misleading statements
 9   regarding the regulatory risk associated with the Broadcom deal and its willingness to
10   negotiate with Broadcom, as well as its failure to disclose its affirmative efforts to
11   prevent regulatory approval for the deal; and (ii) the subsequent decline in the value of
12   Qualcomm’s common stock price as the relevant truth was revealed and/or the
13   concealed risks materialized in a series of partial adverse disclosures on March 5,
14   March 6, and March 12, 2018.
15         A.     March 5 and March 6, 2018
16         231. On March 5, 2018, before the close of trading, Broadcom issued press
17   releases accusing Qualcomm of secretly and unilaterally initiating a CFIUS
18   investigation based on Qualcomm’s assertions of a national security risk from the
19   Broadcom bid:
20         Broadcom was informed on Sunday night that on January 29, 2018,
           Qualcomm secretly filed a voluntary request with CFIUS to initiate an
21         investigation, resulting in a delay of Qualcomm’s Annual Meeting
22         48 hours before it was to take place. This was a blatant, desperate act
           by Qualcomm to entrench its incumbent board of directors and prevent
23         its own stockholders from voting for Broadcom’s independent director
           nominees.
24
           It is critical that Qualcomm stockholders know that Qualcomm did not
25         once mention submitting a voluntary notice to CFIUS in any of its
26         interactions with Broadcom to date, including in the two meetings on
           February 14, 2018 and on February 23, 2018.
27
           ....
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                           80
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 1         Broadcom reiterates that Qualcomm failed to disclose to its own
           stockholders and to Broadcom that it secretly filed a voluntary
 2         unilateral request for CFIUS review on January 29, 2018. Broadcom’s
 3         only correspondence with CFIUS was in response to CFIUS inquiries
           about Broadcom’s nomination of directors to the Qualcomm board of
 4         directors, and such requests did not reveal that Qualcomm filed to
           initiate the CFIUS review on January 29, 2018.
 5
 6         232. The revelation of the fact that Qualcomm had requested on January 29,
 7   2018, that CFIUS investigate Broadcom’s bid revealed to the market that Qualcomm
 8   was actively seeking to terminate any potential transaction. That same day, also before
 9   the market closed, Qualcomm sent a communication to its shareholders, which it
10   included in a Schedule 14A filed with the SEC, advising that:
11         Last night we received an Interim Order from the Committee on Foreign
12         Investment in the United States (CFIUS)—an independent governmental
           body charged with protecting U.S. national security—requiring
13         Qualcomm to delay our Annual Meeting of Stockholders, originally
           scheduled for tomorrow, March 6.
14
           CFIUS has instructed Qualcomm to delay our meeting and the election
15         of directors to our Board to allow the agency “the ability to investigate
           fully Broadcom’s proposed acquisition of Qualcomm.”
16
17   More specifically, Qualcomm announced that to implement the March 4, 2018 Order:
18   “the 2018 Annual Meeting of Stockholders will be opened on March 6, 2018 at
19   8:00 a.m. Pacific Time and immediately adjourned to April 5, 2018. There will be no
20   voting or other matters conducted at the meeting.”
21         233. Qualcomm also filed a same-day Current Report on Form 8-K, disclosing
22   that it had “received an Interim Order” from CFIUS and attaching the March 4 Interim
23   Order. The March 4 Interim Order confirmed Broadcom’s statement that Qualcomm
24   had secretly filed a voluntary notice with CFIUS on January 29, 2018, and thus was
25   seeking a way to terminate the transaction rather than negotiate for a fair price with
26   Broadcom:
27
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                         81
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 1                                  INTERIM ORDER
 2     Regarding the Proposed Acquisition of Qualcomm, Inc. by Broadcom
                                   Limited
 3
                  WHEREAS the Committee on Foreign Investment in the United
 4         States (“CFIUS”) has received written notification and has initiated a
 5         review and investigation, pursuant to section 721 of the Defense
           Production Act of 1950, as amended, 50 U.S.C. § 4565 (“section 721”),
 6         of a transaction (“Transaction”) involving the takeover of Qualcomm,
           Inc. (“Qualcomm”), a company organized under the laws of Delaware,
 7         by Broadcom Limited (“Broadcom”), a company organized under the
           laws of Singapore;
 8
                 WHEREAS Broadcom, pursuant to the Transaction, is engaged in
 9         a concerted effort to complete a hostile takeover of Qualcomm, including
10         acquiring proxies to elect six new Directors (a majority) to the Board of
           Qualcomm in order to approve a Proposed Agreement and Plan of
11         Merger (the “Proposed Agreement”) that Broadcom filed with the
           Securities and Exchange Commission (the “SEC”) on February 9, 2018,
12         between Broadcom and Qualcomm;
13                WHEREAS CFIUS has determined that the Transaction, as
14         described in the notice that Qualcomm submitted to CFIUS dated
           January 29, 2018, and the agency notice submitted by the Department
15         of the Treasury dated March 4, 2018 (together, the “Notice”), including
           the Proposed Agreement or any other potential merger, acquisition, or
16         takeover agreement between Broadcom and Qualcomm constitutes a
           “covered transaction” for purposes of section 721;
17
                  WHEREAS CFIUS is undertaking a review and investigation of
18         the effects of the Transaction on the national security interests of the
19         United States, as required by section 721;

20                CFIUS has determined, based on information provided to, and
           analyses by CFIUS agencies to date, that there are national security
21         risks to the United States that arise as a result of, and in connection
           with the Transaction, and CFIUS seeks to take necessary actions to
22         provide interim protection and impose conditions that mitigate those
23         risks pending any further action by the President, or by CFIUS, 50 U.S.C.
           §§ 4565(b)(2)(A), (l)(1)(A)[.]
24
25   (Some emphasis in original.)
26
27
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                       82
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 1         234. Among other things, the March 4 Interim Order directed that:
 2         1.1 Qualcomm’s annual stockholder meeting, including the election of
           its Board of Directors, shall be delayed from its current scheduled date
 3         of March 6, 2018, for a period of 30 (thirty) days. Qualcomm shall hold
 4         in abeyance the acceptance or count of any votes or proxies for directors,
           and shall take no action to complete the election of directors.
 5
           1.2 Qualcomm and Qualcomm’s Board of Directors, executives, and
 6         agents are, while this Order is in effect, hereby prohibited from accepting,
           or taking any action in furtherance of accepting, Broadcom’s proposed
 7         merger agreement or any other proposed merger, acquisition, or takeover
           agreement with Broadcom.
 8
 9         235. Section 2.4 of the Interim Order provided that the Order could be modified
10   in writing by CFIUS, including upon written request from Qualcomm. The Interim
11   Order also required Broadcom to provide CFIUS with “five business days’ notice
12   before taking any action toward redomiciliation[.]” This provision partially revealed
13   the risk that CFIUS could render a decision on Broadcom’s bid before it could
14   redomicile and take the transaction out of CFIUS’s jurisdiction.
15         236. On March 6, 2018, Qualcomm filed a Current Report on Form 8-K, which
16   disclosed the March 5 Letter that Broadcom and Qualcomm had received from the
17   U.S. Department of Treasury. The March 5 Letter provided additional information
18   about Qualcomm’s involvement in CFIUS’s investigation, as well as CFIUS’s
19   rationale for delaying the shareholder vote:
20         On January 29, 2018, Qualcomm Incorporated (“Qualcomm”) filed a
           unilateral notice with the Committee on Foreign Investment in the
21         United States (“CFIUS”), seeking review of Broadcom Limited’s
22         (“Broadcom”) solicitation of proxies for the purposes of electing a
           majority of the directors of Qualcomm.
23
           ....
24
           During the time between Qualcomm’s unilateral filing and Treasury’s
25         agency filing, CFIUS has been communicating with both parties to
           obtain additional information to inform its decision on the appropriate
26         path forward in regards to this matter. It was during this time, and as a
27         result of these communications and additional information, that CFIUS
           has come to believe that Broadcom’s successful hostile takeover attempt
28         of Qualcomm, including the related stock purchase, proxy contest for the
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                          83
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 1         election of six directors to Qualcomm’s Board as proposed and selected
           by Broadcom, Proposed Agreement and Plan of Merger, and any other
 2         potential merger between Broadcom and Qualcomm, could pose a risk to
 3         the national security of the United States.

 4         CFIUS’s assessment thus far includes its review of the information
           submitted by Qualcomm in its unilateral voluntary notice on January
 5         29, 2018, the parties’ responses to questions posed about the potential
           transaction during the interim period, and the information provided in
 6         our multiple phone calls, emails, and meetings with representatives of
           both Qualcomm and Broadcom. In addition, our assessment includes the
 7         review of letters to CFIUS submitted by Broadcom on February 21, 2018,
 8         and March 2, 2018.

 9         237. The March 5 Letter also discussed Qualcomm in glowing terms that,
10   market commentators later noted, “closely mimics Qualcomm’s talking points against
11   the deal[.]”
12         238. Further demonstrating how closely CFIUS was hewing to Qualcomm’s
13   interests, on March 5, 2018, CFIUS issued the Modification Order that altered its
14   March 4 Interim Order to conform to Qualcomm’s disclosures. Specifically, the March
15   4 Interim Order required Qualcomm’s Annual Meeting to be delayed by 30 days.
16   Qualcomm, however, announced that in contravention of the March 4 Initial Order it
17   would still open its March 6 meeting, but then would immediately adjourn the meeting
18   until April 5, 2018, without any action. By doing so, Qualcomm was able to maintain
19   the current record date, thus preventing turnover in the shareholders permitted to vote.
20   Presumably at Qualcomm’s urging, CFIUS promptly modified the March 4 Interim
21   Order to require that the March 6, 2018 Annual Meeting be opened but then adjourned
22   for 30 days without any substantive action. In doing so, CFIUS provided Qualcomm’s
23   incumbent directors—who, as discussed below, were significantly behind in the voting
24   count—with 30 additional days to solicit proxies from additional shareholders and to
25   change the minds of shareholders who had already entered votes against them.
26         239. As a direct and proximate result of these partial corrective disclosures
27   and/or materialization of the foreseeable risks concealed by Defendants’ fraud, shares
28   of the Company’s stock fell 1.13%, from a closing price of $64.74 on March 2, 2018,
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                      84
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 1   to a closing price of $64.01 on March 5, 2018. By contrast, the S&P 500 actually
 2   increased by 1.1% between March 2 and 5, 2018. The Company’s stock fell an
 3   additional 2.92% on March 6, 2018, from a closing price of $64.01 on March 5, 2018,
 4   to a closing price of $62.14 on March 6, 2018. Meanwhile, the S&P 500 increased by
 5   0.27% on March 6, 2018.
 6         240. Media coverage from March 6, 2018, expressed surprise at the unexpected
 7   nature of CFIUS’s actions and the resulting delay. The Deal Pipeline referred to the
 8   intervention as “quite unprecedented, given that no deal has been inked yet between
 9   Broadcom and Qualcomm . . . and the fact that Broadcom [would] soon be a U.S.-
10   based company.”       Bloomberg also reported that the “order for a delay by the
11   government panel is unusual, since CFIUS doesn’t usually investigate before a merger
12   is agreed upon.” The New York Times reported that “[i]t appears to be the first time
13   the committee has intervened on a deal before it has been finalized[.]”
14         241. Several news sources additionally reported statements from experts on
15   CFIUS review, who agreed that the review was highly unusual. The Wall Street
16   Journal quoted a former CFIUS member, Mario Mancuso, who called it “Halley’s
17   comet unusual.”      The New York Times reported it spoke to experts who had
18   “acknowledged that the national security panel’s review of Broadcom’s bid for
19   Qualcomm was extraordinary.” The Deal Pipeline reported that “the move was met by
20   lawyers specializing in CFIUS issues with shock and surprise . . .” and quoted Clif
21   Burns, an attorney at Bryan Cave in Washington, that he had “never seen [CFIUS] ask
22   a company to postpone an annual meeting to conduct a review.”
23         242. The New York Times stated the approach seen here “reflect[ed] a newly
24   aggressive stance by [CFIUS],” further highlighting that the market would not have
25   anticipated this news and additionally indicating that Qualcomm’s secret request was
26   responsible. The article stated that “[i]n this instance, [CFIUS] . . . is taking a proactive
27   role and investigating before an acquisition agreement has even been signed. But
28   Qualcomm, which is based in San Diego, pushed the government to intervene.”
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                 85
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 1         243. In another article, the New York Times reported that:
 2         Experts said they couldn’t recall another instance of the committee’s
           intervening in a transaction that hadn't been completed, much less one
 3         that is as fluid and bitterly contested as this one.
 4         ....
 5         Broadcom had sought to pave the way for its bid by changing its
 6         headquarters to the United States . . . [and that] Broadcom argued that its
           status as a soon-to-be-American company meant the Qualcomm deal
 7         should not be subject to review by [CFIUS].
 8         Qualcomm nonetheless appealed to regulators to get involved.
 9         244. A report by The Wall Street Journal also addressed the unexpected nature
10   of this news given Defendants’ misleading statements over the past month that they
11   were diligently negotiating with Qualcomm: in late February, “Qualcomm appeared to
12   be coming around to the idea of a deal. It said the two sides had been talking and
13   making progress.” Indeed, in addition to revealing to the market the steps that
14   Qualcomm had taken to scuttle the deal, these disclosures also made clear that
15   Defendants’ repeated statements that they were negotiating in good faith with
16   Broadcom were highly misleading.
17         245. Dow Jones Institutional News, in a March 6, 2018 article, focused on
18   Qualcomm’s actions and the potential backlash:
19
           As things play out, this latest gambit in Broadcom’s hostile bid for
20         Qualcomm could end up creating more votes to change directors and
           undermining the credibility of Qualcomm management with any new
21         director who is ultimately elected.
22         The problem is that this action undercuts Qualcomm’s best argument to
           shareholders in the proxy contest: The $79 per Qualcomm share offered
23         by Broadcom is inadequate, the current board has done a good job
24         pressuring Broadcom to improve its terms and current directors are in the
           best position to negotiate a deal if Broadcom can be convinced to make
25         a better offer.
26         By appearing to encourage the extraordinary order from the
           Committee on Foreign Investment in the United States, known as
27         CFIUS, to postpone the shareholder vote on directors, Qualcomm
28         could be seen as attacking its own investors’ voting rights. Among other
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                         86
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 1         things, that implies the company doesn’t have confidence that its
           arguments will win the day.
 2
 3         246. Despite these additional disclosures, the price of Qualcomm’s shares
 4   remained artificially inflated, as it was still not yet clear how Qualcomm’s acceleration
 5   of the CFIUS review would ultimately undermine Broadcom’s bid and the risks
 6   concealed by Defendants’ misleading statements and omissions had not fully
 7   materialized. Moreover, shareholders continued to believe that they would be given
 8   an opportunity to exercise their right to vote on the board nominees.
 9         247. Some analysts still believed that the proposed merger could proceed. On
10   March 8, 2018, Oppenheimer wrote:
11         We believe the potential QCOM acquisition remains in play, a significant
           upside call option with combined EPS power approaching $25 on
12         conservative assumptions.
13         ....
14         We continue to see obvious financial/strategic merit in combining
15         QCOM/AVGO’s leading back-end and front-end handset portfolios.
           Recent reports (Bloomberg 3/5/18) indicate AVGO is on track to win a
16         majority of QCOM’s board seats in a shareholder vote delayed until
           4/5/18, pending CFIUS’[s] somewhat puzzling review.
17
18         248. Dow Jones Institutional News, in the same article in which it criticized

19   Qualcomm’s actions as risking the alienation of its shareholders, did not anticipate this

20   being the end of the deal:

21         Meanwhile, it seems unlikely CFIUS will prevent shareholders from
           voting for long. A deal with Broadcom isn’t on the ballot and no
22         agreement to sell the company has been signed.
23         It is hard to argue that shareholders replacing existing Qualcomm
           directors with independent businessmen—and who, with one exception
24         (a Canadian), are U.S. citizens—would threaten the U.S., even if a
25         combined Broadcom-Qualcomm would.

26         CFIUS investigations generally focus on whether acquisitions should be
           completed, not director elections.
27
          Plus CFIUS regulates foreign investment in the U.S. For months
28        Broadcom, which moved its incorporation to Singapore from the U.S. in
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                           87
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 1         a 2015 “tax inversion,” has been working on moving back to this country.
           Broadcom predicts that will be done in May.
 2
           Once completed, it is hard to see how Broadcom—whose chief executive
 3         and most of its directors are also U.S. citizens—would be viewed as
 4         foreign.

 5         249. And statements issued by Broadcom at the time of the March 5 Letter,
 6   also continued to tout Broadcom’s imminent redomiciliation from Singapore to the
 7   United States. In a Form 8-K filed on March 6, 2018, Broadcom described the process
 8   by which it was “restructur[ing] its corporate group to cause the parent company of the
 9   group to be a Delaware corporation.” The next day, on March 7, Broadcom released
10   the following statement:
11         Our Pledge to Creating a Stronger Combined American Company
12
           Broadcom is in every important respect an American company, with a
13         lineage of great American technology icons like Hewlett-Packard,
           AT&T, Broadcom Corp., and Brocade Communications Systems, Inc.
14         We are now in the final stages of redomiciling to the United States, and
           that process will be complete no later than May 6, 2018. When we
15         complete our acquisition of Qualcomm, we expect to have more than
16         25,000 employees in the U.S., working to make Broadcom the leading
           communication semiconductor company in the world.
17
18   (Some emphasis in original.)
19         250. News reports also confirmed that Broadcom was speeding up its efforts
20   to redomicile to the U.S. and that CFIUS intervention may be avoided. On March 7,
21   2018, the New York Post reported that Broadcom “in light of the heat this week from
22   Washington,” was “aiming to complete its move to the US in April,” rather than the
23   originally-announced mid-May, “to get around a CFIUS review.” On March 10, 2018,
24   The Wall Street Journal reported that if it redomiciled as a U.S. company, Broadcom
25   “could argue that its deal falls outside of [CFIUS’s] jurisdiction. CFIUS, though, could
26   say it still has jurisdiction to review the bid since it began the review while Broadcom
27   was a Singapore company,” and this speed-up was “potentially setting the stage for a
28   showdown[.]”
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                          88
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 1         251. The Wall Street Journal on March 13, 2018, reported that Broadcom’s
 2   failure to “provide [CFIUS] with five days’ notice before taking any action on its
 3   redomiciliation plan” violated the March 4 Interim Order issued by CFIUS. Several
 4   additional news sources, including Dow Jones Institutional News, Agence France
 5   Presse, and BGR, reported Broadcom’s violations and referred to them as attempts to
 6   avoid CFIUS intervention.
 7         B.     March 12 and March 13, 2018
 8         252. On March 12, 2018, after the market had closed, President Trump issued
 9   an Order blocking Broadcom from taking further action regarding its proposed
10   acquisition of Qualcomm. The Order found, “[t]here is credible evidence that leads
11   me to believe that Broadcom . . . through exercising control of Qualcomm . . . might
12   take action that threatens to impair the national security of the United States[.]” Thus,
13   per the Order, “[t]he proposed takeover of Qualcomm by [Broadcom] is prohibited,
14   and any substantially equivalent merger, acquisition, or takeover, whether effected
15   directly or indirectly, is also prohibited.”
16         253. A CFIUS letter released earlier that same day made clear that both the
17   Committee and the administration had adopted Qualcomm’s position regarding the
18   national security concerns of the proposed acquisition and the need to expedite
19   intervention prior to Broadcom’s redomiciliation. More specifically, on March 12,
20   2018, Qualcomm filed a Current Report on Form 8-K with the SEC disclosing that it
21   had “received a letter, addressed to both Broadcom Limited and Qualcomm, from the
22   U.S. Department of Treasury” the previous day. This letter from March 11, 2018, was
23   attached to the Form 8-K filing as Exhibit No. 99.1, and stated, in relevant part:
24         The purpose of this letter is to inform the parties of the status of the
           investigation being conducted by [CFIUS] . . . .
25
          Through [the] March 5, 2018 letter, CFIUS informed you that it had
26        identified potential national security concerns that warrant a full
27        investigation of the attempted hostile takeover by Broadcom Limited
          (“Broadcom”) of Qualcomm Incorporated (“Qualcomm”), through a
28        stock purchase, proxy contest, and Proposed Agreement and Plan of
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                           89
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 1         Merger (the “Proposed Agreement”) or other merger. That determination
           was based on CFIUS’s review of the information submitted by
 2         Qualcomm in its unilateral voluntary notice on January 29, 2018, the
 3         parties’ responses to questions posed about the potential transaction
           during the interim period, and the information provided in our multiple
 4         phone calls, emails, and meetings with representatives of both
           Qualcomm and Broadcom.
 5
           ....
 6
           Following issuance of the Interim Order, Broadcom took a series of
 7         actions in violation of the Interim Order. Specifically, Broadcom, on at
           least three separate occasions, took action toward redomiciliation in the
 8         United States without providing five business days’ notice to CFIUS as
 9         required under Article 1.3. Those actions include filing an ex parte
           originating summons with a court in Singapore on March 6, 2018, seeking
10         and participating in a court proceeding in Singapore on March 9, 2018,
           and filing a definitive proxy statement with the U.S. Securities and
11         Exchange Commission and sending that proxy statement to its
12         shareholders on March 9, 2018. . . . .

13         Since transmitting the letter to you on March 5, 2018, CFIUS has
           conducted an investigation of the transaction and its associated national
14         security risk. That investigation has so far confirmed the national
           security concerns that CFIUS identified to you in its letter on March 5,
15         2018. That investigation is expected to close soon. In light of the actions
           that Broadcom has taken in violation of the Interim Order to shorten the
16         time period for CFIUS investigation, CFIUS requests that Broadcom
17         provide any information responsive to the March 5, 2018 letter as soon as
           possible. In the absence of information that changes CFIUS’s
18         assessment of the national security risks posed by this transaction,
           CFIUS would consider taking further action, including but not limited
19         to referring the transaction to the President for decision.
20         254. News coverage from March 12, 2018, described Qualcomm as having
21   used CFIUS as an undisclosed “poison pill.” Mondaq Business Briefing reported that
22   “it is possible we are seeing now for the first time the (potentially successful) use of
23   CFIUS as a takeover defense against a hostile offer,” comparing it to “traditional
24   takeover defenses such as the Poison Pill and White Knight [which] have long histories
25   in the corporate M&A world.”          Additional reporting on March 13, 2018, in
26   Computerworld Australia agreed with this characterization, quoting Jim Lewis, a
27   CFIUS expert at the Center for Strategic and International Studies, as “obviously a
28   poison pill.”
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                          90
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 1         255. In an article published on March 12, 2018, the New York Times made
 2   clear that President Trump’s Order was not expected. Quoting attorney John P.
 3   Kabealo, who specializes in foreign investment matters, the article called it
 4   “‘extraordinary’ that Mr. Trump would intervene in the transaction before a full
 5   investigation by the government panel was complete.” The article further reported that
 6   according to law firm Ropes & Gray, “[a] presidential action against foreign
 7   investment in an American company is rare and ha[d] only taken place four times in
 8   the past 30 years.”
 9         256. As a direct and proximate result of these disclosures and/or
10   materialization of the foreseeable risks concealed by Defendants’ fraud, the
11   Company’s share price fell an additional 4.95%, from a closing price of $62.81 on
12   March 12, 2018, to a closing price of $59.70 on March 13, 2018. By comparison, the
13   S&P 500 dropped only 0.67%.
14         257. In sum, from January 29, 2018, to March 13, 2018, the price of
15   Qualcomm’s common stock fell from $67.32 per share to $59.70 per share as the
16   undisclosed risks relating to Qualcomm’s lobbying for the deal to be terminated were
17   revealed.
18         258. It was foreseeable to Qualcomm and the Individual Defendants that
19   issuing false and misleading statements and/or omissions of material fact concerning
20   the Company’s willingness to negotiate with Broadcom and the regulatory risks
21   associated with Broadcom’s proposal, while failing to disclose the efforts Defendants
22   had taken to frustrate the deal by seeking CFIUS’s intervention, would artificially
23   inflate the price of Qualcomm common stock during the Class Period. It was similarly
24   foreseeable that the ultimate disclosure of the concealed information and/or the
25   materialization of the risks concealed by Defendants’ false and misleading statements
26   and omissions would cause the price of Qualcomm common stock to drop significantly
27   as the inflation caused by earlier misleading statements and omissions was removed
28   from the stock by the corrective disclosures and/or materialization of the risk set forth
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                           91
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 1   herein. Accordingly, the conduct of these Defendants as alleged herein proximately
 2   caused foreseeable losses under the Exchange Act to Plaintiffs and members of the
 3   Class.
 4            THE STATUTORY SAFE HARBOR AND BESPEAKS CAUTION
              DOCTRINE ARE INAPPLICABLE
 5
 6            259. The statutory safe harbor and the bespeaks caution doctrine applicable to
 7   forward-looking statements under the Private Securities Litigation Reform Act of 1995
 8   do not apply to the misleading statements and omissions alleged in this Complaint.
 9            260. None of Defendants’ historic or present-tense statements alleged herein
10   was a forward-looking statement because none was an assumption underlying or
11   relating to any plan, projection, or statement of future economic performance, as they
12   were not stated to be such assumptions underlying or relating to any projection or
13   statement of future economic performance when made, nor were any of the projections
14   or forecasts made by Defendants expressly related to, or stated to be dependent on,
15   those historic or present-tense statements when made.
16            261. To the extent that any of the materially false or misleading statements
17   alleged herein, or any portions thereof, can be construed as forward-looking, these
18   statements were not accompanied by meaningful cautionary language identifying
19   important facts that could cause actual results to differ materially from those in the
20   statements. As set forth above in detail, given the then-existing facts contradicting
21   Defendants’ statements, the generalized risk disclosures made by Defendants were not
22   sufficient to insulate Defendants from liability for their materially false and misleading
23   statements.
24            262. Defendants are also liable for any false or misleading forward-looking
25   statement alleged herein, or portion thereof, because at the time each forward-looking
26   statement was made, the speaker knew the forward-looking statement was false or
27   misleading, or the forward-looking statement was authorized and approved by an
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                            92
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 1   executive officer of Qualcomm who knew that the forward-looking statement was false
 2   or misleading.
 3         CONTROLLING PERSON ALLEGATIONS
 4         263. By virtue of the Individual Defendants’ positions of management and
 5   control within the Company, they had access to undisclosed adverse information about
 6   Qualcomm’s response to Broadcom’s takeover bid, including information regarding
 7   Qualcomm’s undisclosed, unilateral voluntary notice to CFIUS and other
 8   communications with and other information provided to CFIUS, as particularized
 9   herein. The Individual Defendants ascertained such information through Qualcomm’s
10   internal corporate documents, conversations, and connections with each other and with
11   corporate officers and employees, attendance at Board of Directors meetings, including
12   committees thereof, and through reports and other information provided to them in
13   connection with their roles and duties as Qualcomm officers, directors, and managers.
14         264. The Individual Defendants participated in the drafting, preparation, and/or
15   approval of the various public, shareholder, and investor reports and other
16   communications complained of herein, and knew or recklessly disregarded that there
17   were materially misleading statements and omissions contained therein. Because of
18   their Board, executive, or managerial positions with Qualcomm, each of the Individual
19   Defendants had access to the adverse undisclosed information about Qualcomm’s
20   response to Broadcom’s takeover bid, as particularized herein, and knew (or were
21   deliberately reckless in not knowing) that this information rendered the representations
22   made by or about Qualcomm and its business, or adopted by the Company, materially
23   false and misleading.
24         265. The Individual Defendants, because of their positions of control and
25   authority as officers or directors of the Company, were able to and did control the
26   content of the various SEC filings, press releases, and other public statements
27   pertaining to the Company during the Class Period. Each Individual Defendant was
28   provided with copies of the documents alleged herein to be misleading before or shortly
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                         93
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 1   after their issuance, and had the ability and opportunity to prevent their issuance or
 2   cause them to be corrected.       Accordingly, each of the Individual Defendants is
 3   responsible for the accuracy of the public reports and releases detailed herein, and is
 4   therefore primarily liable for the representations therein.
 5         266. As officers, directors, and controlling persons of a publicly held company
 6   whose common stock is registered with the SEC pursuant to the Exchange Act, and is
 7   traded on the NASDAQ, and governed by the provisions of the federal securities laws,
 8   the Individual Defendants each had a duty to promptly disseminate accurate and
 9   truthful information with respect to the Company’s response to Broadcom’s takeover
10   bid, as particularized herein, and to correct any previously issued statements that had
11   become materially misleading or untrue, so that the market price of the Company’s
12   publicly-traded securities would be based on truthful and accurate information. The
13   Individual Defendants’ materially misleading statements and omissions during the
14   Class Period violated these specific requirements and obligations.
15         CLASS ACTION ALLEGATIONS
16         267. Plaintiffs bring this action on behalf of themselves and as a class action,
17   pursuant to Rules 23(a) and (b)(3) of the Federal Rules of Civil Procedure, on behalf
18   of a Class consisting of all persons and entities that, during the Class Period, purchased
19   or otherwise acquired the publicly traded common stock of Qualcomm and were
20   damaged thereby. Excluded from the Class are Defendants, members of Defendants’
21   immediate families (as defined in 17 C.F.R. § 229.404, Instructions (1)(a)(iii) and
22   (1)(b)(ii)), any person, firm, trust, corporation, officer, director, or other individual or
23   entity in which any Defendant has a controlling interest, or which is related to or
24   affiliated with any of the Defendants, and the legal representatives, agents, affiliates,
25   heirs, successors-in-interest, or assigns of any such excluded party.
26         268. The members of the Class are so numerous and geographically dispersed
27   that joinder of all members is impracticable. While the exact number of Class members
28   is unknown to Plaintiffs at this time and can only be ascertained through appropriate
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                       94
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 1   discovery, Plaintiffs believe that there are at least thousands of members of the
 2   proposed Class. At the end of the Class Period, Qualcomm had more than 1.48 billion
 3   shares of common stock issued and outstanding, owned by thousands of persons, and
 4   actively traded on the NASDAQ. The disposition of their claims in a class action will
 5   provide substantial benefits to the parties and the Court. Record owners and other
 6   members of the Class may be identified from records maintained by Qualcomm or its
 7   transfer agent, and may be notified of the pendency of this action by a combination of
 8   published notice and first-class mail, using the techniques and form of notice similar
 9   to that customarily used in class actions arising under the federal securities laws.
10         269. There is a well-defined commonality of interest in the questions of law
11   and fact involved in this case. Questions of law and fact common to the members of
12   the Class that predominate over questions that may affect individual Class members
13   include:
14                (a)    whether Defendants’ actions as alleged herein violated the federal
15         securities laws;
16                (b)    whether Defendants’ statements and/or omissions issued during the
17         Class Period were materially false and misleading;
18                (c)    whether Defendants knew or were deliberately reckless in not
19         knowing that their statements were false and misleading;
20                (d)    whether and to what extent the market prices of Qualcomm publicly
21         traded common stock were artificially inflated and/or distorted before and/or
22         during the Class Period due to the misrepresentations and/or omissions of
23         material fact alleged herein; and
24                (e)    whether and to what extent Class members sustained damages as a
25         result of the conduct alleged herein, and the appropriate measure of damages.
26         270. Plaintiffs’ claims are typical of the claims of the other members of the
27   Class, as all members of the Class, including Plaintiffs, purchased or otherwise
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                            95
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 1   acquired Qualcomm publicly traded securities during the Class Period and similarly
 2   sustained damages as a result of Defendants’ wrongful conduct as alleged herein.
 3         271. Plaintiffs will fairly and adequately protect the interests of the members
 4   of the Class. Plaintiffs have retained counsel competent and experienced in class action
 5   securities litigation to further ensure such protection, and intends to prosecute this
 6   action vigorously. Plaintiffs have no interests that are adverse or antagonistic to those
 7   of the Class.
 8         272. A class action is superior to other available methods for the fair and
 9   efficient adjudication of this controversy. Because the damages suffered by each
10   individual member of the Class may be relatively small, the expense and burden of
11   individual litigation make it impracticable for Class members to seek redress for the
12   wrongful conduct alleged herein.        Plaintiffs know of no difficulty that will be
13   encountered in the management of this litigation that would preclude its maintenance
14   as a class action.
15         PLAINTIFFS AND CLASS MEMBERS ARE ENTITLED TO A
           PRESUMPTION OF RELIANCE
16
17         273. Plaintiffs and members of the Class are entitled to rely upon the
18   presumption of reliance established by the fraud-on-the-market doctrine in that, among
19   other things:
20                   (a)   Defendants made public misrepresentations and failed to disclose
21         material facts during the Class Period;
22                   (b)   the omissions and misrepresentations were material;
23                   (c)   Qualcomm common stock traded in efficient markets;
24                   (d)   the material misrepresentations and omissions alleged herein would
25         tend to induce a reasonable investor to misjudge the value of Qualcomm
26         common stock; and
27                   (e)   without knowledge of the misrepresented or omitted facts,
28        Plaintiffs and other members of the Class purchased or otherwise acquired
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                 96
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 1         Qualcomm common stock between the time that Defendants made material
 2         misrepresentation and omissions and the time the concealed risks materialized
 3         or the true facts were disclosed.
 4         274. At all relevant times, the market for Qualcomm common stock was open
 5   and efficient for the following reasons, among others:
 6                (a)   as a registered and regulated issuer of securities, Qualcomm filed
 7         periodic public reports with the SEC, in addition to the Company’s frequent
 8         voluntary dissemination of information;
 9                (b)   Qualcomm regularly communicated with public investors via
10         established market communication mechanisms, including through regular
11         disseminations of press releases on the national circuits of major newswire
12         services and through other wide-ranging public disclosures, such as
13         communications with the financial press, securities analysts, and other similar
14         reporting services;
15                (c)   Qualcomm was followed by numerous securities analysts
16         employed by major brokerage firms who wrote reports that were distributed to
17         the sales force and certain customers of their respective brokerage firms and that
18         were publicly available and entered the public marketplace; and
19                (d)   Qualcomm common stock met the requirements for listing, and was
20         listed and actively traded on highly efficient markets, including NASDAQ,
21         where the Company’s common stock trades under the ticker symbol “QCOM.”
22         275. As a result of the foregoing, the markets for Qualcomm common stock
23   promptly digested current information regarding Qualcomm from all publicly available
24   sources, and the prices of Qualcomm’s stock reflected such information.
25         276. Based upon the materially false and misleading statements and omissions
26   of material fact alleged herein, Qualcomm common stock traded at artificially inflated
27   prices during the Class Period. Plaintiffs and the other members of the Class purchased
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                          97
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 1   Qualcomm common stock relying upon the integrity of the market price of Qualcomm
 2   common stock and other market information relating to Qualcomm.
 3         277. Under these circumstances, all purchasers of Qualcomm common stock
 4   during the Class Period suffered similar injuries through their purchases at artificially
 5   inflated prices, and a presumption of reliance applies.
 6         278. Further, at all relevant times, Plaintiffs and other members of the Class
 7   reasonably relied upon Defendants to disclose material information as required by law
 8   and in the Company’s SEC filings. Plaintiffs and the other members of the Class would
 9   not have purchased or otherwise acquired Qualcomm common stock at artificially
10   inflated prices if Defendants had disclosed all material information as required. Thus,
11   to the extent that Defendants concealed or improperly failed to disclose material facts
12   with regard to the Company and its business, Plaintiffs are entitled to a presumption of
13   reliance in accordance with Affiliated Ute Citizens of Utah v. United States, 406 U.S.
14   128, 153 (1972).
15         CAUSES OF ACTION
16                                          COUNT I
17                          Asserted Against All Defendants for
18                 Violations of Section 10(b) of the Securities Exchange
                 Act of 1934 and SEC Rule 10b-5 Promulgated Thereunder
19
20         279. Plaintiffs repeat and reallege each and every allegation contained above
21   as if fully set forth herein. This Count is brought pursuant to Section 10(b) of the
22   Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the SEC,
23   17 C.F.R. § 240.10b-5, on behalf of Plaintiffs and all other members of the Class
24   against Qualcomm and the Individual Defendants.
25         280. During the Class Period, Defendants carried out a plan, scheme, and
26   course of conduct which was intended to and, throughout the Class Period, did:
27   (i) deceive the investing public, including Plaintiffs and other Class members, as
28   alleged herein; (ii) artificially inflate the price of Qualcomm common stock; and
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                    98
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 1   (iii) cause Plaintiffs and other members of the Class to purchase Qualcomm common
 2   stock at artificially inflated prices that did not reflect their true value. In furtherance
 3   of this unlawful scheme, plan, and course of conduct, Defendants took the actions set
 4   forth herein.
 5         281. Defendants directly and indirectly, by the use of means and
 6   instrumentalities of interstate commerce, the mails, and/or the facilities of a national
 7   securities exchange: (i) employed devices, schemes, and artifices to defraud; (ii) made
 8   untrue statements of material fact and/or omitted material facts necessary to make the
 9   statements not misleading; and (iii) engaged in acts, practices, and a course of business
10   that operated as a fraud and deceit upon the purchasers of the Company’s common
11   stock in an effort to maintain the artificially inflated price of Qualcomm common stock
12   in violation of Section 10(b) of the Exchange Act and Rule 10b-5 promulgated
13   thereunder.
14         282. Defendants employed devices, schemes, and artifices to defraud while in
15   possession of material adverse nonpublic information and engaged in acts, practices,
16   and a course of conduct as alleged herein in an effort to assure investors of Qualcomm’s
17   value and performance, which included the making of untrue statements of material
18   facts and omitting material facts necessary in order to make their statements, in light
19   of the circumstances under which they were made, not misleading, as set forth more
20   particularly herein. Defendants did not have a reasonable basis for their alleged false
21   statements and engaged in transactions, practices, and a course of business which
22   operated as a fraud and deceit upon the purchasers of Qualcomm common stock during
23   the Class Period.
24         283. Defendants are liable for all materially false and misleading statements
25   and omissions made during the Class Period, as alleged above, including the false and
26   misleading statements and omissions included in press releases, conference calls, SEC
27   filings, news media, blogs, and Qualcomm’s websites.
28
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                             99
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 1         284. Defendants are further liable for the false and misleading statements made
 2   by Qualcomm’s officers, management, and agents in press releases, conference calls,
 3   conferences with investors and analysts, news media, blog reports, and Qualcomm’s
 4   websites, as alleged above, as they either made or controlled such statements and had
 5   ultimate authority and responsibility for the contents thereof.
 6         285. Defendants’ material misrepresentations and/or omissions were done
 7   knowingly or with recklessness, and without a reasonable basis, for the purpose and
 8   effect of concealing from the investing public the relevant truth. By concealing
 9   material facts from investors, Defendants maintained the Company’s artificially
10   inflated common stock prices throughout the Class Period.
11         286. Without knowledge of the fact that the price of Qualcomm common stock
12   was artificially inflated, and relying directly or indirectly on the false and misleading
13   statements and omissions made by Defendants, or upon the integrity of the market in
14   which the common stock trades, and/or on the absence of material adverse information
15   that was known to or recklessly disregarded by Qualcomm but not disclosed in public
16   statements by Qualcomm during the Class Period, Plaintiffs and the other members of
17   the Class purchased or acquired Qualcomm common stock during the Class Period at
18   artificially high prices and were damaged when that artificial inflation was removed
19   from the price of Qualcomm common stock.
20         287. At the time of said misrepresentations and omissions, Plaintiffs and other
21   members of the Class were ignorant of their falsity. Had Plaintiffs, the other members
22   of the Class, and the marketplace known of the truth concerning the Company’s
23   conduct and the true value of Qualcomm’s common stock, Plaintiffs and other
24   members of the Class would not have purchased or acquired their Qualcomm common
25   stock, or, if they had purchased or acquired such common stock during the Class
26   Period, they would not have done so at the artificially inflated prices they paid.
27         288. By virtue of the foregoing, Defendants have violated Section 10(b) of the
28   Exchange Act and Rule 10b-5 promulgated thereunder.
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                          100
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 1         289. As a direct and proximate result of Defendants’ wrongful conduct,
 2   Plaintiffs and the other members of the Class suffered damages in connection with their
 3   respective purchases and/or acquisitions of Qualcomm common stock during the Class
 4   Period.
 5                                        COUNT II
 6               Asserted Against the Individual Defendants for Violations
 7                of Section 20(a) of the Securities Exchange Act of 1934

 8         290. Plaintiffs repeat and reallege each and every allegation contained above
 9   as if fully set forth herein. This Count is brought pursuant to Section 20(a) of the
10   Exchange Act, 15 U.S.C. § 78t(a), on behalf of Plaintiffs and all other members of the
11   Class against the Individual Defendants.
12         291. At all relevant times during the Class Period, as set forth in ¶¶ 35-38,
13   supra, Mollenkopf was the Company’s CEO and a member of the Company’s Board;
14   Jacobs was the Company’s Executive Chairman and Chairman of the Board;
15   Rosenberg was the Company’s General Counsel; and Horton was Qualcomm’s
16   Presiding Director of the Board. As such, the Individual Defendants had regular access
17   to non-public information about Qualcomm’s business, operations, performance, and
18   future prospects through access to internal corporate documents and information,
19   conversations, and connections with other corporate officers and employees,
20   attendance at management meetings and meetings of the Company’s Board and
21   committees thereof, as well as reports and other information provided to them in
22   connection therewith.
23         292. The Individual Defendants acted as controlling persons of Qualcomm and
24   the other Individual Defendants within the meaning of Section 20(a) of the Exchange
25   Act as alleged herein. By virtue of their high-level positions, and their ownership and
26   contractual rights, participation in and/or awareness of Qualcomm’s day-to-day
27   operations, and/or knowledge of statements filed by the Company with the SEC and/or
28   disseminated to the investing public, the Individual Defendants had the power to
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                 101
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 1   influence and control, and did influence and control, directly or indirectly, the decision-
 2   making of the Company and its executives, including the content and dissemination of
 3   the various statements that Plaintiffs contend are false and misleading.
 4         293. The Individual Defendants were provided with or had unlimited access to
 5   copies of the Company’s reports, press releases, public filings, and other statements
 6   alleged by Plaintiffs to be misleading prior to and/or shortly after these statements were
 7   issued and had the ability to prevent the issuance of the statements or cause the
 8   statements to be corrected.
 9         294. In particular, each of these Individual Defendants had direct and
10   supervisory involvement in and control of the day-to-day operations of the Company
11   and, therefore, is presumed to have had the power to control or influence the particular
12   conduct and transactions giving rise to the securities violations as alleged herein, and
13   exercised the same.
14         295. As set forth above, Qualcomm and the Individual Defendants each
15   violated Section 10(b) and Rule 10b-5 by their acts, statements, and omissions as
16   alleged in this Complaint. By virtue of their positions as controlling persons, the
17   Individual Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a
18   direct and proximate result of Defendants’ wrongful conduct, Plaintiffs and other
19   members of the Class suffered damages in connection with their purchases of
20   Qualcomm common stock during the Class Period.
21         PRAYER FOR RELIEF
22         WHEREFORE, Plaintiffs pray for judgment as follows:
23         A.     Declaring this action to be a proper class action pursuant to Rule 23 of the
24   Federal Rules of Civil Procedure;
25         B.     Awarding Plaintiffs and the members of the Class damages and interest
26   thereon;
27         C.     Awarding Plaintiffs’ and the Class’s reasonable costs, including
28   attorneys’ and experts’ fees; and
     CONSOLIDATED AMENDED CLASS ACTION COMPLAINT                                           102
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 1         D.    Awarding such equitable, injunctive or other relief that the Court may
 2   deem just and proper.
 3         JURY DEMAND
 4         Plaintiffs demand a trial by jury.
 5
 6   DATED: March 18, 2019                  KESSLER TOPAZ
                                             MELTZER & CHECK, LLP
 7
                                            s/Sharan Nirmul
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20                                          Lead Counsel for the Class and
                                            Lead Plaintiff Gatubhai Mistry and Plaintiff
21                                          Gerald L. Koenig
22
23   DATED: March 18, 2019                  ROBBINS GELLER RUDMAN
                                             & DOWD LLP& CHECK, LLP
24
                                    s/Luke O. Brooks
25                                  Luke O. Brooks (212802)
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 1                                          San Diego, CA 92101
                                            Telephone: 619/231-1058
 2                                          619/231-7423 (fax)
 3                                          Lead Counsel for the Class and
                                            Lead Plaintiff Gatubhai Mistry and Plaintiff
 4                                          Gerald L. Koenig
 5
 6                            SIGNATURE CERTIFICATION
 7         Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative Policies
 8   and Procedures Manual, I hereby certify that the content of this document is acceptable
 9   and I have obtained authorization of all signatories to affix the above-electronic
10   signature(s).
11
                                                  s/Sharan Nirmul
12                                                Sharan Nirmul
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EXHIBIT A

            Exhibit A
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                                         CERTIFICATION

         I, Gatubhai Mistry, declare that:

        1.      I have reviewed the facts and allegations of a complaint filed in this action and have
authorized the filing of the CONSOLIDATED AMENDED CLASS ACTION COMPLAINT FOR
VIOLATION OF THE FEDERAL SECURITIES LAWS.

        2.     I did not purchase and/or acquire the security that is the subject of this action at the
direction of my counsel nor in order to participate in any private action under the federal securities
laws.

        3.     I am willing to serve as a representative party on behalf of the class, including
giving testimony at deposition and trial, if necessary. I understand that this is not a claim form,
and that my ability to share in any recovery as a member of the class is not dependent upon
execution of this Certification.

        4.       My Class Period purchase and sale transaction(s) in QUALCOMM Incorporated
securities that are the subject of this action are attached in Schedule A. I have complete authority
to bring a suit to recover for investment losses for all securities set fo1ih in Schedule A.

       5.      During the three years prior to the date of this Certification, I have not sought to
serve nor served as a representative party for a class in an action filed under the federal securities
laws.

        6.      I will not accept any payment for serving as a representative party on behalf of the
class beyond my pro rata share of any recovery, except such reasonable costs and expenses
(including lost wages) directly relating to the representation of the class as ordered or approved by
the Court.

         I declare under penalty of perjury that the foregoing is true and correct.

            3/13/2019
Dated:   - - - -- - -- -
                                                       Gatubhai Mistry




                                                                                          Exhibit A
                                                                                          Page 106
                      SCHEDULE A

Security   Buy/Sell      Date      Quantity   Price
Com Stk      Buy       2/5/2018      100      $66.14
Com Stk      Buy       2/5/2018      100      $66.21
Com Stk      Buy       2/5/2018      100      $66.14
Com Stk      Buy       2/5/2018      100      $66.21
Com Stk      Buy       2/5/2018      100      $66.14
Com Stk      Buy       2/5/2018      100      $66.14
Com Stk      Buy       2/5/2018      100      $66.14
Com Stk      Buy       2/5/2018      100      $66.14
Com Stk      Buy       2/5/2018       63      $66.15
Com Stk      Buy       2/5/2018       37      $66.15
Com Stk      Buy       2/5/2018     2,600     $64.62
Com Stk      Buy       2/5/2018      130      $62.94
Com Stk      Buy       2/5/2018      100      $66.14
Com Stk      Buy       2/5/2018      100      $66.21
Com Stk      Buy       2/5/2018      100      $66.14
Com Stk      Buy       2/5/2018      100      $66.21
Com Stk      Buy       2/5/2018      100      $66.14
Com Stk      Buy       2/5/2018      100      $66.21
Com Stk      Buy       2/9/2018       70      $61.62
Com Stk      Buy       2/12/2018    2,200     $65.41
Com Stk      Buy       2/12/2018    1,300     $65.47
Com Stk      Buy       2/12/2018      80      $65.57
Com Stk      Buy       2/12/2018     170      $65.45




                                                 Exhibit A
                                                 Page 107
EXHIBIT B

            Exhibit B
            Page 108
                                                                                                                         •




                                              CERTIFICATION

         I, Gerald L. Koenig 1, declare that:

        1.      I have reviewed the facts and allegations of a complaint filed in this action and have
authorized the filing of the CONSOLIDATED AMENDED CLASS ACTION COMPLAINT FOR
VIOLATION OF THE FEDERAL SECURITIES LAWS.

        2.     I did not purchase and/or acquire the security that is the subject of this action at the
direction of my counsel nor in order to participate in any private action under the federal securities
laws.

        3.     I am willing to serve as a representative party on behalf of the class, including
giving testimony at deposition and trial, if necessary. I understand that this is not a claim form,
and that my ability to share in any recovery as a member of the class is not dependent upon
execution of this Certification.

        4.       My Class Period purchase and sale transaction(s) in QUALCOMM Incorporated
securities that are the subject of this action are attached in Schedule A. I have complete authority
to bring a suit to recover for investment losses for all securities set forth in Schedule A.

       5.      During the three years prior to the date of this Certification, I have not sought to
serve nor served as a representative party for a class in an action filed under the federal securities
laws.

        6.      I will not accept any payment for serving as a representative party on behalf of the
class beyond my pro rata share of any recovery, except such reasonable costs and expenses
(including lost wages) directly relating to the representation of the class as ordered or approved by
the Court.

         I declare under penalty of perjury that the foregoing is true and correct.

           3/13/2019
Dated: - - - -- - - --
                                                               Gerald L. Koenig




1
  Gerald L. Koenig is asserting claims for losses that occurred in an account owned jointly by him and his wife, Alyce
Koenig. Mr. Koenig is fully authorized by Alyce Koenig to assert such claims for all transactions executed through
the account.
                                                                                                       Exhibit B
                                                                                                       Page 109
                      SCHEDULE A

Security   Buy/Sell      Date      Quantity   Price
Com Stk      Buy       2/6/2018     1,500     $64.22




                                                 Exhibit B
                                                 Page 110
